USCA11 Case: 19-12832      Document: 22-1        Date Filed: 10/16/2019      Page: 1 of 212


                  IN THE UNITED STATES COURT OF APPEALS
                             ELEVENTH CIRCUIT



                              USCA Case No. 19-12832-D
                United States District Court, Southern District of Florida
                            Case No.: 0:18-cv-60482-RKA



                            OLUWAMUYIWA AWODIYA

                                   Plaintiff/Appellant,

                                            v.

  ROSS UNIVERSITY SCHOOL OF MEDICINE, SCHOOL OF VETERINARY MEDICINE
                               LIMITED

                                  Defendant/Appellee.



SUPPLEMENTAL APPENDIX TO ANSWER BRIEF OF APPELLEE ROSS
  UNIVERSITY SCHOOL OF MEDICINE, SCHOOL OF VETERINARY
                   MEDICINE LIMITED

                                 VOLUME I OF II
______________________________________________________________________________



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                            ATTORNEYS FOR APPELLEE



50464858;1
USCA11 Case: 19-12832     Document: 22-1     Date Filed: 10/16/2019    Page: 2 of 212


      INDEX TO SUPPLEMENTAL APPENDIX TO ANSWER BRIEF OF
    APPELLEE ROSS UNIVERSITY SCHOOL OF MEDICINE, SCHOOL OF
                 VETERINARY MEDICINE LIMITED

Description                                                           Docket / Tab
District Court Docket Sheet                                            A
Plaintiff’s Statement of Material Facts in Support of Plaintiff’s      101
Second Motion for Partial Summary Judgment by Oluwamuyiwa
Awodiya
Plaintiff’s Second Motion for Partial Summary Judgment                 102
(including exhibits SJ-01 through SJ-23)1
Excerpts of the Transcript of the Deposition of Oluwamuyiwa            119-2
Awodiya, taken December 5, 2018
Ross University School of Medicine – Student Handbook (2015 –          119-20
2016)
National Board of Medical Examiners’ Examinee Performance              119-24
Profile for Awodiya Oluwamuyiwa; Test Dates: 03/30/2017,
10/22/2016, 08/26/2016, 07/02/2016, 04/22/2016
Academic Dismissal Appeal                                              119-25
Plaintiff’s Amended Responses and Objections to Defendant’s            119-26
First Set of Interrogatories




1
 Although Appellant includes DE 102 with his appendix, certain exhibits were not
included in their entirety. For the Court’s convenience, Ross University submits
DE 102 in its entirety.

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USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 3 of 212




                   TAB A
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 1 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 4 of 212
                                                                    AOV,APPEAL,CLOSED,MEDIATION
                                  U.S. District Court
                       Southern District of Florida (Ft Lauderdale)
                    CIVIL DOCKET FOR CASE #: 0:18−cv−60482−RKA

Awodiya v. Ross University School of Medicine                   Date Filed: 03/06/2018
Assigned to: Judge Roy K. Altman                                Date Terminated: 06/18/2019
Referred to: Magistrate Judge Alicia O. Valle                   Jury Demand: Plaintiff
Case in other court: USCA, 19−12832−D                           Nature of Suit: 446 Civil Rights: Americans
Cause: 42:12182 Americans with Disabilities Act                 with Disabilities − Other
                                                                Jurisdiction: Diversity
Plaintiff
Oluwamuyiwa Awodiya                               represented by Oluwamuyiwa Awodiya
                                                                 15005 Dahlia Dr.
                                                                 Bowie, MD 20721
                                                                 240−602−1836
                                                                 Email: DRmuyiwa.a@gmail.com
                                                                 PRO SE


V.
Defendant
Ross University School of Medicine                represented by Christina Meddin
School of Veterinary Medicine Limited                            Seyfarth Shaw LLP
                                                                 1075 Peachtree Street NE
                                                                 Suite 2500
                                                                 Atlanta, GA 30309
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                                                                 Email: cmeddin@seyfarth.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                Brian M. Stolzenbach
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                                                                312−460−5000
                                                                Email: bstolzenbach@seyfarth.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Donnie Marcel King
                                                                Akerman LLP
                                                                98 SE 7th St, Suite 1100
                                                                Miami, FL 33131
                                                                3053745600
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                                                                ATTORNEY TO BE NOTICED

                                                                Octavia Monique Green
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                                                                98 Southeast Seventh Street
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                                                                (305) 982−5670
                                                                Email: octavia.green@akerman.com
                                                                ATTORNEY TO BE NOTICED

                                                                Ryan Roman
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 2 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 5 of 212
                                                                    Akerman LLP
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                                                                    305−374−5600
                                                                    Fax: 305−374−5095
                                                                    Email: ryan.roman@akerman.com
                                                                    ATTORNEY TO BE NOTICED


 Date Filed   #      Docket Text
 03/06/2018       1 COMPLAINT against Ross University School of Medicine. Filing fees $ 400.00. IFP
                    Filed, filed by Oluwamuyiwa Awodiya. (Attachments: # 1 Civil Cover Sheet, # 2
                    Summon(s))(kpe) (Entered: 03/06/2018)
 03/06/2018       2 Clerks Notice of Judge Assignment to Chief Judge K. Michael Moore.

                     Pursuant to 28 USC 636(c), the parties are hereby notified that the U.S. Magistrate Judge
                     Lurana S. Snow is available to handle any or all proceedings in this case. If agreed,
                     parties should complete and file the Consent form found on our website. It is not
                     necessary to file a document indicating lack of consent.

                     Pro se (NON−PRISONER) litigants may receive Notices of Electronic Filings (NEFS)
                     via email after filing a Consent by Pro Se Litigant (NON−PRISONER) to Receive
                     Notices of Electronic Filing. The consent form is available under the forms section of our
                     website. (kpe) (Entered: 03/06/2018)
 03/06/2018       3 MOTION for Leave to Proceed in forma pauperis by Oluwamuyiwa Awodiya. (kpe)
                    (Entered: 03/06/2018)
 03/06/2018       4 Consent by Pro Se Litigant (Non−Prisoner) Oluwamuyiwa Awodiya to receive Notices of
                    Electronic Filing at email address: DRmuyiwa.a@gmail.com (kpe) (Entered: 03/06/2018)
 03/07/2018       5 PAPERLESS PRETRIAL ORDER. This order has been entered upon the filing of the
                    complaint. Plaintiff's counsel is hereby ORDERED to forward to all defendants, upon
                    receipt of a responsive pleading, a copy of this Order. It is further ORDERED that S.D.
                    Fla. L.R. 16.1 shall apply to this case and the parties shall hold a scheduling conference
                    no later than twenty (20) days after the filing of the first responsive pleading by the last
                    responding defendant, or within sixty (60) days after the filing of the complaint,
                    whichever occurs first. However, if all defendants have not been served by the expiration
                    of this deadline, Plaintiff shall move for an enlargement of time to hold the scheduling
                    conference, not to exceed 90 days from the filing of the Complaint. Within ten (10) days
                    of the scheduling conference, counsel shall file a joint scheduling report. Failure of
                    counsel to file a joint scheduling report within the deadlines set forth above may result in
                    dismissal, default, and the imposition of other sanctions including attorney's fees and
                    costs. The parties should note that the time period for filing a joint scheduling report is
                    not tolled by the filing of any other pleading, such as an amended complaint or Rule 12
                    motion. The scheduling conference may be held via telephone. At the conference, the
                    parties shall comply with the following agenda that the Court adopts from S.D. Fla. L.R.
                    16.1: (1) Documents (S.D. Fla. L.R. 16.1.B.1 and 2) − The parties shall determine the
                    procedure for exchanging a copy of, or a description by category and location of, all
                    documents and other evidence that is reasonably available and that a party expects to
                    offer or may offer if the need arises. Fed. R. Civ. P. 26(a)(1)(B). (a) Documents include
                    computations of the nature and extent of any category of damages claimed by the
                    disclosing party unless the computations are privileged or otherwise protected from
                    disclosure. Fed. R. Civ. P. 26(a)(1)(C). (b) Documents include insurance agreements
                    which may be at issue with the satisfaction of the judgment. Fed. R. Civ. P. 26(a)(1)(D).
                    (2) List of Witnesses − The parties shall exchange the name, address and telephone
                    number of each individual known to have knowledge of the facts supporting the material
                    allegations of the pleading filed by the party. Fed. R. Civ. P. 26(a)(1)(A). The parties have
                    a continuing obligation to disclose this information. (3) Discussions and Deadlines (S.D.
                    Fla. L.R. 16.1.B.2) − The parties shall discuss the nature and basis of their claims and
                    defenses and the possibilities for a prompt settlement or resolution of the case. Failure to
                    comply with this Order or to exchange the information listed above may result in
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 3 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 6 of 212
                  sanctions and/or the exclusion of documents or witnesses at the time of trial. S.D. Fla.
                  L.R. 16.1.I.

                  Pursuant to Administrative Order 2016−70 of the Southern District of Florida and
                  consistent with the Court of Appeals for the Eleventh Circuits Local Rules and Internal
                  Operating Procedures, within three days of the conclusion of a trial or other proceeding,
                  parties must file via CM/ECF electronic versions of documentary exhibits admitted into
                  evidence, including photographs of non−documentary physical exhibits. The Parties are
                  directed to comply with each of the requirements set forth in Administrative Order
                  2016−70 unless directed otherwise by the Court.

                  Telephonic appearances are not permitted for any purpose. Upon reaching a settlement in
                  this matter the parties are instructed to notify the Court by telephone and to file a Notice
                  of Settlement within twenty−four (24) hours. Signed by Chief Judge K. Michael Moore
                  on 3/7/2018. (jm01) (Entered: 03/07/2018)
 03/07/2018    6 PAPERLESS ORDER REFERRING PRETRIAL DISCOVERY MATTERS TO
                 MAGISTRATE JUDGE LURANA S. SNOW. PURSUANT to 28 U.S.C. § 636 and the
                 Magistrate Rules of the Local Rules of the Southern District of Florida, the
                 above−captioned Cause is referred to United States Magistrate Judge Lurana S. Snow to
                 take all necessary and proper action as required by law with respect to any and all pretrial
                 discovery matters. Any motion affecting deadlines set by the Court's Scheduling Order is
                 excluded from this referral, unless specifically referred by separate Order. It is
                 FURTHER ORDERED that the parties shall comply with Magistrate Judge Lurana S.
                 Snow's discovery procedures, which the parties shall be advised of by the entry of an
                 Order. Signed by Chief Judge K. Michael Moore on 3/7/2018. (jm01) (Entered:
                 03/07/2018)
 03/07/2018    7 CASE REFERRED to Magistrate Judge Lurana S. Snow per 6 Order. (asl) (Entered:
                 03/07/2018)
 03/07/2018    8 PAPERLESS ORDER REFERRING Plaintiff's Motion for Leave to Proceed in forma
                 pauperis 3 . PURSUANT to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules
                 of the Southern District of Florida, the above−captioned cause is referred to Magistrate
                 Judge Lurana S. Snow to take all necessary and proper action as required by law
                 regarding Plaintiff's motion 3 . Signed by Chief Judge K. Michael Moore on 3/7/2018.
                 (jm01) (Entered: 03/07/2018)
 03/07/2018    9 GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES. Signed by
                 Magistrate Judge Lurana S. Snow on 3/7/2018. (kpe) (Entered: 03/07/2018)
 03/08/2018   10 ORDER granting 3 Motion for Leave to Proceed in forma pauperis. USM Service
                 ordered . Summonses provided for issuance by Clerk for USM Service Re: 1
                 Complaint filed by Oluwamuyiwa Awodiya. Signed by Magistrate Judge Lurana S. Snow
                 on 3/8/2018. (kpe) (Entered: 03/08/2018)
 03/08/2018   11 Summons Issued as to Ross University School of Medicine. (kpe) (Entered: 03/08/2018)
 03/08/2018   12 NOTICE of Compliance by Oluwamuyiwa Awodiya re 10 Order on Motion for Leave to
                 Proceed in forma pauperis. Summonses and Copy of Complaint provided to US Marshal
                 for service. (kpe) (Entered: 03/08/2018)
 03/21/2018   15 SUMMONS (Affidavit) Returned Executed on 1 Complaint (Served Kelly Tesselar
                 Director of Student Services) with a 21 day response/answer filing deadline Ross
                 University School of Medicine served on 3/21/2018, answer due 4/11/2018. (ebz)
                 (Entered: 03/29/2018)
 03/26/2018   13 MOTION for Permission for Electronic Case Filing by Oluwamuyiwa Awodiya.
                 (Attachments: # 1 Proposed Order)(kpe) (Entered: 03/26/2018)
 03/26/2018   14 PAPERLESS ORDER. THIS CAUSE came before the Court upon pro se Plaintiff
                 Oluwamuyiwa Awodiya's Motion for Permission for Electronic Case Filing. 13 . Pursuant
                 to Section 2C of the Southern District of Florida CM/ECF Administrative Procedures,
                 "Pro se litigants will not be permitted to register as Users at this time. Pro se litigants
                 must tile their documents in the conventional manner." Therefore, it is ORDERED AND
                 ADJUDGED that the Motion for Permission for Electronic Case Filing 13 is DENIED.
                 Signed by Chief Judge K. Michael Moore on 3/26/2018. (jm01) (Entered: 03/26/2018)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 4 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 7 of 212
 04/06/2018   16 SUMMONS (Affidavit) Returned Executed on 1 Complaint with a 21 day
                 response/answer filing deadline by Oluwamuyiwa Awodiya. Ross University School of
                 Medicine served on 3/23/2018, answer due 4/13/2018. (mee) (Entered: 04/06/2018)
 04/06/2018   17 Unopposed MOTION for Extension of Time to File Response/Reply/Answer as to 1
                 Complaint by Ross University School of Medicine. Attorney Christina Meddin added to
                 party Ross University School of Medicine(pty:dft). (Attachments: # 1 Text of Proposed
                 Order)(Meddin, Christina) (Entered: 04/06/2018)
 04/06/2018   18 Corporate Disclosure Statement by Ross University School of Medicine identifying
                 Corporate Parent Adtalem Global Education Inc., Other Affiliate BlackRock, Inc. for
                 Ross University School of Medicine (Meddin, Christina) (Entered: 04/06/2018)
 04/09/2018   19 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's
                 Unopposed Motion for an Extension of Time to Respond to the Complaint. 17 . UPON
                 CONSIDERATION of the Motion 17 , the pertinent portions of the record, and being
                 otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                 the Motion 17 is GRANTED. Defendant shall respond to the Complaint on or before
                 April 27, 2018. Signed by Chief Judge K. Michael Moore on 4/9/2018. (jm01) (Entered:
                 04/09/2018)
 04/09/2018       Reset Answer Due Deadline per 19 Order: Ross University School of Medicine response
                  due 4/27/2018. (asl) (Entered: 04/09/2018)
 04/09/2018   20 ORDER/NOTICE OF RECUSAL signed by Magistrate Judge Lurana S. Snow on
                 4/9/2018. Magistrate Judge Lurana S. Snow recused. Case randomly reassigned by Clerk
                 to Magistrate Judge Barry S. Seltzer for all further proceedings. (ane) (Entered:
                 04/09/2018)
 04/09/2018   21 AMENDED COMPLAINT against Ross University School of Medicine, filed by
                 Oluwamuyiwa Awodiya.(kpe) (Entered: 04/10/2018)
 04/11/2018   22 ORDER Setting Discovery Procedure. Please see Order for details. Signed by Magistrate
                 Judge Barry S. Seltzer on 4/10/2018. (pb00) (Entered: 04/11/2018)
 04/12/2018   23 Defendant's MOTION for Extension of Time to File Response/Reply/Answer as to 21
                 Amended Complaint by Ross University School of Medicine. (Attachments: # 1 Text of
                 Proposed Order)(Meddin, Christina) (Entered: 04/12/2018)
 04/13/2018   24 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion
                 for an Extension of Time to Respond to the Complaint. 23 . UPON CONSIDERATION
                 of the Motion, the pertinent portions of the record, and being otherwise fully advised in
                 the premises, it is hereby ORDERED AND ADJUDGED that the Motion 23 is
                 GRANTED. Defendant shall respond to the Complaint on or before May 18, 2018.
                 Signed by Chief Judge K. Michael Moore on 4/13/2018. (jm01) (Entered: 04/13/2018)
 04/18/2018   25 RESPONSE to 23 Defendant's Partially Unopposed MOTION for Extension of Time to
                 Answer or Otherwise Respond to Plainitiff's Amended Complaint filed by Oluwamuyiwa
                 Awodiya. Replies due by 4/25/2018. (kpe) (Entered: 04/18/2018)
 04/19/2018   26 Plaintiff's Request for Judicial Notice by Oluwamuyiwa Awodiya. (Attachments: # 1
                 Proposed Order)(kpe) (Entered: 04/19/2018)
 04/19/2018   27 Declaration in Support of 26 Plaintiff's Request for Judicial Notice filed by
                 Oluwamuyiwa Awodiya. (kpe) (Main Document 27 replaced for clearer image on
                 4/23/2018) (yha). Modified text on 4/23/2018 (yha). (Entered: 04/19/2018)
 04/24/2018   28 Consent MOTION to Stay Deadlines and Referral to Mediation by Ross University
                 School of Medicine. Responses due by 5/8/2018 (Attachments: # 1 Supplement)(Meddin,
                 Christina) (Entered: 04/24/2018)
 04/24/2018   29 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Consent
                 Motion to Stay Deadlines and Referral to Mediation. 28 . Therein, Defendant states that
                 mediation would be particularly likely to help resolve the matter and requests that the
                 Court stay all deadlines pending the outcome of mediation. 28 at 2. The Court shall enter
                 a Referral to Mediation following the Parties' submission of a joint scheduling report, as
                 required by the Court's Pretrial Order 5 . The Parties may file the joint scheduling report
                 prior to the expiration of the deadline in which to do so. UPON CONSIDERATION of
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 5 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 8 of 212
                   the Motion, the pertinent portions of the record, and being otherwise fully advised in the
                   premises, it is hereby ORDERED AND ADJUDGED that Defendant's Motion to Stay
                   Deadlines and Referral to Mediation is DENIED. Signed by Chief Judge K. Michael
                   Moore on 4/24/2018. (jm01) (Entered: 04/24/2018)
 05/03/2018   30 RESPONSE to Motion re 26 MOTION Judicial Notice and Defendant's Request to be
                 Heard filed by Ross University School of Medicine. Replies due by 5/10/2018. (Meddin,
                 Christina) (Entered: 05/03/2018)
 05/07/2018   31 REPLY to 30 Defendant's Request to be Heard and Response to Plaintiff's Request for
                 Judicial Notice by Oluwamuyiwa Awodiya. (kpe) (Entered: 05/07/2018)
 05/08/2018   32 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                 Receive Notices of Electronic Filing for Brian M. Stolzenbach. Filing Fee $ 75.00
                 Receipt # 113C−10633946 by Ross University School of Medicine. Responses due by
                 5/22/2018 (Attachments: # 1 Text of Proposed Order)(Meddin, Christina) (Entered:
                 05/08/2018)
 05/08/2018   33 PAPERLESS ORDER. THIS CAUSE came before the Court upon a Motion to Appear
                 Pro Hac Vice, Consent to Designation, and Request to Electronically Receive Notices of
                 Electronic Filings 32 . UPON CONSIDERATION of the Motion, the pertinent portions of
                 the record, and being otherwise fully advised in the premises, it is ORDERED AND
                 ADJUDGED that the Motion is GRANTED. Brian M. Stolzenbach may appear Pro Hac
                 Vice in this matter. The Clerk of the Court shall provide electronic notification of all
                 electronic filings to bstolzenbach@seyfarth.com. Signed by Chief Judge K. Michael
                 Moore on 5/8/2018. (jm01) (Entered: 05/08/2018)
 05/09/2018   34 MOTION for Leave to File Second Amended Complaint re 21 Amended Complaint by
                 Oluwamuyiwa Awodiya. Responses due by 5/23/2018 (Attachments: # 1 Second
                 Amended Complaint)(kpe) (Entered: 05/09/2018)
 05/10/2018   35 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's Motion for
                 Leave to File Second Amended Complaint. 34 . Federal Rule of Civil Procedure 15(a)(2)
                 permits a party to amend its pleadings by leave of court or by written consent of the
                 adverse party. The decision to grant or deny a motion to amend pleadings is within the
                 sound discretion of the trial court. Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598
                 (5th Cir. 1981). The policy of the federal rules is to permit liberal amendment to facilitate
                 determination of claims on the merits and to prevent litigation from becoming a technical
                 exercise in the fine points of pleading. Id. Thus, unless there is a substantial reason to
                 deny leave to amend, the discretion of the district court is not broad enough to permit
                 denial. Id. A substantial reason could include "undue delay, bad faith or dilatory motive,
                 repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
                 to the opposing party, and futility of the amendment." Grayson v. Kmart Corp., 79 F.3d
                 1086, 1110 (11th Cir. 1996). The Court does not find a substantial reason to deny
                 Plaintiff's motion for leave to amend. Accordingly, UPON CONSIDERATION of the
                 Motion 34 , the pertinent portions of the record, and being otherwise fully advised in the
                 premises, it is hereby ORDERED AND ADJUDGED that Plaintiff's Motion for Leave to
                 File Second Amended Complaint is GRANTED. Plaintiff is instructed to file its Second
                 Amended Complaint on the docket.

                   Clerks Notice: Filer must separately re−file the amended pleading pursuant to Local Rule
                   15.1, unless otherwise ordered by the Judge. Signed by Chief Judge K. Michael Moore on
                   5/10/2018. (jm01) (Entered: 05/10/2018)
 05/14/2018   36 Joint SCHEDULING REPORT − Rule 26(f) by Ross University School of Medicine
                 (Attachments: # 1 Exhibit)(Meddin, Christina) (Entered: 05/14/2018)
 05/14/2018   37 PAPERLESS ORDER SCHEDULING TRIAL IN FORT LAUDERDALE. This case is
                 now set for trial commencing the two week trial period of March 18, 2019, at 9 a.m. in
                 the United States District Courthouse, 299 East Broward Boulevard, Fort Lauderdale,
                 Florida. The assigned courtroom will be announced at the calendar call. All parties are
                 directed to report to the calendar call on March 14, 2019, at 2 p.m., at which time all
                 matters relating to the scheduled trial date may be brought to the attention of the Court. A
                 final pretrial conference as provided for by Rule 16, Fed. R. Civ. P., and Rule 16.1(C),
                 S.D. Fla. L.R., is scheduled for March 5, 2019, at 11 a.m. The calendar call and the final
                 pretrial conference will take place in Courtroom 13−1 (thirteenth floor), United States
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 6 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 9 of 212
                  District Courthouse, 400 North Miami Avenue, Miami, Florida. A bilateral pretrial
                  stipulation and all other pretrial preparations shall be completed NO LATER THAN
                  FIVE DAYS PRIOR TO THE PRETRIAL CONFERENCE. All motions to amend the
                  pleadings or to join additional parties must be filed by the later of forty−five (45) days
                  after the date of entry of this Order, or forty−five (45) days after the first responsive
                  pleading by the last responding defendant. Any and all pretrial motions, including
                  motions for summary judgment, Daubert motions, and motions in limine must be filed no
                  later than eighty (80) days prior to the trial date. Responses to summary judgment
                  motions must be filed no later than fourteen (14) days after service of the motion, and
                  replies in support of the motion must be filed no later than seven (7) days after service of
                  the response, with both deadlines computed as specified in Rule 6, Fed. R. Civ. P. Each
                  party is limited to one Daubert motion. If all evidentiary issues cannot be addressed in a
                  20−page memorandum, the parties must file for leave to exceed the page limit. Each party
                  is also limited to one motion in limine (other than Daubert motions). If all evidentiary
                  issues cannot be addressed in a 20−page memorandum, the parties must file for leave to
                  exceed the page limit. All discovery, including expert discovery, shall be completed one
                  hundred (100) days prior to the date of trial. The failure to engage in discovery pending
                  settlement negotiations shall not be grounds for continuance of the trial date. All exhibits
                  must be pre−marked, and a typewritten exhibit list setting forth the number and
                  description of each exhibit must be submitted at the time of trial. Plaintiff's exhibits shall
                  be marked numerically with the letter "P" as a prefix. Defendant's exhibits shall be
                  marked numerically with the letter "D" as a prefix. For a jury trial, counsel shall prepare
                  and submit proposed jury instructions to the Court. The Parties shall submit their
                  proposed jury instructions and verdict form jointly, although they do not need to agree on
                  each proposed instruction. Where the parties do not agree on a proposed instruction, that
                  instruction shall be set forth in bold type. Instructions proposed only by a plaintiff should
                  be underlined. Instructions proposed only by a defendant should be italicized. Every
                  instruction must be supported by citation to authority. The parties should use the Eleventh
                  Circuit Pattern Jury Instructions for Civil Cases as a guide, including the directions to
                  counsel contained therein. The parties shall jointly file their proposed jury instructions via
                  CM/ECF, and shall also submit their proposed jury instructions to the Court via e−mail at
                  moore@flsd.uscourts.gov in WordPerfect or Word format. For a non−jury trial, the
                  parties shall prepare and submit to the Court proposed findings of fact and conclusions of
                  law fully supported by the evidence, which counsel expects the trial to develop, and fully
                  supported by citations to law. The proposed jury instructions or the proposed findings of
                  fact and conclusions of law shall be submitted to the Court no later than five (5) business
                  days prior to the scheduled trial date. Pursuant to Administrative Order 2016−70 of the
                  Southern District of Florida and consistent with the Court of Appeals for the Eleventh
                  Circuits Local Rules and Internal Operating Procedures, within three days of the
                  conclusion of a trial or other proceeding, parties must file via CM/ECF electronic
                  versions of documentary exhibits admitted into evidence, including photographs of
                  non−documentary physical exhibits. The Parties are directed to comply with each of the
                  requirements set forth in Administrative Order 2016−70 unless directed otherwise by the
                  Court.

                  THE FILING BY COUNSEL OF A NOTICE OF UNAVAILABILITY BY MOTION
                  OR OTHERWISE IS NOT PROVIDED FOR UNDER THE LOCAL RULES AND
                  SHALL NOT BE PRESUMED TO ALTER OR MODIFY THE COURT'S
                  SCHEDULING ORDER. Signed by Chief Judge K. Michael Moore on 5/14/2018. (jm01)

                  Pattern Jury Instruction Builder − To access the latest, up to date changes to the 11th
                  Circuit Pattern Jury Instructions go to https://pji.ca11.uscourts.gov or click here. (Entered:
                  05/14/2018)
 05/14/2018   38 PAPERLESS ORDER OF REFERRAL TO MEDIATION. Trial having been set in this
                 matter for the two week trial period beginning March 18, 2019, at 9:00 a.m. pursuant to
                 Rule 16 of the Federal Rule of Civil Procedure and Rule 16.2 of the Local Rules of the
                 United States District Court for the Southern District of Florida, it is hereby ORDERED
                 AND ADJUDGED as follows: 1. All parties are required to participate in mediation. The
                 mediation shall be completed no later than eighty (80) days before the scheduled trial
                 date. 2. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and
                 any unrepresented parties, shall be responsible for scheduling the mediation conference.
                 The parties are encouraged to avail themselves of the services of any mediator on the List
                 of Certified Mediators, maintained in the office of the Clerk of this Court, but may select
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 7 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 10 of 212
                  any other mediator. The parties shall agree upon a mediator and file a Notice of Mediator
                  Selection within fifteen (15) days from the date of this Order. If there is no agreement,
                  lead counsel shall file a request for the Clerk of Court to appoint a mediator in writing
                  within fifteen (15) days from the date of this Order, and the Clerk shall designate a
                  mediator from the List of Certified Mediators. Designation shall be made on a blind
                  rotation basis. 3. A place, date, and time for mediation convenient to the mediator,
                  counsel of record, and unrepresented parties shall be established. If the parties cannot
                  agree to a place, date, and time for the mediation, they may motion the Court for an order
                  dictating the place, date, and time. 4. The physical presence of counsel and each party or
                  representatives of each party with full authority to enter in a full and complete
                  compromise and settlement is mandatory. If insurance is involved, an adjuster with
                  authority up to the policy limits or the most recent demand, whichever is lower, shall
                  attend. 5. All discussions, representations and statements made at the mediation
                  conference shall be confidential and privileged. 6. At least ten (10) days prior to the
                  mediation date, all parties shall present to the mediator a brief written summary of the
                  case identifying issues to be resolved. Copies of those summaries shall be served on all
                  other parties. 7. The Court may impose sanctions against parties and/or counsel who do
                  not comply with the attendance or settlement authority requirements herein, or who
                  otherwise violate the terms of this Order. The mediator shall report non−attendance and
                  may recommend imposition of sanctions by the Court for non−attendance. 8. The
                  mediator shall be compensated in accordance with the standing order of the Court entered
                  pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in writing by the parties
                  and the mediator selected by the parties. The cost of mediation shall be shared equally by
                  the parties unless otherwise ordered by the Court. All payments shall be remitted to the
                  mediator within 30 days of the date of the bill. Notice to the mediator of cancellation or
                  settlement prior to the scheduled mediation conference must be given at least two (2) full
                  business days in advance. Failure to do so will result in imposition of a fee for one hour.
                  9. If a full or partial settlement is reached in this case, counsel shall promptly notify the
                  Court of the settlement in accordance with Local Rule 16.2.F, by filing a notice of
                  settlement signed by the counsel of record within ten (10) days of the mediation
                  conference. Thereafter, the parties shall forthwith submit an appropriate pleading
                  concluding the case. 10. Within five (5) days following the mediation conference, the
                  mediator shall file a Mediation Report indicating whether all required parties were
                  present. The report shall also indicate whether the case settled (in full or in part), was
                  continued with the consent of the parties, or whether the mediator declared an impasse.
                  11. If mediation is not conducted, the case may be stricken from the trial calendar, and
                  other sanctions may be imposed. Signed by Chief Judge K. Michael Moore on 5/14/2018.
                  (jm01) (Entered: 05/14/2018)
 05/14/2018   39 Second AMENDED COMPLAINT against Ross University School of Medicine filed in
                 response to Order Granting Motion for Leave, filed by Oluwamuyiwa Awodiya.(kpe)
                 Modified on 5/15/2018 (kpe). (Entered: 05/15/2018)
 05/29/2018   40 ANSWER and Affirmative Defenses to Amended Complaint (SECONDED AMENDED)
                 by Ross University School of Medicine. (Meddin, Christina) (Entered: 05/29/2018)
 05/29/2018   41 NOTICE of Mediator Selection. Added Ross University School of Medicine. (Meddin,
                 Christina) (Entered: 05/29/2018)
 05/30/2018   42 Clerks Notice to Filer re 41 Notice of Mediator Selection and/or Hearing. Mediator Not
                 Added; ERROR − The Filer failed to add all mediator. Filer is instructed to file a Notice
                 of Entry of Parties/Mediator and add the additional mediator. (kpe) (Entered: 05/30/2018)
 05/31/2018   43 NOTICE of Mediator Selection. Added Leslie W. Langbein. (Meddin, Christina)
                 (Entered: 05/31/2018)
 06/22/2018   44 ORDER denying 26 Request for Judicial Notice. Signed by Chief Judge K. Michael
                 Moore on 6/22/2018. (jm01) (Entered: 06/22/2018)
 07/11/2018   45 Consent Motion for Leave to File Third Amended Complaint 39 Amended Complaint by
                 Oluwamuyiwa Awodiya. Responses due by 7/25/2018. (Attachments: # 1 Proposed Third
                 Amended Complaint, # 2 Third Amended Complaint)(kpe) (Entered: 07/11/2018)
 07/11/2018   46 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's Motion for
                 Leave to File a Third Amended Complaint. 45 . Federal Rule of Civil Procedure 15(a)(2)
                 permits a party to amend its pleadings by leave of court or by written consent of the
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 8 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 11 of 212
                  adverse party. The decision to grant or deny a motion to amend pleadings is within the
                  sound discretion of the trial court. Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598
                  (5th Cir. 1981). The policy of the federal rules is to permit liberal amendment to facilitate
                  determination of claims on the merits and to prevent litigation from becoming a technical
                  exercise in the fine points of pleading. Id. Thus, unless there is a substantial reason to
                  deny leave to amend, the discretion of the district court is not broad enough to permit
                  denial. Id. A substantial reason could include "undue delay, bad faith or dilatory motive,
                  repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
                  to the opposing party, and futility of the amendment." Grayson v. Kmart Corp., 79 F.3d
                  1086, 1110 (11th Cir. 1996). The Court does not find a substantial reason to deny
                  Plaintiff's motion for leave to amend. Accordingly, UPON CONSIDERATION of the
                  Motion 45 , the pertinent portions of the record, and being otherwise fully advised in the
                  premises, it is hereby ORDERED AND ADJUDGED that Plaintiff's Motion for Leave to
                  File a Third Amended Complaint is GRANTED. Plaintiff is instructed to file the Third
                  Amended Complaint on the docket on or before July 16, 2018.

                  Clerks Notice: Filer must separately re−file the amended pleading pursuant to Local Rule
                  15.1, unless otherwise ordered by the Judge. Signed by Chief Judge K. Michael Moore on
                  7/11/2018. (jm01) (Entered: 07/11/2018)
 07/11/2018       Set Deadlines per 46 Order. Amended Complaint due by 7/16/2018. (asl) (Entered:
                  07/12/2018)
 07/16/2018   47 THIRD AMENDED COMPLAINT against Ross University School of Medicine filed in
                 response to Order Granting Motion for Leave, filed by Oluwamuyiwa Awodiya.(kpe)
                 (Entered: 07/17/2018)
 07/30/2018   48 NOTICE/STIPULATION of Substitution of Counsel by Ryan Roman on behalf of Ross
                 University School of Medicine instead of prior counsel of record Seyfarth Shaw LLP. .
                 Attorney Ryan Roman added to party Ross University School of Medicine(pty:dft).
                 (Attachments: # 1 Text of Proposed Order Granting Substitution of Counsel) (Roman,
                 Ryan) (Entered: 07/30/2018)
 07/30/2018   49 Unopposed MOTION for Extension of Time to File Response/Reply/Answer as to 47
                 Amended Complaint by Ross University School of Medicine. (Attachments: # 1 Text of
                 Proposed Order Granting Unopposed Motion)(Roman, Ryan) (Entered: 07/30/2018)
 07/31/2018   50 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's
                 Unopposed Motion for an Extension of Time to Respond to the Complaint. 49 . UPON
                 CONSIDERATION of the Motion 49 , the pertinent portions of the record, and being
                 otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                 the Motion is GRANTED. Defendant shall respond to the Complaint on or before August
                 13, 2018. Signed by Chief Judge K. Michael Moore on 7/31/2018. (jm01) (Entered:
                 07/31/2018)
 07/31/2018       Reset Answer Due Deadline per 50 Order: Ross University School of Medicine response
                  due 8/13/2018. (asl) (Entered: 07/31/2018)
 08/07/2018   51 Joint MOTION for Settlement Conference in Lieu of Private Mediation re 38 Order
                 Referring Case to Mediation,,,,,,,,,,,,,,,, by Ross University School of Medicine. (Roman,
                 Ryan) (Entered: 08/07/2018)
 08/09/2018   52 PAPERLESS ORDER REFERRING CASE TO MAGISTRATE JUDGE FOR
                 SETTLEMENT CONFERENCE. THIS CAUSE came before the Court upon the Parties'
                 Joint Motion for Referral to Settlement Conference. 51 . Therein, the Parties request that
                 they be permitted to attend a settlement conference before a Magistrate Judge of this
                 Court in lieu of attendance at mediation before a private mediator and request that this
                 Court enter an order striking the prior notice of mediator selection. 51 at 2. Pursuant to
                 the Local Rules, a Magistrate Judge is authorized to "conduct pretrial conferences,
                 settlement conferences, omnibus hearings, and related pretrial proceedings in civil and
                 criminal cases." Accordingly, UPON CONSIDERATION of the Motion, the pertinent
                 portions of the record, and being otherwise fully advised in the premises, it is hereby
                 ORDERED AND ADJUDGED that the Motion is GRANTED IN PART and DENIED
                 IN PART. This matter is referred to United States Magistrate Judge Lurana S. Snow for
                 the purpose of conducting a settlement conference. The Parties shall contact Judge Snow's
                 chambers to arrange to complete the settlement conference and the Parties shall submit a
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 9 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 12 of 212
                  status report to the Court within five (5) days of the conclusion of the settlement
                  conference. However, the Court's Order of Referral to Mediation 38 remains in effect. If
                  the Parties do not reach a settlement agreement during the settlement conference, the
                  Parties must comply with the Court's Order of Referral to Mediation. Signed by Chief
                  Judge K. Michael Moore on 8/9/2018. (jm01) (Entered: 08/09/2018)
 08/09/2018   53 ORDER REFERRING CASE to Magistrate Judge Lurana S. Snow for for Settlement per
                 52 Order. Signed by Chief Judge K. Michael Moore on 8/9/2018. (asl) Modified to
                 remove docket text on 8/9/2018 (asl). (Entered: 08/09/2018)
 08/10/2018   54 PAPERLESS ORDER REFERRING CASE TO MAGISTRATE JUDGE FOR
                 SETTLEMENT CONFERENCE. THIS CAUSE came before the Court upon the Parties'
                 Joint Motion for Referral to Settlement Conference. 51 . The Court entered an order
                 referring the Parties to Magistrate Judge Lurana S. Snow for the purpose of conducting a
                 settlement conference. 52 . However, Judge Snow recused herself from the case and the
                 case was reassigned to Magistrate Judge Barry S. Seltzer. 20 . Accordingly, the matter is
                 referred to United States Magistrate Judge Barry S. Seltzer for the purpose of conducting
                 a settlement conference. The Parties shall contact Judge Seltzer's chambers to arrange to
                 complete the settlement conference and the Parties shall submit a status report to the
                 Court within five (5) days of the conclusion of the settlement conference. However, as
                 stated in the Court's previous order 52 , the Court's Order of Referral to Mediation 38
                 remains in effect. If the Parties do not reach a settlement agreement during the settlement
                 conference, the Parties must comply with the Court's Order of Referral to Mediation.
                 Signed by Chief Judge K. Michael Moore on 8/10/2018. (jm01) (Entered: 08/10/2018)
 08/10/2018   55 PAPERLESS ORDER of Instructions for Setting a Settlement Conference. The District
                 Court has entered an Order [DE 54] referring the case to the undersigned for a settlement
                 conference. Accordingly, Counsel and Pro Se Plaintiff are ORDERED to meet and
                 confer, either telephonically or in person, for the purpose of determining a date on which
                 to conduct the settlement conference. No later than August 17, 2018, Defendant's counsel
                 shall telephone Chambers with no fewer than three dates (for the full business day) on
                 which the parties and their counsel will be available for the settlement conference. All
                 parties must attend the settlement conference in person. Following the submission of
                 proposed dates, the undersigned will enter an order setting the settlement conference with
                 further instructions. Signed by Magistrate Judge Barry S. Seltzer on 8/10/2018. (pb00)
                 (Entered: 08/10/2018)
 08/10/2018   56 Unopposed MOTION for Leave to File Excess Page limits for Summary Judgment and
                 Statement of Material Facts by Oluwamuyiwa Awodiya. (ebz) (Entered: 08/10/2018)
 08/13/2018   57 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's Motion to
                 File Excess pages for Summary Judgment and Statement of Material Facts. 56 . Therein,
                 Plaintiff requests that the Court permit Plaintiff to file a summary judgment motion and
                 accompanying statement of material facts in excess of the page limits imposed by the
                 Local Rules for the Southern District of Florida. UPON CONSIDERATION of the
                 Motion, the pertinent portions of the record, and being otherwise fully advised in the
                 premises, Plaintiff's Motion to File Excess Pages 56 is DENIED. All submissions must
                 comply with the Local Rules of the Southern District of Florida and the Federal Rules of
                 Civil Procedure. Failure to do so will result in the striking of non−compliant submissions.
                 Signed by Chief Judge K. Michael Moore on 8/13/2018. (jm01) (Entered: 08/13/2018)
 08/13/2018   58 ANSWER and Affirmative Defenses to Amended Complaint by Ross University School
                 of Medicine. (Roman, Ryan) (Entered: 08/13/2018)
 08/16/2018   59 Declaration in Support of Plaintiff's Motion for Partial Summary Judgment re 61 Motion
                 for Partial Summary Judgment by Oluwamuyiwa Awodiya. (kpe) Modified on 8/17/2018
                 (kpe). (Main Document 59 replaced due to missing pages on 8/20/2018) (nc). Modified
                 docket text on 8/20/2018 (nc). (Entered: 08/16/2018)
 08/16/2018   61 MOTION for Partial Summary Judgment by Oluwamuyiwa Awodiya. Responses due by
                 8/30/2018 (Attachments: # 1 Statement of Material Facts In Support)(kpe) (Entered:
                 08/17/2018)
 08/17/2018   60 ORDER Setting Settlement Conference for 10/1/2018 at 09:30 AM in Fort Lauderdale
                 Division before Magistrate Judge Barry S. Seltzer. Signed by Magistrate Judge Barry S.
                 Seltzer on 8/17/2018. See attached document for full details. (pb00) (Entered:
                 08/17/2018)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 10 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 13 of 212
 08/20/2018   62 Clerks Notice of Docket Correction re 59 Declaration in Support of Plaintiff's Motion for
                 Partial Summary Judgment re 61 Motion for Partial Summary Judgment. Correction
                 Document replaced due to missing pages. The corrected image is attached to this notice.
                 (nc) (Entered: 08/20/2018)
 08/23/2018   63 Defendant's MOTION for Relief Under Rule 56(d) of the Federal Rules of Civil
                 Procedure or, Alternatively, Motion for Extension of Time to Respond to Summary
                 Judgment re 61 MOTION for Partial Summary Judgment , MOTION for Extension of
                 Time to File Response/Reply/Answer by Ross University School of Medicine.
                 (Attachments: # 1 Affidavit (Declaration of Ryan Roman in Support of Defendant's
                 Motion), # 2 Exhibit A to Declaration (First Request for Production of Documents), # 3
                 Exhibit B (First Set of Interrogatories))(Roman, Ryan) (Entered: 08/23/2018)
 08/27/2018   64 RESPONSE to Motion re 63 Defendant's MOTION for Relief Under Rule 56(d) of the
                 Federal Rules of Civil Procedure or, Alternatively, Motion for Extension of Time to
                 Respond to Summary Judgment filed by Oluwamuyiwa Awodiya. Replies due by
                 9/4/2018. (kpe) (Entered: 08/27/2018)
 08/27/2018   65 Declaration in Support re 64 Response to Motion, by Oluwamuyiwa Awodiya. (kpe)
                 (Entered: 08/27/2018)
 08/29/2018   66 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's MOTION
                 for Relief Under Rule 56(d) of the Federal Rules of Civil Procedure or, alternatively,
                 Motion for Extension of Time to Respond to Plaintiff's Motion for Partial Summary
                 Judgment. 63 . Therein, Defendant requests that the Court deny or defer ruling on
                 Plaintiff's Motion for Partial Summary Judgment 61 or alternatively, requests that the
                 Court grant Defendant a thirty (30) day extension of time to respond to Plaintiff's Motion
                 for Summary Judgment. Plaintiff responded in opposition arguing that the Court should
                 deny Defendant's request. 64 .

                  Federal Rule of Civil Procedure 56(d) authorizes a party opposing a summary judgment
                  motion to file a motion for additional time to conduct discovery so that it may
                  appropriately oppose the motion. See Fed. R. Civ. P. 56(d); Reflectone, Inc. v. Farrand
                  Optical Co., Inc., 862 F.2d 841, 843 (11th Cir. 1989). Specifically, the Rule permits a
                  court to (1) defer consideration of a summary judgment motion or deny it, (2) allow
                  additional time for the nonmovant to obtain affidavits, declarations, or take additional
                  discovery, and (3) issue any other appropriate order upon a showing by the nonmovant
                  that "it cannot present facts essential to justify its opposition." Fed. R. Civ. P. 56(d). The
                  protection afforded by Rule 56(d) is designed to safeguard against a premature grant of
                  summary judgment. Smith v. Florida Dep't of Corr., 713 F.3d 1059, 1064 (11th Cir.
                  2013). It is widely recognized that courts should grant a Rule 56(d) motion when the
                  discovery sought is "relevant to the issues presented by the motion for summary
                  judgment." Snook v. Trust Co. of Ga. Bank of Savannah, 859 F.2d 865, 870 (11th Cir.
                  1988); see also Baron Servs., Inc. v. Media Weather Innovations LLC, 717 F.3d 907, 912
                  (Fed. Cir. 2013). On the other hand, Rule 56(d) is not designed to save a case from
                  summary judgment for a party who is merely seeking to embark on an evidentiary fishing
                  expedition. See e.g., Ellis v. J.R.'s Country Stores, Inc., 779 F.3d 1184, 1208 (10th Cir.
                  2015).

                  Plaintiff initiated the instant action on March 6, 2018 alleging five counts against
                  Defendant. 1 . On April 9, 2018, Plaintiff filed an Amended Complaint. 21 . Then, with
                  leave of the Court, Plaintiff filed a Second Amended Complaint on May 14, 2018. 39 .
                  Finally, on July 16, 2018, Plaintiff filed a Third Amended Complaint alleging ten counts
                  against Defendant. 47 . On August 13, 2018, Defendant filed its answers and affirmative
                  defenses 59 , and three days later, on August 16, 2018, Plaintiff filed a Motion for Partial
                  Summary Judgment. 63 . Defendant recently served is first set of discovery requests and
                  argues that there are a number of key areas for which discovery is necessary in this action,
                  including, discovery into Plaintiff's alleged disabilities, requests for accommodations,
                  treatments sought and diagnoses made by third parties. 63 . UPON CONSIDERATION of
                  the Motion, the Response, the pertinent portions of the record, and being otherwise fully
                  advised in the premises, it is hereby ORDERED AND ADJUDGED that Defendant's
                  Motion 63 is GRANTED IN PART and DENIED IN PART. Defendant's Request for
                  Relief Under Rule 56(d) is GRANTED and thus, Defendant's Motion for an Extension of
                  Time is DENIED AS MOOT. It is further ORDERED that Plaintiffs Motion for Partial
                  Summary Judgment is DENIED WITHOUT PREJUDICE as premature. Signed by Chief
                  Judge K. Michael Moore on 8/29/2018. (jm01) (Entered: 08/29/2018)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 11 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 14 of 212
 09/04/2018   67 MOTION for Partial Judgment on the Pleadings by Oluwamuyiwa Awodiya.
                 (Attachments: # 1 Declaration in Support)(kpe) (Entered: 09/05/2018)
 09/07/2018   68 Unopposed MOTION for Insurance Claims Adjuster to Appear Telephonically at
                 Settlement Conference re 60 Order,, Set/Reset Hearings, by Ross University School of
                 Medicine. (Roman, Ryan) (Entered: 09/07/2018)
 09/07/2018   69 PAPERLESS ORDER denying 68 Motion for Insurance Claims Adjuster to Appear
                 Telephonically at Settlement Conference. Signed by Magistrate Judge Barry S. Seltzer on
                 9/7/2018. (pb00) (Entered: 09/07/2018)
 09/18/2018   70 RESPONSE in Opposition re 67 MOTION for Judgment on the Pleadings filed by Ross
                 University School of Medicine. Replies due by 9/25/2018. (Roman, Ryan) (Entered:
                 09/18/2018)
 09/24/2018   71 REPLY to 70 Response in Opposition to Motion by Oluwamuyiwa Awodiya. (kpe)
                 (Entered: 09/24/2018)
 10/01/2018   72 REPORT on Settlement Conference. (Case did not settle) Signed by Magistrate Judge
                 Barry S. Seltzer on 10/1/2018. See attached document for full details. (pb00) Text
                 Modified on 10/1/2018 (cqs). (Entered: 10/01/2018)
 10/01/2018   73 PAPERLESS Minute Entry for proceedings held before Magistrate Judge Barry S.
                 Seltzer: Settlement Conference held on 10/1/2018. Case reached an Impasse. Attorney
                 Appearance(s): Ryan Roman for the Defendant, Oluwamuyiwa Awodiya (Plaintiff Pro
                 Se) (Digital 9:33:22−9:38:50) (at) (Entered: 10/01/2018)
 10/02/2018   74 ORDER OF RECUSAL signed by Magistrate Judge Barry S. Seltzer on 10/1/2018.
                 Magistrate Judge Barry S. Seltzer recused. Case randomly reassigned by Clerk to
                 Magistrate Judge Alicia O. Valle for all further proceedings. See attached document for
                 full details. (ane) (Entered: 10/02/2018)
 10/30/2018   75 Unopposed MOTION to Seal Exhibit to Motion to Compel per Local Rule 5.4 by Ross
                 University School of Medicine. (Attachments: # 1 Text of Proposed Order Granting
                 Unopposed Motion) (Roman, Ryan) (Entered: 10/30/2018)
 10/30/2018   76 Defendant's MOTION to Compel Plaintiff's Production of Documents and Better
                 Responses to Interrogatories by Ross University School of Medicine. Responses due by
                 11/13/2018 (Attachments: # 1 Exhibit A (First Set of Interrogatories), # 2 Exhibit B (First
                 Request for Production), # 3 Exhibit C (Responses to Interrogatories), # 4 Exhibit D
                 (Responses to Request for Production), # 5 Exhibit E (Stipulated Protective Order), # 6
                 Exhibit F (Amended Responses to Interrogatories), # 7 Exhibit G (Amended Responses to
                 Request for Production), # 8 Exhibit H (Filed Under Seal))(Roman, Ryan) (Entered:
                 10/30/2018)
 10/31/2018   77 PAPERLESS ORDER granting 75 Defendant's Unopposed Motion for Leave to File
                 Exhibit to Motion to Compel Under Seal. Signed by Magistrate Judge Alicia O. Valle on
                 10/31/2018. (sd01) (Entered: 10/31/2018)
 10/31/2018   78 ORDER Setting Hearing on Motion 76 Defendant's Motion to Compel Plaintiff's
                 Production of Documents and Better Responses to Interrogatories. Hearing set for
                 11/16/2018 at 10:30 AM in Fort Lauderdale Division before Magistrate Judge Alicia O.
                 Valle. Signed by Magistrate Judge Alicia O. Valle on 10/31/2018. See attached document
                 for full details. (sd01) (Entered: 10/31/2018)
 10/31/2018        SYSTEM ENTRY − Docket Entry 79 [misc] restricted/sealed until further notice.
                   (1029398) (Entered: 10/31/2018)
 10/31/2018   80 Clerks Notice to Filer re 79 Sealed Document. Document Not Captioned; In the future
                 when filing a Sealed Document the Filer must File a Notice of Filing with the Exhibit
                 attached with the proper caption pursuant to Local Rules. It is not necessary to refile this
                 document. (nc) (Entered: 11/01/2018)
 11/02/2018   81 MOTION to Continue Hearing on Defendant's Motion to Compel by Ross University
                 School of Medicine. Attorney Octavia Monique Green added to party Ross University
                 School of Medicine(pty:dft). Responses due by 11/16/2018 (Green, Octavia) (Entered:
                 11/02/2018)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 12 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 15 of 212
 11/02/2018   82 PAPERLESS ORDER granting 81 Joint Motion to Continue Hearing on Defendant's
                 Motion to Compel. Hearing set for 11/21/2018 at 1:30 PM in Fort Lauderdale Division
                 before Magistrate Judge Alicia O. Valle. Signed by Magistrate Judge Alicia O. Valle on
                 11/2/2018. (sd01) (Entered: 11/02/2018)
 11/06/2018   83 MOTION for Protective Order by Oluwamuyiwa Awodiya. (kpe) (Entered: 11/07/2018)
 11/06/2018   84 RESPONSE in Opposition to 76 Defendant's MOTION to Compel Plaintiff's Production
                 of Documents and Better Responses to Interrogatories filed by Oluwamuyiwa Awodiya.
                 See DE 83 for image. Replies due by 11/13/2018. (kpe) (Entered: 11/07/2018)
 11/08/2018   85 PAPERLESS ORDER Setting Hearing on 83 Plaintiff's Motion for Protective Order (the
                 "Motion"). Hearing set for 11/21/2018 at 1:30 PM in Fort Lauderdale Division before
                 Magistrate Judge Alicia O. Valle. The parties are to include the Motion in the Joint Status
                 Report required by ECF No. 78 . The deadline for filing the Joint Status Report is
                 extended to Friday, November 16, 2018. Signed by Magistrate Judge Alicia O. Valle on
                 11/8/2018. (sd01) (Entered: 11/08/2018)
 11/12/2018   86 RESPONSE in Opposition re 83 MOTION for Protective Order filed by Ross University
                 School of Medicine. Replies due by 11/19/2018. (Green, Octavia) (Entered: 11/12/2018)
 11/16/2018   87 NOTICE by Ross University School of Medicine re 85 Order Setting Hearing on Motion,
                 Notice of Filing Joint Status Report (Green, Octavia) (Entered: 11/16/2018)
 11/19/2018   88 REPLY to Response in Opposition to Plaintiff's 83 MOTION for Protective Order filed
                 by Oluwamuyiwa Awodiya. (kpe) (Entered: 11/20/2018)
 11/19/2018   89 Second MOTION for Judicial Notice by Oluwamuyiwa Awodiya. (Attachments: # 1
                 Declaration in Support)(kpe) (Entered: 11/20/2018)
 11/20/2018   90 NOTICE of Courtroom Assignment. The Motion Hearing scheduled on 11/21/2018 at
                 1:30pm before US Magistrate Judge Alicia O. Valle will be held in Courtroom 207 at the
                 Federal Courthouse in Fort Lauderdale FL. (tpl) (Entered: 11/20/2018)
 11/21/2018   91 PAPERLESS ORDER GRANTING ACCESS TO ELECTRONIC DEVICES IN THE
                 COURTROOM FOR DISCOVERY HEARING. This cause comes before the Court upon
                 Plaintiff's appearance at the Courthouse on November 21, 2018 with a cell phone and
                 laptop in advance of the discovery hearing scheduled for this afternoon. Given Plaintiff's
                 pro se status, the Court will consider his presentation at the Courthouse as an ore tenus
                 request for electronic devices to be allowed into the Courthouse for use during the
                 hearing. Plaintiff's ore tenus request is GRANTED. Consequently, Plaintiff and Defense
                 counsel may bring cell phones and laptops into the discovery hearing before the
                 undersigned. Signed by Magistrate Judge Alicia O. Valle on 11/21/2018. (sd01) (Entered:
                 11/21/2018)
 11/21/2018   92 PAPERLESS Minute Entry for proceedings held before Magistrate Judge Alicia O. Valle:
                 Motion Hearing held on 11/21/2018 re 76 Defendant's MOTION to Compel Plaintiff's
                 Production of Documents and Better Responses to Interrogatories filed by Ross
                 University School of Medicine, 83 MOTION for Protective Order filed by Oluwamuyiwa
                 Awodiya. Oral argument heard from both sides. Order to follow. Total time in court: 2
                 hour(s). Attorney Appearance(s): Ryan Roman, Octavia Monique Green, Oluwamuyiwa
                 Awodiya. (Digital 13:41:23) (tpl) (Entered: 11/21/2018)
 11/21/2018   93 PAPERLESS ORDER ON DISCOVERY MOTIONS. For the reasons stated on the
                 record at the hearing held on November 21, 2018, 76 Defendant's Motion to Compel
                 Plaintiff's Production of Documents and Better Responses to Interrogatories is
                 GRANTED IN PART AND DENIED IN PART. Additionally, 83 Plaintiff's Motion for
                 Protective Order is DENIED. Signed by Magistrate Judge Alicia O. Valle on 11/21/2018.
                 (sd01) (Entered: 11/21/2018)
 11/28/2018   94 NOTICE by Ross University School of Medicine of Filing the Parties' Proposed
                 Stipulated Protective Order (Attachments: # 1 Text of Proposed Order, # 2 Text of
                 Proposed Order) (Green, Octavia) (Entered: 11/28/2018)
 11/30/2018   95 PAPERLESS ORDER REGARDING 94 Notice of Filing the Parties' Proposed Stipulated
                 Protective Order Governing Discovery Material (the "Notice"). The Notice contains two
                 competing versions of a proposed Stipulated Protective Order and advises that the
                 "Parties were unable to agree on the language in paragraph 8 and paragraph 11" of the
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 13 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 16 of 212
                   proposed orders. (ECF No. 94 ). Upon review of the Notice, the proposed orders, and
                   being fully advised in the matter, the Court approves the version of the Stipulated
                   Protective Order at ECF No. [94−2] as appropriate for this case. Consequently, the parties
                   are to execute [94−2] the Stipulated Protective Order and file the same with the Court for
                   final execution. The Court finds that a hearing is unnecessary and DENIES Plaintiff's
                   request for a hearing. Signed by Magistrate Judge Alicia O. Valle on 11/30/2018. (sd01)
                   (Entered: 11/30/2018)
 11/30/2018    96 MOTION for Extension of Time to File Response/Reply/Answer as to 89 MOTION
                  Judicial Notice by Ross University School of Medicine. (Attachments: # 1 Text of
                  Proposed Order)(Green, Octavia) (Entered: 11/30/2018)
 12/03/2018    97 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendants'
                  Unopposed Motion for Extension of Time to Respond to Plaintiff's Second Motion for
                  Judicial Notice 96 . UPON CONSIDERATION of the Motion, the pertinent portions of
                  the record, and being otherwise fully advised in the premises, it is hereby ORDERED
                  AND ADJUDGED that the Motion 96 is GRANTED. Defendants shall respond to
                  Plaintiff's Second Motion for Judicial Notice 89 on or before December 10, 2018. Signed
                  by Chief Judge K. Michael Moore on 12/3/2018. (ah03) (Entered: 12/03/2018)
 12/03/2018    98 NOTICE by Ross University School of Medicine re 95 Order,,, (Notice of Filing the
                  Parties' Stipulated Protective Order Governing Discovery Material) (Attachments: # 1
                  Exhibit 1 (Stipulated Protective Order Executed by the Parties)) (Roman, Ryan) (Entered:
                  12/03/2018)
 12/03/2018    99 STIPULATED PROTECTIVE ORDER GOVERNING DISCOVERY MATERIAL.
                  Signed by Magistrate Judge Alicia O. Valle on 12/3/2018. See attached document for full
                  details. (sd01) (Entered: 12/03/2018)
 12/10/2018   100 RESPONSE in Opposition re 89 MOTION Judicial Notice filed by Ross University
                  School of Medicine. Replies due by 12/17/2018. (Green, Octavia) (Entered: 12/10/2018)
 12/10/2018   101 Plaintiff's Statement of Material Facts in Support of Plaintiff's Second 102 MOTION for
                  Partial Summary Judgment by Oluwamuyiwa Awodiya. (kpe) (Entered: 12/11/2018)
 12/10/2018   102 Plaintiff's Second MOTION for Partial Summary Judgment by Oluwamuyiwa Awodiya.
                  Responses due by 12/26/2018. (Attachments: # 1 Declaration In Support)(kpe) (Entered:
                  12/11/2018)
 12/12/2018   103 MOTION for Extension of Time To Continue Pretrial Deadlines by Ross University
                  School of Medicine. Responses due by 12/26/2018 (Attachments: # 1 Text of Proposed
                  Order)(Green, Octavia) (Entered: 12/12/2018)
 12/13/2018   104 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion to
                  Continue Pretrial Deadlines 103 . Therein, Defendant seeks a thirty (30) day extension of
                  the discovery deadline for the purpose of allowing Defendant to supplement and/or
                  amend its expert report in light of Plaintiff's Third Amended Calculation of Damages,
                  which was served on the last day of discovery. 103 at 1. Defendant also seeks an
                  extension of the deadline to file pretrial motions in order to incorporate information
                  related to damages. UPON CONSIDERATION of the Motion, the pertinent portions of
                  the record, and being otherwise fully advised in the premises, it is hereby ORDER AND
                  ADJUDGED that the Motion 103 is GRANTED IN PART and DENIED IN PART. The
                  deadline for discovery is extended through December 28, 2018 for the limited purpose of
                  allowing Defendant to supplement and/or amend its expert report in light of Plaintiff's
                  Third Amended Calculation of Damages. It is further ORDERED that Defendant shall file
                  any pretrial motions on or before January 4, 2019. Signed by Chief Judge K. Michael
                  Moore on 12/13/2018. (ah03) (Entered: 12/13/2018)
 12/13/2018   105 ORDER denying 67 Motion for Judgment on the Pleadings. Signed by Chief Judge K.
                  Michael Moore on 12/13/2018. See attached document for full details. (jm01) (Entered:
                  12/13/2018)
 12/17/2018   106 REPLY to Response In Opposition to Second 89 MOTION for Judicial Notice filed by
                  Oluwamuyiwa Awodiya. (kpe) (Entered: 12/18/2018)
 12/21/2018   107 RESPONSE in Opposition re 102 MOTION for Partial Summary Judgment filed by Ross
                  University School of Medicine. Replies due by 12/28/2018. (Attachments: # 1 Statement
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 14 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 17 of 212
                    of Material Facts in Opposition to 2nd Motion for Partial Summary Judgment, # 2
                    Declaration of Ryan Roman in Support of Opposition to Second Motion for Partial
                    Summary Judgment)(Roman, Ryan) (Entered: 12/21/2018)
 12/26/2018   108 Unopposed MOTION for Clarification of the Court's Order on Defendant's Motion to
                  Continue Pretrial Deadlines re 104 Order, by Oluwamuyiwa Awodiya. Responses due by
                  1/9/2019. (kpe) (Entered: 12/27/2018)
 12/27/2018   109 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's Motion for
                  Clarification 108 . Therein, Plaintiff requests clarification of the Court's Order granting
                  Defendant an extension of time to file pretrial motions 104 because the Order did not
                  address an extension of time for Plaintiff as well. Plaintiff has already filed a Motion for
                  Summary Judgment 102 but has not filed any other pretrial motions and requests an
                  extension of time to do so. UPON CONSIDERATION of the Motion 108 , the pertinent
                  portions of the record, and being otherwise fully advised in the premises, it is hereby
                  ORDERED AND ADJUDGED that Plaintiff shall have until on or before January 4, 2019
                  to file any additional pretrial motions, motions in limine, or Daubert motions. All other
                  deadlines, including the deadline to conduct mediation, remain in effect. Signed by Chief
                  Judge K. Michael Moore on 12/27/2018. (ah03) (Entered: 12/27/2018)
 12/27/2018   110 NOTICE by Ross University School of Medicine re 107 Response in Opposition to
                  Motion, Filing Corrected Exhibit (Attachments: # 1 Exhibit) (Green, Octavia) (Entered:
                  12/27/2018)
 12/27/2018   111 Joint MOTION to Set Aside Mediation or, Alternatively, To Extend Deadline to Conduct
                  Mediation by Ross University School of Medicine. (Attachments: # 1 Text of Proposed
                  Order)(Green, Octavia) (Entered: 12/27/2018)
 12/28/2018   112 PAPERLESS ORDER. THIS CAUSE came before the Court upon a Joint Motion to
                  Excuse Mediation or, Alternatively, for an Extension of Time to Conduct Mediation 111 .
                  Therein, the Parties state that they attended a settlement conference in October, which
                  ended in an impasse, and that the Parties believe that any further efforts to mediate this
                  case would be fruitless. On May 14, 2018, the Court entered a Paperless Order of Referral
                  to Mediation 38 requiring all parties to participate in mediation no later than eighty (80)
                  days before the scheduled trial date. On August 9, 2018, the Court referred the case to a
                  Magistrate Judge for Settlement Conference 52 and specifically noted that "The Court's
                  Order of Referral to Mediation 38 remains in effect. If the Parties do not reach a
                  settlement agreement during the settlement conference, the Parties must comply with the
                  Court's Order of Referral to Mediation." 52 . This was reiterated again in the Court's
                  second Order Referring the Case for Settlement Conference. 54 . Now, the day before the
                  Parties' deadline to conduct mediation, the Parties request that the Court excuse them
                  from their mediation obligations. Accordingly, UPON CONSIDERATION of the Joint
                  Motion, the pertinent portions of the record, and being otherwise fully advised in the
                  premises, it is hereby ORDERED AND ADJUDGED that the Joint Motion 111 is
                  GRANTED IN PART and DENIED IN PART. The Parties are not excused from
                  mediation. The Parties shall conduct mediation on or before January 4, 2019. The
                  physical presence of counsel and each party or representatives of each party with full
                  authority to enter in a full and complete compromise and settlement is mandatory. Within
                  one (1) day following the mediation conference, the mediator shall file a Mediation
                  Report indicating whether all required parties were present. The report shall also indicate
                  whether the case settled (in full or in part) or whether the mediator declared an impasse.
                  Signed by Chief Judge K. Michael Moore on 12/28/2018. (ah03) (Entered: 12/28/2018)
 01/03/2019   113 Reply Declaration In Support of 102 Second MOTION for Partial Summary Judgment
                  filed by Oluwamuyiwa Awodiya. (kpe) (Entered: 01/04/2019)
 01/03/2019   114 Reply In Support of 102 Second MOTION for Partial Summary Judgment filed by
                  Oluwamuyiwa Awodiya. (kpe) (Entered: 01/04/2019)
 01/03/2019   115 REPLY Statement of Material Facts In Support of 102 Second MOTION for Partial
                  Summary Judgment by Oluwamuyiwa Awodiya. (kpe) (Entered: 01/04/2019)
 01/04/2019   116 MOTION in Limine To Exclude Reference to Adtalem Global Education Inc. and Its Net
                  Worth by Ross University School of Medicine. (Attachments: # 1 Exhibit)(Green,
                  Octavia) (Entered: 01/04/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 15 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 18 of 212
 01/04/2019   117 MOTION to Strike and Preclude Plaintiff From Testifying to Improper Lay Opinions by
                  Ross University School of Medicine. Responses due by 1/18/2019 (Attachments: # 1
                  Exhibit)(Green, Octavia) (Entered: 01/04/2019)
 01/04/2019   118 NOTICE by Laurie L. Riemer . Attorney Laurie L. Riemer added to party Laurie L.
                  Riemer(pty:med). (Riemer, Laurie) (Entered: 01/04/2019)
 01/04/2019   119 Statement of: Statement of Material Facts in Support of Motion for Summary Judgment
                  by Ross University School of Medicine (Attachments: # 1 Exhibit Declaration of R.
                  Roman, # 2 Exhibit 1 to Declaration of R. Roman, # 3 Exhibit 2 to Declaration of R.
                  Roman, # 4 Exhibit 3 to Declaration of R. Roman, # 5 Exhibit 4 to Declaration of R.
                  Roman, # 6 SEALED − Exhibit 5 to Declaration of R. Roman, # 7 Exhibit 6 to
                  Declaration of R. Roman, # 8 Exhibit 7 to Declaration of R. Roman, # 9 Exhibit 8 to
                  Declaration of R. Roman, # 10 Exhibit 9 to Declaration of R. Roman, # 11 Exhibit 10 to
                  Declaration of R. Roman, # 12 Exhibit 11 to Declaration of R. Roman, # 13 Exhibit 12 to
                  Declaration of R. Roman, # 14 Exhibit 13 to Declaration of R. Roman, # 15 Exhibit 14 to
                  Declaration of R. Roman, # 16 Exhibit 15 to Declaration of R. Roman, # 17 Exhibit 16 to
                  Declaration of R. Roman, # 18 SEALED − Exhibit 17 to Declaration of R. Roman, # 19
                  Exhibit 18 to Declaration of R. Roman, # 20 Exhibit 19 to Declaration of R. Roman, # 21
                  Exhibit 20 to Declaration of R. Roman, # 22 Exhibit 21 to Declaration of R. Roman, # 23
                  Exhibit 22 to Declaration of R. Roman, # 24 Exhibit 23 to Declaration of R. Roman, # 25
                  Exhibit 24 to Declaration of R. Roman, # 26 Exhibit 25 to Declaration of R. Roman, #
                  SEALED − (27) Exhibit 26 to Declaration of R. Roman, # 28 Exhibit 27 to Declaration of
                  R. Roman)(Green, Octavia) −Modified/Sealed Exhibits per (129) Order on 1/11/2019
                  (gp).− (Entered: 01/04/2019)
 01/04/2019   120 MOTION for Summary Judgment by Ross University School of Medicine. Responses
                  due by 1/18/2019 (Attachments: # 1 Exhibit A)(Green, Octavia) (Entered: 01/04/2019)
 01/08/2019   121 ORDER granting in part and denying in part 89 Motion for Judicial Notice. Signed by
                  Chief Judge K. Michael Moore on 1/8/2019. See attached document for full details.
                  (ah03) (Entered: 01/08/2019)
 01/08/2019   122 PAPERLESS ORDER TO SHOW CAUSE. THIS CAUSE came before the Court upon a
                  sua sponte review of the record. On May 14, 2018, the Court entered a Paperless Order of
                  Referral to Mediation 38 requiring all parties to participate in mediation no later than
                  eighty (80) days before the scheduled trial date. On December 28, 2018, the Court entered
                  a Paperless Order denying the Parties request to be excused from mediation and ordering
                  the Parties to conduct mediation on or before January 4, 2019. 112 . The Order also stated
                  that "Within one (1) day following the mediation conference, the mediator shall file a
                  Mediation Report indicating whether all required parties were present. The report shall
                  also indicate whether the case settled (in full or in part) or whether the mediator declared
                  an impasse." The Parties are hereby ORDERED to show cause by January 10, 2019 as to
                  why no Mediation Report has been filed and also to provide a status report to the Court.
                  Failure to do so may result in the imposition of sanctions. Signed by Chief Judge K.
                  Michael Moore on 1/8/2019. (ah03) (Entered: 01/08/2019)
 01/09/2019   123 FINAL MEDIATION REPORT by Laurie Riemer. Disposition: Case did not
                  settle.(Green, Octavia) (Entered: 01/09/2019)
 01/09/2019   124 RESPONSE TO ORDER TO SHOW CAUSE re 122 Order to Show Cause,,,, by Ross
                  University School of Medicine. (Green, Octavia) (Entered: 01/09/2019)
 01/09/2019   125 MOTION in Limine to Exclude Evidence Regarding Uncertainty of Damages,
                  Ex−girlfriend, Counseling Notes, and Judicial Admissions by Oluwamuyiwa Awodiya.
                  (kpe) Modified to restrict document due to error on 1/9/2019. See DE 127 for image (cbr).
                  (Entered: 01/09/2019)
 01/09/2019   126 MOTION to Exclude the Expert Testimony of Ronald Quintero by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 01/09/2019)
 01/09/2019   127 Clerks Notice of Docket Correction re 125 MOTION in Limine. Document Restricted
                  Due to Error; The correct document has been attached to this notice. Original filing
                  missing pages. (cbr) (Entered: 01/09/2019)
 01/11/2019   128 MOTION to Seal per Local Rule 5.4 by Ross University School of Medicine.
                  (Attachments: # 1 Text of Proposed Order Proposed Order) (Green, Octavia) (Entered:
                  01/11/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 16 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 19 of 212
 01/11/2019   129 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion to
                  Seal 128 . Having reviewed the Motion to Seal, the Court finds good cause to seal the
                  materials requested. Accordingly, UPON CONSIDERATION of the Motion, the pertinent
                  portions of the record, and being otherwise fully advised in the premises, it is hereby
                  ORDERED AND ADJUDGED that the Motion 128 is GRANTED. The Clerk of Court is
                  DIRECTED to maintain under SEAL Exhibits 5, 17, and 26 to the Declaration of Ryan
                  Roman, [119−6], [119−18] and [119−27], until further order of this Court, or upon the
                  conclusion of this litigation, including any appeals. Signed by Chief Judge K. Michael
                  Moore on 1/11/2019. (ah03) (Entered: 01/11/2019)
 01/11/2019   130 CLERK'S NOTICE OF COMPLIANCE with 129 PAPERLESS ORDER. DIRECTING
                  The Clerk of Court to maintain under SEAL Exhibits 5, 17, and 26 to the Declaration of
                  Ryan Roman, [119−6], [119−18] and [119−27], until further order of this Court, or upon
                  the conclusion of this litigation, including any appeals. (gp) (Entered: 01/11/2019)
 01/22/2019   131 RESPONSE in Opposition re 125 MOTION in Limine to Exclude Evidence Regarding
                  Uncertainty of Damages, Ex−Girlfriend, Counseling Notes, and Judicial Admissions filed
                  by Ross University School of Medicine. Replies due by 1/29/2019. (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                  F)(Green, Octavia) (Entered: 01/22/2019)
 01/22/2019   132 STRICKEN RESPONSE in Opposition re 126 MOTION in Limine to Exclude Evidence
                  Regarding Uncertainty of Damages, Ex−Girlfriend, Counseling Notes, and Judicial
                  Admissions filed by Ross University School of Medicine. Replies due by 1/29/2019.
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Green, Octavia)
                  Modified on 1/23/2019 per DE 134 Notice of Striking (kpe). (Entered: 01/22/2019)
 01/22/2019   133 RESPONSE in Opposition re 126 MOTION in Limine / Daubert Motion to Exclude the
                  Expert Testimony of Ronald Quintero and Incorporated Memorandum of Law filed by
                  Ross University School of Medicine. Replies due by 1/29/2019. (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Green, Octavia) (Entered:
                  01/22/2019)
 01/22/2019   134 NOTICE by Ross University School of Medicine re 132 Response in Opposition to
                  Motion, (Request to Strike DE 132) (Green, Octavia) (Entered: 01/22/2019)
 01/23/2019   135 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Notice to
                  Strike 134 the Response In Opposition to Plaintiff's Daubert Motion 132 . Defendant
                  timely filed a corrected Response at 133 . UPON CONSIDERATION of the Notice, the
                  pertinent portions of the record, and being otherwise fully advised in the premises, it is
                  hereby ORDERED AND ADJUDGED that Defendant's Response In Opposition to
                  Plaintiff's Daubert Motion at 132 is STRICKEN. The Clerk of the Court is instructed to
                  STRIKE the Response In Opposition to Plaintiff's Daubert Motion 132 . Signed by Chief
                  Judge K. Michael Moore on 1/23/2019. (ah03) (Entered: 01/23/2019)
 01/28/2019   136 RESPONSE in Opposition re 117 MOTION to Strike and Preclude Plaintiff From
                  Testifying to Improper Lay Opinions filed by Oluwamuyiwa Awodiya. Replies due by
                  2/4/2019. (ls) (Entered: 01/29/2019)
 01/28/2019   137 RESPONSE in Opposition re 120 MOTION for Summary Judgment filed by
                  Oluwamuyiwa Awodiya. Replies due by 2/4/2019. (ls) (Entered: 01/29/2019)
 01/28/2019   138 AFFIDAVIT/DECLARATION re 137 Response in Opposition to Motion by
                  Oluwamuyiwa Awodiya (ls) (Entered: 01/29/2019)
 01/28/2019   139 Statement of: Material Facts in Opposition by Oluwamuyiwa Awodiya re 120 MOTION
                  for Summary Judgment (ls) (Entered: 01/29/2019)
 01/28/2019   140 MOTION for Judicial Notice re 137 Response in Opposition to Motion by Oluwamuyiwa
                  Awodiya. (ls) (Entered: 01/29/2019)
 02/04/2019   141 REPLY to Response to Motion re 117 MOTION to Strike and Preclude Plaintiff From
                  Testifying to Improper Lay Opinions filed by Ross University School of Medicine.
                  (Green, Octavia) (Entered: 02/04/2019)
 02/04/2019   142 RESPONSE in Support re 120 MOTION for Summary Judgment filed by Ross
                  University School of Medicine. (Green, Octavia) (Entered: 02/04/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 17 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 20 of 212
 02/04/2019   143 RESPONSE to 139 Statement of Material Facts , filed by Ross University School of
                  Medicine. (Attachments: # 1 Affidavit Supporting Declaration of Ryan Roman)(Green,
                  Octavia) Modified on 2/5/2019 (kpe). (Entered: 02/04/2019)
 02/05/2019   144 Clerks Notice to Filer re 143 Reply to Response to Motion. Incorrect Document Link;
                  ERROR − The filed document was not correctly linked to the related docket entry. The
                  correction was made by the Clerk. It is not necessary to refile this document but future
                  filings must comply with the instructions in the CM/ECF Attorney User's Manual. (kpe)
                  (Entered: 02/05/2019)
 02/05/2019   145 REPLY in Support of Plaintiff's 125 MOTION in Limine filed by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 02/05/2019)
 02/05/2019   146 REPLY in Support of Plaintiff's 126 MOTION to Exclude filed by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 02/05/2019)
 02/12/2019   147 RESPONSE in Opposition re 140 MOTION for Judicial Notice re 137 Response in
                  Opposition to Motion filed by Ross University School of Medicine. Replies due by
                  2/19/2019. (Attachments: # 1 Exhibit A)(Green, Octavia) (Entered: 02/12/2019)
 02/19/2019   148 REPLY to Plaintiff's Request for 140 Judicial Notice in Support of Plaintiff's Response in
                  Opposition to Defendant's Motion for Summary Judgment filed by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 02/19/2019)
 02/28/2019   149 PRETRIAL STIPULATION by Ross University School of Medicine (Attachments: # 1
                  Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Roman, Ryan) (Entered:
                  02/28/2019)
 02/28/2019   150 Proposed Voir Dire Questions by Ross University School of Medicine. (Green, Octavia)
                  (Entered: 02/28/2019)
 03/01/2019   151 NOTICE by Ross University School of Medicine re 149 Pretrial Stipulation − NOTICE
                  OF FILING PLAINTIFF'S STATEMENT OF THE CASE (Attachments: # 1 Exhibit A)
                  (Green, Octavia) (Entered: 03/01/2019)
 03/01/2019   152 NOTICE by Ross University School of Medicine re 149 Pretrial Stipulation − NOTICE
                  OF FILING PLAINTIFFS OBJECTIONS TO DEFENDANTS EXHIBIT LIST
                  (Attachments: # 1 Exhibit A) (Green, Octavia) (Entered: 03/01/2019)
 03/01/2019   153 MOTION to Bring Electronic Equipment into the courtroom by Ross University School
                  of Medicine. Responses due by 3/15/2019 (Attachments: # 1 Text of Proposed
                  Order)(Green, Octavia) (Entered: 03/01/2019)
 03/02/2019   154 ORDER denying 102 Motion for Partial Summary Judgment; granting in part and
                  denying in part 120 Motion for Summary Judgment. Signed by Chief Judge K. Michael
                  Moore on 3/2/2019. See attached document for full details. (jm01) (Entered: 03/02/2019)
 03/02/2019   155 ORDER granting 116 Motion in Limine; granting in part and denying in part 117 Motion
                  to Strike ; denying 125 Motion in Limine; denying 126 Motion in Limine. Signed by
                  Chief Judge K. Michael Moore on 3/2/2019. See attached document for full details.
                  (jm01) (Entered: 03/02/2019)
 03/04/2019   156 ORDER granting 153 Motion to Bring Electronic Equipment into the courtroom. Signed
                  by Chief Judge K. Michael Moore on 3/4/2019. See attached document for full details.
                  (ah03) (Entered: 03/04/2019)
 03/04/2019   157 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's Motion for
                  Judicial Notice 140 . On December 27, 2018, the Court entered a Paperless Order
                  granting Plaintiff an extension of time until January 4, 2019 to file any additional pretrial
                  motions. 109 . On January 28, 2019 Plaintiff filed a Motion for Judicial Notice 140 . A
                  district court has discretion in deciding how best to manage the cases before them, and
                  that discretion extends to whether to consider untimely motions. See Enwonwu v.
                  Fulton−Dekalb Hosp. Auth., 286 F. App'x 586, 595 (11th Cir. 2008). Here, Plaintiff filed
                  his motion over three weeks after the Court's deadline for pretrial motions. Accordingly,
                  UPON CONSIDERATION of the Motion, the pertinent portion of the records, and being
                  otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                  Plaintiff's Motion 140 is DENIED WITHOUT PREJUDICE. Signed by Chief Judge K.
                  Michael Moore on 3/4/2019. (ah03) (Entered: 03/04/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 18 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 21 of 212
 03/05/2019   158 PAPERLESS Minute Entry for proceedings held before Chief Judge K. Michael Moore:
                  Final Pretrial Conference held on 3/5/2019. Issues addressed. Defense estimates
                  approximately 2−3 days for trial; trial to be held in Miami; parties to attend calendar call
                  on 3/14/2019 at 2:00 PM. Attorney Appearance(s): Ryan Roman, Octavia Monique
                  Green, Other appearances: Pro Se Plaintiff, Mr. Awodiya. Court Reporter: William
                  Romanishin, 305−523−5558 / Bill_Romanishin@flsd.uscourts.gov. (rg1) (Entered:
                  03/05/2019)
 03/06/2019   159 NOTICE of Filing Discovery: Deposition Designations by Ross University School of
                  Medicine. (Attachments: # 1 Exhibit A)(Green, Octavia) (Entered: 03/06/2019)
 03/08/2019   160 MOTION in Limine to Exclude New Theories of Liability by Ross University School of
                  Medicine. (Green, Octavia) (Entered: 03/08/2019)
 03/08/2019   161 MOTION in Limine to Preclude Plaintiff From Introducing Documents Produced After
                  the Discovery Deadline Into Evidence by Ross University School of Medicine.
                  (Attachments: # 1 Exhibit RUSM's Request for Production to Plaintiff, # 2 Exhibit Email
                  Correspondence)(Green, Octavia) (Entered: 03/08/2019)
 03/12/2019   162 Proposed Jury Instructions by Ross University School of Medicine. (Green, Octavia)
                  (Entered: 03/12/2019)
 03/12/2019   163 NOTICE by Ross University School of Medicine of Filing Proposed Verdict Form
                  (Green, Octavia) (Entered: 03/12/2019)
 03/14/2019   164 PAPERLESS ORDER. THIS CAUSE came before the Court upon Plaintiff's telephonic
                  notification that he cannot make the scheduled calendar call due to a flight cancellation.
                  The Court finds good cause to continue the calendar call and trial. Accordingly, UPON
                  CONSIDERATION of the notification, the pertinent portions of the record, and being
                  otherwise fully advised in the premises, it is ORDERED AND ADJUDGED that the
                  calendar call scheduled for today, March 14, 2019 at 2:00 p.m. is hereby CANCELLED.
                  It is further ORDERED that the currently scheduled trial is continued to the the
                  two−week trial period commencing May 28, 2019at 9 a.m. in Courtroom 13−1,
                  (thirteenth floor) United States Courthouse, 400 North Miami Avenue, Miami, Florida.
                  All parties are directed to report to the newly scheduled calendar call on May 23, 2019, at
                  2 p.m., at which time all matters relating to the scheduled trial date may be brought to the
                  attention of the Court. The calendar call will take place in Courtroom 13−1 (thirteenth
                  floor), United States District Courthouse, 400 North Miami Avenue, Miami, Florida. All
                  other deadlines not addressed herein are unaffected by this Order. Signed by Chief Judge
                  K. Michael Moore on 3/14/2019. (ah03) (Entered: 03/14/2019)
 03/26/2019   165 MOTION for Order to Designate Method of Damage Calculations by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 03/27/2019)
 03/26/2019   166 RESPONSE to Defendant's 160 MOTION in Limine to Exclude New Theories of Liability
                  filed by Oluwamuyiwa Awodiya. Replies due by 4/2/2019. (kpe) (Entered: 03/27/2019)
 03/26/2019   167 RESPONSE to Defendant's 161 MOTION in Limine to Preclude Plaintiff From
                  Introducing Documents Produced After the Discovery Deadline Into Evidence filed by
                  Oluwamuyiwa Awodiya. Replies due by 4/2/2019. (kpe) (Entered: 03/27/2019)
 04/01/2019   168 MOTION to Continue Trial by Ross University School of Medicine. Responses due by
                  4/15/2019 (Attachments: # 1 Text of Proposed Order Proposed Order Granting
                  Defendant's Motion to Continue Trial)(Green, Octavia) (Entered: 04/01/2019)
 04/03/2019   169 RESPONSE in Opposition re 165 MOTION Order to Designate Method of Damage
                  Calculations filed by Ross University School of Medicine. Attorney Donnie Marcel King
                  added to party Ross University School of Medicine(pty:dft). Replies due by 4/10/2019.
                  (King, Donnie) (Entered: 04/03/2019)
 04/03/2019   170 REPLY to Response to Motion re 161 MOTION in Limine to Preclude Plaintiff From
                  Introducing Documents Produced After the Discovery Deadline Into Evidence filed by
                  Ross University School of Medicine. (King, Donnie) (Entered: 04/03/2019)
 04/03/2019   171 REPLY to Response to Motion re 160 MOTION in Limine to Exclude New Theories of
                  Liability filed by Ross University School of Medicine. (King, Donnie) (Entered:
                  04/03/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 19 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 22 of 212
 04/08/2019   172 PAPERLESS ORDER REFERRING MOTIONS. PURSUANT to 28 U.S.C. § 636 and
                  the Magistrate Rules of the Local Rules of the Southern District of Florida, the
                  above−captioned cause is hereby referred to United States Magistrate Judge Alicia O.
                  Valle to take all necessary and proper action as required by law regarding Defendant's
                  Motions in Limine 160 and 161 . Signed by Chief Judge K. Michael Moore on 4/8/2019.
                  (ah03) (Entered: 04/08/2019)
 04/08/2019   173 PAPERLESS ORDER. THIS CAUSE came before the Court upon Defendant's Motion to
                  Continue Trial 168 . Therein, Defendant request the Court continue trial until the second
                  week of the two−week trial period commencing May 28, 2019 because the first week
                  conflicts with counsel's son's end of school year award ceremony in Chicago, Illinois. The
                  Court finds good cause to hold trial during the second week of the two−week trial period.
                  UPON CONSIDERATION of the Motion, the pertinent portions of the record, and being
                  otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                  the Motion 168 is GRANTED. Signed by Chief Judge K. Michael Moore on 4/8/2019.
                  (ah03) (Entered: 04/08/2019)
 04/08/2019   174 PAPERLESS ORDER REFERRING MOTION. PURSUANT to 28 U.S.C. § 636 and the
                  Magistrate Rules of the Local Rules of the Southern District of Florida, the
                  above−captioned cause is hereby referred to United States Magistrate Judge Alicia O.
                  Valle to take all necessary and proper action as required by law regarding Plaintiff's
                  Motion to Designate Method of Damage Calculations 165 . Signed by Chief Judge K.
                  Michael Moore on 4/8/2019. (ah03) (Entered: 04/08/2019)
 04/11/2019   175 MOTION for Leave to File Partial Motion for Summary Judgment by Ross University
                  School of Medicine. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Roman, Ryan) (Entered:
                  04/11/2019)
 04/11/2019   176 ORDER OF REASSIGNMENT to Judge Roy Altman for all further proceedings, Chief
                  Judge K. Michael Moore no longer assigned to case. Signed by Chief Judge K. Michael
                  Moore on 4/11/2019. See attached document for full details. (yar) (Entered: 04/11/2019)
 04/11/2019   177 REPLY to Plaintiff's 165 MOTION for Order to Designate Method Damage Calculations,
                  filed by Oluwamuyiwa Awodiya. (kpe) (Entered: 04/12/2019)
 04/17/2019   178 MOTION for Reconsideration and Alteration of Omnibus Order ( Responses due by
                  5/1/2019) by Oluwamuyiwa Awodiya. (kpe) (Entered: 04/17/2019)
 04/18/2019   179 CLERK'S PAPERLESS NOTICE terminating previously scheduled hearing dates. This
                  case has been transferred to the Honorable Roy K. Altman. The parties are hereby
                  notified that any hearing dates scheduled before Chief Judge K. Michael Moore are
                  hereby TERMINATED and will be rescheduled by Judge Roy K. Altman. (rg1) (Entered:
                  04/18/2019)
 04/22/2019   180 AMENDED SCHEDULING ORDER: In Limine Motions due by 6/11/2019. Pretrial
                  Stipulation due by 6/11/2019. Jury Trial set for 6/24/2019 in Fort Lauderdale Division
                  before Judge Roy K. Altman. Calendar Call set for 6/18/2019 01:45 PM in Fort
                  Lauderdale Division before Judge Roy K. Altman. Signed by Judge Roy K. Altman on
                  4/19/2019. See attached document for full details. (kpe)

                    Pattern Jury Instruction Builder − To access the latest, up to date changes to the 11th
                    Circuit Pattern Jury Instructions go to https://pji.ca11.uscourts.gov or click here. (Entered:
                    04/22/2019)
 04/25/2019   181 RESPONSE to Defendant's 175 MOTION for Leave to File Partial Motion for Summary
                  Judgment, filed by Oluwamuyiwa Awodiya. Replies due by 5/2/2019. (kpe) (Entered:
                  04/25/2019)
 04/26/2019   182 MOTION to Continue Trial re 180 Scheduling Order,, by Ross University School of
                  Medicine. Responses due by 5/10/2019 (Attachments: # 1 Text of Proposed Order
                  Granting Motion)(Roman, Ryan) (Entered: 04/26/2019)
 04/26/2019   183 PAPERLESS Order Calendar Call reset for 6/11/2019 01:45 PM in Fort Lauderdale
                  Division before Judge Roy K. Altman. Signed by Judge Roy K. Altman on 4/26/2019.
                  (jz00) (Entered: 04/26/2019)
 04/30/2019   184 ORDER granting 182 Motion to Continue. Calendar Call reset for 6/11/2019 01:45 PM in
                  Fort Lauderdale Division before Judge Roy K. Altman, Jury Trial set for 7/8/2019 before
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 20 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 23 of 212
                    Judge Roy K. Altman. Signed by Judge Roy K. Altman on 4/30/2019. See attached
                    document for full details. (vmz) (Entered: 04/30/2019)
 05/01/2019   185 RESPONSE in Opposition re 178 MOTION for Reconsideration re 154 Order on Motion
                  for Partial Summary Judgment, Order on Motion for Summary Judgment MOTION to
                  Alter Judgment filed by Ross University School of Medicine. Replies due by 5/8/2019.
                  (Green, Octavia) (Entered: 05/01/2019)
 05/03/2019   186 PAPERLESS ORDER Setting Oral Argument on 178 the Plaintiff's MOTION for
                  Reconsideration re 154 Order on Motion for Partial Summary Judgment, Order on Motion
                  for Summary Judgment MOTION to Alter Judgment; 165 the Plaintiff's MOTION for
                  Order to Designate Method of Damage Calculations; 160 the Defendant's MOTION in
                  Limine to Exclude New Theories of Liability; 175 the Defendant's MOTION for Leave to
                  File Partial Motion for Summary Judgment; 161 The Defendant's MOTION in Limine to
                  Preclude Plaintiff From Introducing Documents Produced After the Discovery Deadline
                  Into Evidence. Motion Hearing set for Wednesday, 5/8/2019 at 02:30 PM in Fort
                  Lauderdale Division, Courtroom 207A before Judge Roy K. Altman. The parties should
                  be prepared to discuss the substance of any outstanding motions pending before the
                  Court. Signed by Judge Roy K. Altman on 5/3/19. (tas) (Entered: 05/03/2019)
 05/06/2019   187 REPLY to Plaintiff's 178 MOTION for Reconsideration and Alteration of Omnibus
                  Order, filed by Oluwamuyiwa Awodiya. (kpe) (Entered: 05/06/2019)
 05/07/2019   188 Unopposed MOTION to Continue (filed by Defendant as a courtesy for Plaintiff who
                  does not have access to CM/ECF) re 186 Order Setting Hearing on Motion,,, by Ross
                  University School of Medicine. Responses due by 5/21/2019 (Roman, Ryan) (Entered:
                  05/07/2019)
 05/07/2019   189 PAPERLESS ORDER denying as moot 188 Motion to Continue in light of the Court's
                  forthcoming order resetting all motions hearings for the Calendar Call, which will be held
                  on June 11, 2019 at 1:45 p.m. Signed by Judge Roy K. Altman on 5/7/2019. (RKA)
                  (Entered: 05/07/2019)
 05/07/2019   190 PAPERLESS ORDER Setting Oral Arguments re 178 the Plaintiff's MOTION for
                  Reconsideration re 154 Order on Motion for Partial Summary Judgment, Order on Motion
                  for Summary Judgment, Motion to Alter Judgment; 165 the Plaintiff's MOTION for
                  Order to Designate Method of Damage Calculations; 160 the Defendant's MOTION in
                  Limine to Exclude New Theories of Liability, 175 the Defendant's MOTION for Leave to
                  File Partial Motion for Summary Judgment; 161 the Defendant's MOTION in Limine to
                  Preclude Plaintiff From Introducing Documents Produced After the Discovery Deadline
                  Into Evidence : Motion Hearing RESET for 6/11/2019 at 01:45 PM in the Fort Lauderdale
                  Division, Courtroom 207A before Judge Roy K. Altman. The parties should be prepared
                  to discuss the substance of any outstanding motions pending before the Court. Signed by
                  Judge Roy K. Altman on 5/7/19. (tas) (Entered: 05/07/2019)
 05/15/2019   191 ORDER denying 175 Motion for Leave to File ; denying 178 Motion for Reconsideration
                  ; denying 178 Motion to Alter Judgment. Signed by Judge Roy K. Altman on 5/14/2019.
                  See attached document for full details. (cqs) Modified on 6/20/2019 (ch1)to change to
                  opinion per chambers. (Entered: 05/16/2019)
 05/22/2019   192 RESPONSE to the Court's May 16, 2019 Order EFC No. 191 , by Oluwamuyiwa
                  Awodiya. (kpe) (Entered: 05/22/2019)
 05/29/2019   193 Defendant's Brief on Extraterritorial Application of the Americans with Disabilities Act
                  and the Rehabilitation Act in response to 191 Order on Motion for Leave to File, Order on
                  Motion for Reconsideration, Order on Motion to Alter Judgment by Ross University
                  School of Medicine. (Roman, Ryan) (Entered: 05/29/2019)
 06/03/2019   194 MOTION in Limine to Preclude Prejudicial Evidence and Theories by Oluwamuyiwa
                  Awodiya. (ls) (Entered: 06/03/2019)
 06/03/2019   195 AFFIDAVIT/DECLARATION in Support re 194 MOTION in Limine filed by
                  Oluwamuyiwa Awodiya. (ls) (Entered: 06/03/2019)
 06/04/2019   196 NOTICE OF WITHDRAWAL OF MOTION by Ross University School of Medicine re
                  161 MOTION in Limine to Preclude Plaintiff From Introducing Documents Produced
                  After the Discovery Deadline Into Evidence filed by Ross University School of Medicine
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 21 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 24 of 212
                    (Roman, Ryan) (Entered: 06/04/2019)
 06/10/2019   197 Unopposed MOTION to Bring Electronic Equipment into the courtroom (filed by
                  Defendant as a courtesy for Plaintiff who does not have access to CM/ECF) by Ross
                  University School of Medicine. Responses due by 6/24/2019 (Roman, Ryan) (Entered:
                  06/10/2019)
 06/10/2019   198 NOTICE by Ross University School of Medicine of Filing Deposition Designations and
                  Counter−Designations (Attachments: # 1 Exhibit A (Plaintiff's Deposition Designations),
                  # 2 Exhibit B (Defendant's Deposition Designations)) (Roman, Ryan) (Entered:
                  06/10/2019)
 06/10/2019   199 PRETRIAL STIPULATION by Ross University School of Medicine (Attachments: # 1
                  Exhibit Joint Pretrial Stipulation, # 2 Exhibit 1 − Plaintiff's Exhibit List, # 3 Exhibit 2 −
                  Defendant's Exhibit List, # 4 Exhibit 3 − Plaintiff's Witness List, # 5 Exhibit 4 −
                  Defendant's Witness List)(Roman, Ryan) (Entered: 06/10/2019)
 06/10/2019   200 Proposed Voir Dire Questions by Ross University School of Medicine. (Roman, Ryan)
                  (Entered: 06/10/2019)
 06/10/2019   201 Proposed Jury Instructions by Ross University School of Medicine. (Attachments: # 1
                  Exhibit A − Joint Jury Instructions, # 2 Exhibit B − Redline, # 3 Exhibit C − Plaintiff's
                  Proposed Verdict Form, # 4 Exhibit D − Defendant's Proposed Verdict Form)(Roman,
                  Ryan) (Entered: 06/10/2019)
 06/11/2019   202 PAPERLESS NOTICE RESETTING CALENDAR CALL AND MOTION HEARINGS
                  (TIME ONLY) to 2:00 p.m. on June 11, 2019. (tas) (Entered: 06/11/2019)
 06/11/2019   203 PAPERLESS ORDER granting 197 the Plaintiff's Unopposed Motion for Permission to
                  Bring Electronic Devices into the Courthouse. The Plaintiff may bring his cellular
                  telephone and laptop computer into the U.S. Federal Building and Courthouse in Fort
                  Lauderdale, Florida for the calendar call scheduled on June 11, 2019. Signed by Judge
                  Roy K. Altman on 6/11/2019. (jz00) (Entered: 06/11/2019)
 06/11/2019   204 NOTICE by Ross University School of Medicine of Filing Record Evidence (Green,
                  Octavia) (Entered: 06/11/2019)
 06/12/2019   205 PAPERLESS ORDER notifying the Plaintiff that the Court will provide, free of charge,
                  real−time transcription services during the pendency of the trial currently set for the
                  two−week trial period beginning July 8, 2019. Signed by Judge Roy K. Altman on
                  6/12/2019. (jz00) (Entered: 06/12/2019)
 06/13/2019   206 RESPONSE in Opposition re 194 MOTION in Limine to Exclude Prejudicial Evidence
                  and Theories filed by Ross University School of Medicine. Replies due by 6/20/2019.
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B)(King, Donnie) (Entered: 06/13/2019)
 06/14/2019   207 Proposed Voir Dire Questions by Ross University School of Medicine. (Roman, Ryan)
                  (Entered: 06/14/2019)
 06/14/2019   208 PRETRIAL STIPULATION by Ross University School of Medicine (Attachments: # 1
                  Exhibit A − Joint Pretrial Stipulation, # 2 Exhibit 1 − Plaintiff's Exhibit List, # 3 Exhibit 2
                  − Defendant's Exhibit List, # 4 Exhibit 3 − Plaintiff's Witness List, # 5 Exhibit 4 −
                  Defendant's Witness List)(Roman, Ryan) (Entered: 06/14/2019)
 06/14/2019   209 Proposed Jury Instructions by Ross University School of Medicine. (Attachments: # 1
                  Exhibit Exhibit A − Joint Proposed Jury Instructions, # 2 Exhibit Exhibit B − Proposed
                  Verdict Forms)(Roman, Ryan) (Entered: 06/14/2019)
 06/18/2019   210 ORDER Closing Case. Counts I, II, VIII, and IX of the Plaintiff's Third Amended
                  Complaint [ECF No. 47] are DISMISSED with prejudice. All pending motions are
                  DENIED as moot. The Clerk of Court is instructed to CLOSE this case. Signed by Judge
                  Roy K. Altman on 6/17/2019. See attached document for full details. (kpe) Modified on
                  6/20/2019 (ch1)to change to opinion per chambers. (Entered: 06/18/2019)
 06/20/2019   211 FINAL JUDGMENT. This action is DISMISSED on the merits. The Clerk is directed to
                  CLOSE this case, all pending hearings and deadlines are CANCELLED, and any pending
                  motions are DENIED as moot. Signed by Judge Roy K. Altman on 6/19/2019. See
                  attached document for full details. (kpe) (Entered: 06/20/2019)
         Case: 0:18-cv-60482 As of: 10/14/2019 03:08 PM EDT 22 of 22
USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 25 of 212
 06/26/2019   212 MOTION for Amended and Additional Findings in the Court's Order Closing Case re 210
                  Order Dismissing Case, by Oluwamuyiwa Awodiya. Responses due by 7/10/2019 (jao)
                  (Entered: 06/26/2019)
 06/26/2019   213 AFFIDAVIT/Declaration in Support of Motion for Amended and Additional Findings in
                  the Court's Order Closing the Case re DE 212 MOTION to Amend/Correct 210 Order
                  Dismissing Case, filed by Oluwamuyiwa Awodiya. (jao) (Entered: 06/26/2019)
 06/26/2019   214 Document filed in wrong case and has been correctly filed in the right case. Modified on
                  6/26/2019 (jao). Modified text on 6/26/2019 (asl). (Entered: 06/26/2019)
 06/26/2019   215 Clerks Notice of Docket Correction re 214 Notice of Mediator Selection and/or Hearing.
                  Document Filed in Wrong Case; Document restricted and docket text modified.
                  Document refiled in correct case # 19−cv−60382. (jao) (Entered: 06/26/2019)
 07/02/2019   216 TRANSCRIPT of Calendar Call and Motion Hearing held on 6−11−19 before Judge Roy
                  K. Altman, Volume Number 1 of 1, 1−90 pages, Court Reporter: Francine Salopek,
                  954−769−5657 / Francine_Salopek@flsd.uscourts.gov. Transcript may be viewed at the
                  court public terminal or purchased by contacting the Court Reporter Francine Salopek
                  before the deadline for Release of Transcript Restriction. After that date it may be
                  obtained through the Court Reporter Francine Salopek and PACER. Redaction Request
                  due 7/23/2019. Redacted Transcript Deadline set for 8/2/2019. Release of Transcript
                  Restriction set for 9/30/2019. (fs) (Entered: 07/02/2019)
 07/09/2019   217 ORDER denying 212 Motion for Amended and Additional Findings in the Courts Order
                  Closing Case. Signed by Judge Roy K. Altman on 7/9/2019. See attached document for
                  full details. (kpe) (Entered: 07/10/2019)
 07/17/2019   218 Notice of Appeal as to 211 Judgment, 210 Order Dismissing Case, by Oluwamuyiwa
                  Awodiya. FILING FEE: (NOT PAID). Within fourteen days of the filing date of a Notice
                  of Appeal, the appellant must complete the Eleventh Circuit Transcript Order Form
                  regardless of whether transcripts are being ordered [Pursuant to FRAP 10(b)]. For
                  information go to our FLSD website under Transcript Information. (apz) (Entered:
                  07/18/2019)
 07/18/2019         Transmission of Notice of Appeal, Order/Judgment under appeal and Docket Sheet to US
                    Court of Appeals re 218 Notice of Appeal, Notice has been electronically mailed. (apz)
                    (Entered: 07/18/2019)
 07/29/2019   219 Acknowledgment of Receipt of NOA from USCA re 218 Notice of Appeal, filed by
                  Oluwamuyiwa Awodiya. Date received by USCA: 7/18/2019. USCA Case Number:
                  19−12832−D. (apz) (Entered: 07/29/2019)
USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 26 of 212




                TAB 101
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 1 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 27 of 212

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     O LU W A M UY IW A A W O DIYA ,                   Case N o. 0:l8-cv-60482-K M M
                      Plaint!
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                        -   V-
                                                       Hon.ChiefJudge:K.M ichaelM oore
                                                       M agistrate Judge:A licia 0 .V alle
     RO SS UN IV ERSITY SCHO O L OF
     M ED ICIN E,SCHO OL O F
     VETERIN A RY M EDICINE LIM ITED
                     Defendant.

            PLA IN TIFF'S STA TEM EN T OF M ATERIAL FA CTS IN SUPPO RT O F
          PLA IN TIFF'S SEC O ND M O TIO N FO R PA R TIAL SU M M AR Y JU DG M EN T
           PlaintiffoluwamuyiwaAwodiya(tûplaintifr'),inproperperson,herebyfileshisStatement
    ofM aterialFacts in SupportofPlaintiff's Second M otion forPartialSum m ary Judgm ent.

                  Ross University School of M edicine, School of Veterinary M edicine Lim ited

    (CtRUSM''oriiDefendant'')operatesaprivate,for-profitmedicalschool.Answer!2.
                  RU SM receives Federal financialassistance from the United States of A m erica,

    DepartmentofEducation.Answer!49.
                                   ,Seealso Pl.'sSecond MotionforJudicialNotice (ECF
    No.891.
                  RUSM is a isplace of public accom m odation''because it is a private school.42

    U.S.C.j 12181(7)(J).
           4.     W illiam Owen CtDean Owen'')istheDean and ChancellorofRUSM .Admis.No.
    80.

                  DavendranandSharma(ttDr.Sharma'')isRUSM 'StEprofessorofbehaviorsciences
    and consultantpsychiatristforhealth services.''Sharm a Dep.7:23-24.
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 2 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 28 of 212



           6.     Bryan Hayse CCDr.Hayse'')is the Associate Dean ofStudentAffairs atRUSM .
    Adm is.N o 81;Ex.SJ-09.

                  McM illanCuffyCiMr.Cuffy'')isacounseloratRUSM .Admis.No.48.
           8.     Matthew Stewart-Fulton (ttMr.Stewart-Fulton'') is one ofthe accommodation
    coordinatorsatRUSM .Admis.No82;Answer! l7.
           9.     Plaintiff was a studentat RUSM .He started his firstsem ester atRU SM in M ay

    2014.AwodiyaDecl.!2.
           l0.    Plaintiff was given m ultiple diagnostic tests betw een December 2015 through

    January 2016 forhisatlention/concentration problems.Plaintiff'streatingprofessionalsstated,(l)
    ttconnersCPT3computertestingresultsjjstatesthatthescoresare iassociated withaveryhigh
    likelihood ofhavingadisorder'such asADHD-''Ex.SJ-0l;(2)tç-l-heTOVA wasadministered.
    The results are not w ithin norm al lim its and the overall pattern of perform ance suggests an

    attentionproblem,includingADHD.''Ex.SJ-02;and (3)tt-f'
                                                         he CAARS wasalso administered.
    The results indicated A DH D predom inantly Inatlentive presentation-''f#.

                  Plaintiffs A DHD assessm ent from Decem ber 2015 indicate that Plaintiff

    constantly hasdifficulty sustaining atlention to tasksatw ork orin school,constantly hasdifficulty

    with tasks requiring persistence or organization (schoolwork orjob duties),constantly has
    problem s w ith procrastination/avoidance of tasks,constantly distracted by noise or activity,and

    constantly is forgetfulin daily activities.Ex.SJ-03,at3.

           l2.    Plaintiff's medical records also indicate that Plaintiff w as struggling with

    com pleting exam sdueto com pulsively checking thathe hascom pleted previousanswers,w asvery

    worried aboutunderm ining hisscore by notcom pleting the exam s in the tim eallowed so hepulled

    hiseyelashesoutto the pointw here he wouldn'thave any left.Ex.SJ-04,at35.
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 3 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 29 of 212



                   RUSM counseling recordsindicatethatPlaintiffexperienced isrunning outoftim e''

    on hisexam s.Ex.SJ-05.Theserecordsalso show thatûûtow ardsthe end''ofexam s,Plaintiffwould

    tûlosgelhismomentum andjustcirclequestionswithoutreallythinkingoftheanswers-''Ex.SJ-06.
                   RUSM adm itted that Plaintiff is an otherw ise qualified individual. Compare

    Compl.!86,withAnswer!87.
                   After Plaintiff failed his tifth sem ester in Decem ber 2015, he executed a RO I

    Agreem entlw ith the RU SM Counseling Center. Ex.SJ-07;Answer! 17.

            l6.    TheROIAgreementstatesthatPlaintifftûauthorizegdlRUSM CounselingCenter''
    to discuss his ûtconfidential inform ation'' w ith (IRUSM A dm inistration'' for the purpose ttto

    provide inform ation relevantto academ ic accom m odations''and authorized them to do so w ith

    iEoneoinz communication.''Ex.SJ-07 (emphasisadded).éIRUSM admitsthatthiswould have
    perm itled the Counseling Center,including the psychiatristtreating Plaintiff,to discusshisAD HD

    withtheschool'sAccommodationsCoordinatorg.l''Answer! l7.
                    W hen Plaintiffsigned the RO IA greem ent,he verbally asked Dr.Sharm a and M r.

    Cuffy to tellRUSM administration (1)thathe needed extended testing time fora suspected
    attentionproblem thatneededtobediagnosedand(2)thatheneededanearliertlighthometohelp
    him emotionallywithfailingthesemester.AwodiyaDecl.!3.
            18.     ln D r.Sharma's ow n w ords,he stated,ttl'm the one - or the doctors m ake the

    request for accom m odation,which is tim e-and-a-half.You getextra tim e.W e actually putitwe

    wantthestudenttogettheaccommodationl.l''SharmaDep.37:17-2l.
            l9.     Dr.Sharm a adm itted thathe noticed Plaintiff'satlention/concentration sym ptom s,

     including,constantly hasdifficulty sustaining attentionto tasks,constantly hasdifficulty w ithtasks



            1The term RROIAgreem ent''refersto the Releaseoflnformation ConsentAgreement.
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 4 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 30 of 212



    requiring persistence or organization,constantly distracted by noise or activity, and constantly

    forgetfulin daily activities.Sharma Dep.l2:9-21.Dr.Sharm a stated,ûûwhatlsaw was evidenceof

    A DHD thatrequired,you know ,testing and confirm ation.''1d.13:1-3.Dr.Sharm a adm itted that

    henoticed Plaintifrs sym ptom sin tEDecem ber2015.'51d.l3:l9-24.

           20.     D r.Shanna furtheradm itted that he noticed Plaintiff's sym ptom s to the iûextent''

    that Dr.Sharm a itrecom m ended an assessm ent for the AD HD ,''when Plaintiff signed the RO I

    Agreem entûlfor the release of inform ation relative to academ ic accom m odations.''Sharm a Dep.

    73:1-8.

           21.     Dr.SharmafurtheradmittedthatPlaintiffsûtADHD symptomsthat(helobserved
    in Decem ber2015''w ere çtrelevantto academ ic accom m odations.''Sharm a Dep.74:13-22.

           22.     Dr.Sharmaadmittedthathewastcinformedthat(Pllaintiffwasrunningoutoftime
    onhisexams.''SharmaDep.23:7-9.Dr.Sharmafurtheradmittedthathebelievedthatitgpllaintiffs
    AD HD ,specific to him ,w as significantly lim iting his ability to com plete his exam s in the tim e

    allow ed.''1d.20:19-22.

           23.     Dr.Sharma further stated,tçdid lprescribe the stimulant(Ritalinlbecause the
    studentneeded extra tim e? Thatis partofthe problem thatA D HD has,thatitcauses the student

    to take longer.So the m edication w ould help that.So,yes,that'scorrect.''Sharm a Dep.39:14-19.

           24.     Dr.Hayse told Plaintiffthathe could accom m odate Plaintiffforfuture exam s but

    notforexamsthatPlaintiffhadalreadytaken.AwodiyaDecl.!5.Dr.HaysetoldPlaintiffthathe
    w ould contact M r.C uffy aboutthe suspected attention problem so that Plaintiff could receive

    extendedtestingtimeforfutureexams.1d.!6.
                   Mr.Cuffy'scounselingnotereads,ttlplaintifflreturnedtoofficeaftertalkingtoDr.
    HayesUfclinStudentAffairsregardinghisacademicsituation.Isubsequentlyreceivedanemail


                                                     4
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 5 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 31 of 212



    from Dr.Hayesgsfclrequestingthatwetalk atsomepointre:theclient.Afterthemeetingwith
    Dr.Hayes,Ufcltheclientwasverydisappointedbutstable.''Ex.SJ-Il.
             26.   W hen Plaintiff returned to Dom inica to repeathis Gfth sem esterin January 2016,

    Plaintiff provided the RUSM Counseling Center w ith an assessm ent of his AD HD that w as

    performedby Dr.Mauricio intheUnited States.Mr.Cuffy'scounseling notereads,dtlplaintiffl
    wasassessed in the U .S.forA DH D ;he provided usw ith a copy ofthe results which are scanned

    in his file....Clinicalassessm ent:Academ ic problem s;repeating sem ester5.''Ex.SJ-13.

             27.   M r. Cuffy's counseling notes also reads, itthat towards the end of the exam

    gplaintiffllosthismomentum andjustcirclequestionswithoutreallythinkingofthcanswers.''Ex.
    SJ-06.

             28.   Plaintifps Grstattem ptto pass the N BM E CBSE took place in Dom inica and his

    secondthroughfifthattemptstookplaceintheUnitedStatesofAmerica.Answer!23.
                   O n June l2,          Plaintiffs independent psychiatrist and psychotherapist

    inform ed Dean Owen that Plaintifps anxiety and checking rituals inherentto his condition have

    been adversely affecting hisacadem ic perform ance in m edicalschool.Ex.SJ-I5.

                   Plaintiffalso inform ed Dean O wen thathe neverfinished an exam on tim e and he

    wascompelledtobacktrackanswersjusttomakesuretheydidn'tdisappearfivesecondsafterhe
    wentto the next question,explaining som e of the ways thatO CD has influenced his academ ic

    perform ance.Ex.SJ-I7.

             3I.   RUSM adm its ttthatextended testing tim e for the N BM E CBSE is a reasonable

    accom m odation fordisabled studentsthatneed extended testing tim e.''Adm is.N o.58.

                   RUSM adm itsttthatRUSM did notprovide Plaintiffw ith extended testing time for

    the N BM E CBSE.''Adm is.N o.16.
Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 6 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 32 of 212



             33.     Before Plaintiffapplied and enrolled into RUSM 'Sm edicaldegreeprogram , RUSM

    published a statem entin its Adm ission Requirem ents section ofitsw ebsite''stating'
                                                                                        .



                     It is the policy and practice of the University to com ply w ith the
                     A m ericans w ith Disabilities Act as applicable and practical in
                     D om inica.
    Compl.! l06(hereinafterreferredtoasthettAlllA-statement''l'
                                                              ,CompareAnswer! 107.
             34.     D r. Hayse- who m ade the Gnal decision and oversaw the academ ic

    accom m odationsprocess- had no know ledge of any im posed com pliance w ith the AD A northe

    RA in Dom inica.Hayse Dep.l4:l1-18.In fact,Dr.Hayse even w entasfarasto say thatthey w ere

    notddbeholdento''theADA,rather,theyjustuseditasatûguideline-''HayseDep.10:14-17.2
             35.     RU SM also did nothave a policy or requirem ent instructing itsfaculty to comply

    w ith the RA in Dom inica,Hayse Dep.14:11-18,10:14-1l:6,l1:17-21.

             36.     Plaintiffasked M r.Stew art-lfulton ifçtfaculty atRU SM ''w asrequired lito com ply''

    withTitlelIIoftheADA andtheRA.Fulton Dep.31:14-21.M r.Stewart-Fultonanswered,iigiln
    reference to when you were enrolled and the cam pus was Iocated on Dom inica,w e w ere not

    required to com ply w ith the A DA .''1d.32:1-4.He furtheransw ered thatthey sim ply çtabided by

    the spirit''ofthe A DA and the RA .1d.32:5-7.M r.Stew art-Fulton furtheradm itted thatthere w as

    no policy tçto com ply''and therefore was not required to com ply w ith the A D A and RA in

    Dom inica.f#.32:12-19.

             37.     RU SM (dfocustheirm arketing effortson attracting highly qualified,primarily U.S.

    and Canadian applicantsl.l''Ex.SJ-20,at 19.RUSM admitsthatitpublished information for
    prospective students on its website,including in the A dm issions Requirem ents section-''A nswer

    ! 106.

             2The term t:ADA''refers to Title IIIofthe Americans with Disabilities Act, 42 U.S.C.j 12182.Theterm
    GRA''referstoSection504oftheRehabilitationActof1973,29U.S.C.j794.
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Case 0:18-cv-60482-KMM Document 101 Entered on FLSD Docket 12/11/2018 Page 7 of 8
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 33 of 212



          38.     Plaintiffhad tçseriousconcernsaboutattending am edicalschool...Iocated in a less

    developednation thantheU.S.''AwodiyaDecl.!9.ti-rheADA-statementaboutRUSM 'SADA
    compliancewasoneofthemostimportantfactorsin (Plaintiff'sldecision to leavethe U.S.to
    becomeastudentatRUSM inDominica.''AwodiyaDecl.! l4-15'
                                                         ,1d.!10-12.
          39.     Plaintiff iEthought the A DA -statem ent w as only applicable to U .S. students, as

    opposed to non-U .S.students,because ofthe w ord tAm ericans'in çAm ericans w ith Disabilities

    Act.'''AwodiyaDecl.! l6.ûlkplaintiftldidn'tknow thattheADA haddifferentdivisionsorparts
    andthatgeographicalapplicabilitycoulddifferamonganypartsoftheADA.''1d.! 18.


    DA TED this7th day ofDecem ber,2018:

                                                        Respectfully subm itled,



                                                        By:Oluwam u iw a A wodiya,pro se lltigant
                                                                               l5005 Dahlia Dr.
                                                                              Bowie,M D 20721
                                                                                    (240)602-1836
                                                                          Plaintiff,in ProperPerson




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USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 35 of 212




                TAB 102
    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 1 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 36 of 212


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                                UNITED STATES DISTRICT COURT
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                                             Southern District of Florida
                                                                                              DEC 1n 2018
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                                                          )
           OLUWAMUYIWA A WODIYA,                          )    Case No. 0: l 8-cv-60482-KMM
                              Plaintiff,
                                                          )
                                                          )
                                -v-                       )
                                                               Hon. Chief Judge: K. Michael Moore
                                                          )
                                                               Magistrate Judge: Alicia 0. Valle
           ROSS UNIVERSITY SCHOOL OF                      )
           MEDICINE, SCHOOL OF                            )
           VETERINARY MEDICINE LIMITED                    )
                                                          )
                             Defendant.
                                                          )

                   PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT

                   Pursuant to Rule 56 of the Federal Rules of Civil Procedure, plaintiff Oluwamuyiwa

          Awodiya ("Plaintiff'), in proper person, hereby submits his Second Motion for Partial Summary



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          Judgment ("Motion").

                   Plaintiff brings this Motion against Ross University School of Medicine, School of

          Veterinary Medicine Limited ("RUSM") in whole or in part on his failure to accommodate claims

          (under 42 U.S.C. § 12182; 29 U.S.C. § 794; 34 C.F.R. § 104), breach of fiduciary duty claim,

          fraudulent misrepresentation claims (inducement and omission), and negligent misrepresentation

          claim.
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 2 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 37 of 212



                                                    Terms

               The term "ADA" refers to Title III of the Americans with Disabilities Act, 42 U.S.C. §

      12182.

               The term "RA" refers to Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794.

               The term "ADHD" refers to Attention Deficit Disorder Without Mention of Hyperactivity.

               The term "Anxiety Disorder" refers to Anxiety State, Unspecified.

               The term "OCD" refers to Obsessive Compulsive Disorder.

               The term "Mental Impairments" refers to (i) Attention Deficit Disorder Without Mention

      of Hyperactivity, (ii) Anxiety State, Unspecified, and (iii) Obsessive Compulsive Disorder.

               The term ''NBME CBSE" or "COMP" refers to NBME Comprehensive Basic Sciences

      Examination.

               The term "ROI Agreement" refers to the Release of Information Consent Agreement

      attached as Exhibit SJ-07.

               The citation term "Admis. No." refers individually to each request in RUSM's responses

      to Plaintiffs request for admissions attached as Exhibit SJ-08.

               The citation term "Sharma Dep." refers to Davendranand Shanna's deposition transcript

      attached as Exhibit SJ-21.

               The citation term "Hayse Dep." refers to Bryan Hayse's deposition transcript attached as

      Exhibit SJ-22.

               The citation term "Fulton Dep." refers to Matthew Stewart-Fulton's deposition transcript

      attached as Exhibit SJ-23.




                                                       ii
I    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 3 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 38 of 212

!
                                                                     Table of Contents
           Introduction ................................................................................................................................... 1
           Standard of Review ....................................................................................................................... 1
           Argument ....................................................................................................................................... 1
1          I.         FAILURE TO ACCOMMODATE CLAIMS .................................................................................. 1
~i                    A.         Legal Frmnework.................................................................................................... 1


!                     B.         Plaintiff is Disabled ................................................................................................. 2
                                 1.         "Concentrating" is a Major Life Activity ................................................... 3


i                     C.
                      D.
                                 ii.        Plaintiff's Mental Impairments Substantially Limits Concentration .......... 3
                                 Plaintiff is an 'Otherwise Qualified' Individual. .................................................... 5
                                 Plaintiff Requested an Accommodation ................................................................. 6
1
                                 1.         Months Before Plaintiff's NBME CBSE Attempts .................................... 6

I                     E.
                                 11.        After Plaintiff's NBME CBSE Attempts. The Grievance Process ........... 10
                                 In the Alternative, Plaintiff's Need for an Accommodation was Obvious ........... 11

I                     F.
                      G.
                                 A Reasonable Accommodation Existed ................................................................ 13
                                 RUSM Failed to Provide a Reasonable Accommodation ..................................... 13
           II.        BREACH OF FIDUCIARY DUTY CLAIM ................................................................................ 13
                      A.         The RUSM Counseling Center had a Fiduciary Duty to Plaintiff. ....................... 13
           III.       FRAUDULENT INDUCEMENT/OMISSION AND NEGLIGENT MISREPRESENTATION CLAIMS ... 14
                      A.         RUSM Made a False Statement Regarding a Material Fact; and/or RUSM
                                 Misrepresented a Material Fact. ............................................................................ 15
                                 1.         The ADA-Statement................................................................................. 15
                                 11.        The ADA-Statement is False and/or Misrepresented ............................... 16
                                 m.         The ADA-Statement is Material. .............................................................. 16
                      B.         RUSM had Knowledge that the ADA-Statement is False; and/or Made the
                                 Representation Without Knowledge as to its Truth or Falsity, or RUSM Ought to
                                 have Known of its Falsity..................................................................................... 18
                      C.         RUSM Intended for Prospective Students in the U.S. to Rely on the ADA-
                                 Statement............................................................................................................... 19
                      D.         RUSM Omitted a Material Fact that it had a Duty to Disclose to Prospective
                                 Students ................................................................................................................. 19
                      E.         Plaintiff was Consequently Injured Acting in Reliance on the ADA-Statement
                                 and/or Injury Resulted to Plaintiff Acting in Justifiable Reliance on the ADA-
                                 Statement. .............................................................................................................. 19
                                 I.         Plaintiff's Reliance and Consequent Injury .............................................. 20
'
ll
                                                                                  lll




'
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 4 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 39 of 212



                            11.        Justifiable Reliance ................................................................................... 20
      Conclusion ................................................................................................................................... 20




                                                                             iv
l   Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 5 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 40 of 212

I
                                                                     Table of Authorities



          Adigun v. Express Scripts, Inc., No. 17-15225, (11th Cir. Aug. 7, 2018) ...................................... 6

          Alboniga v. Sch. Bd. ofBroward Cnty., 87 F. Supp. 3d 1319, (S.D. Fla. 2015) ............................. 2

          Bagwellv. Morgan Cnty. Comm'n, No. 15-15274, (1 lth Cir. Jan. 18, 2017) .............................. 13

          Bank of Am., N.A. v. GrecHomeslX, LLC, CASE NO. 13-21718-CIV-ALTONAGA/Simonton,

             (S.D. Fla. Jan. 23, 2014) ........................................................................................................... 15

          Boudreauv. Bethesda Found. ofNeb., Civil Action No. 1:14-cv-03451-CMA-CBS, (D. Colo. Jan.

             27, 2016) ··································································································································· 10

          Brady v. Wal-Mart, 531 F.3d 127, (2d Cir. 2008) ........................................................................ 12

          Butler v. Yusem, 44 So. 3d 102, (Fla. 2010) ................................................................................. 20

          Doe v. Evans, 814 So. 2d 370, (Fla. 2002) ................................................................................... 14

          Duckettv. Dunlop Tire Corp., 120 F.3d 1222, (1 lth Cir. 1997) .................................................... 3

          Gracey v. Eaker, 837 So. 2d 348, (Fla. 2002) .............................................................................. 13

          Hunt v. Aimco Props., L.P., 814 F.3d 1213, (11th Cir. 2016) .................................................. 6, 17

          J.A.M v. Nova Se. Univ., Inc., Case No. 0:15-cv-60248-KMM, (S.D. Fla. Aug. 12, 2015) ...... 1, 2

          McCullum ex rel. DF & TFv. Orlando Reg'/ Healthcare Sys., Inc., 768 F.3d 1135, (11th Cir. 2014)

             ................................................................................................................................................... 12

          McLean v. Abington Mem 'I Hosp., CIVIL ACTION NO. 15-671, (E.D. Pa. Sep. 15, 2015) ...... 10

          Moore v. Hexacomb Corp., 670 F. Supp. 2d 621, (W.D. Mich. 2009) ......................................... 10

          Nattiel v. Fla. Dep't of Corr., CASE NO. 1:15-cv-00150-WTH-GRJ, (N.D. Fla. Nov. 27, 2017)

             ··················································································································································· 12

          Pope v. ABF Freight Sys., Inc., NO. 3:17-cv-564, (W.D.N.C. Jul. 24, 2018) ................................ 3

          Robertson v. Las Animas, 500 F.3d 1185, (10th Cir. 2007) ......................................................... 12

                                                                                     v
    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 6 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 41 of 212



          Sessoms v. Trs. of the Univ. ofPa., No. 17-2369, (3d Cir. Jun. 20, 2018) ..................................... 6

          Tsavaris v. Pfizer, Inc., Case No. 1:15-cv-21826-KMM, (S.D. Fla. Feb. 1, 2016) ...................... 15

          U.S. v. Hialeah Housing Authority, 418 Fed. Appx. 872, (11th Cir. 2011) .................................... 6

          Wachovia Insurance Services, Inc. v. Toomey, 994 So. 2d 980, (Fla. 2008) ................................ 14

          ZC Insurance Co. v. Brooks, 847 So. 2d 547, (Fla. Dist. Ct. App. 2003) ..................................... 19

                     Statutes

          42 U.S.C. § 12102 ....................................................................................................................... 2, 3

          42   u.s.c. § 12181 ......................................................................................................................... 16
          42   u.s.c. § 12182 ......................................................................................................................... 18
                     Other Authorities

          Pattern Jury Instructions, Civil Cases, Eleventh Circuit,§ 4.12, (2018 revision) .......................... 6

                     Regulations

          34 C.F.R. § 104 ..................................................................................................................... 2, 3, 18




                                                                                vi

I
l
l
1
        Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 7 of 123
           USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 42 of 212



                                                      INTRODUCTION

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                     In May of 2014, Plaintiff became a medical student at RUSM. After passing his first four



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              semesters in Dominica, he failed his fifth semester in December of 2015. When Plaintiff failed

              that semester, RUSM suspected, tested, and confirmed Plaintiff's concentration/attention


I             limitations. Plaintiff informed RUSM numerous times that he needed extended testing time, but

              RUSM allows its faculty to be deliberately indifferent to disabled students in need of an
j             accommodation. Contrary to what RUSM advertised to prospective students, RUSM did not have


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              a policy-or required in any fashion-for its faculty to comply with the ADA in Dominica.

                                                 STANDARD OF REVIEW

                     "A party may move for summary judgment, identifying each claim or defense -            or the

              part of each claim or defense -    on which summary judgment is sought. The court shall grant

              summary judgment if the movant shows that there is no genuine dispute as to any material fact and

              the movant is entitled to judgment as a matter oflaw." Fed. R. Civ. P. 56(a). "If the court does not

              grant all the relief requested by the motion, it may enter an order stating any material fact -

              including an item of damages or other relief- that is not genuinely in dispute and treating the fact

              as established in the case." Fed. R. Civ. P. 56(g).

                                                         ARGUMENT

              I.     Failure to Accommodate Claims
                     "To state a failure to accommodate claim, it must be shown that the plaintiff (1) is disabled,

              (2) is an 'otherwise qualified' individual, and (3) was discriminated against by way of the

              defendant's failure to provide a reasonable accommodation." JA.M v. Nova Se. Univ., Inc., Case

              No. 0:15-cv-60248-KMM, at *8 (S.D. Fla. Aug. 12, 2015).

                     A.      Legal Framework.


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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 8 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 43 of 212



                  Since 34 C.F.R. § 104.4 effectuates the RA and because the RA and Title III of the ADA

           both prohibit discrimination on the basis of disability by an institution of higher education, these

           claims will be discussed together as a failure to accommodate claim. "No qualified handicapped

           person shall, on the basis of handicap, be excluded from participation in, be denied the benefits of,
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.!         or otherwise be subjected to discrimination under any program or activity which receives Federal
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i          financial assistance." 34 C.F.R. § 104.4(a). "The purpose of this part is to effectuate section 504

           of the Rehabilitation Act of 1973, which is designed to eliminate discrimination on the basis of

           handicap in any program or activity receiving Federal financial assistance." 34 C.F.R. § 104.1.

                  "Both the ADA and the RA prohibit discrimination on the basis of disability by an

           institution of higher education. . . . Because both statutes generally impose the same legal

           requirements, the Court will discuss the ADA and RA claims together, relying on cases construing


I          those statutes interchangeably, unless a distinction is relevant." J.A.M, Case No. 0:15-cv-60248-

l          KMM, at *5-6. "[T]he only material difference between the rights and remedies afforded plaintiffs

           under Title II and Section 504 lies in their respective causation requirements, but that this

           difference was immaterial where the plaintiffs claims are based on a failure to make reasonable

           accommodations for disabled individuals." Alboniga v. Sch. Bd. of Broward Cnty., 87 F. Supp. 3d

           1319, 1332 (S.D. Fla. 2015) (emphasis added) (citing Bennett-Nelson v. La. Bd. of Regents, 431

           F.3d 448, 454 (5th Cir.2005)).

                  B.      Plaintiff is Disabled.
                  A disabled or handicapped person is any person who (i) has a "physical or mental

           impairment" which "substantially limits one or more major life activities," (ii) has a "record of'

           such an impairment, or (iii) is "regarded as" having such an impairment. 42 U.S.C. § 12102(1);

           accord 34 C.F .R. § 104.30)(1 ).



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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 9 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 44 of 212


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J                 "However, for a failure to accommodate claim, an individual must show that he has a

           disability within the 'actual disability' prong or the 'record of prong[.]" Pope v. ABF Freight Sys.,

           Inc., NO. 3:17-cv-564, at *6-7 (W.D.N.C. Jul. 24, 2018). "Has a record of such an

           impairment means has a history of, or has been misclassified as having, a mental or physical

           impairment that substantially limits one or more major life activities." 34 C.F.R. § 104.3G)(2)(iii)

           (emphasis omitted and added). Plaintiff's Mental Impairments are so well documented and detailed

           that he satisfies both the 'actual disability' and the 'record of prongs.

                              i.   "Concentrating" is a Major Life Activity.
                  By statute, "major life activities include ... concentrating 1 ••• " 42 U.S.C. § 12102(2)(A).



l          Since only one major life activity is required to be disabled, Plaintiff does not find it necessary to

           argue all other possible major life activities in this Motion.
11                            ii. Plaintiff's Mental Impairments Substantially Limits Concentration.
                  "[M]ental impairment means . . . any mental or psychological disorder." 34 C.F .R. §

           104.3(j)(2)(i). Plaintiff was diagnosed with the following mental disorders, ADHD, Anxiety

           Disorder, and OCD. Each of these Mental Impairments substantially limit the same major life

           activity, concentration; and consequently, his ability to complete exams in the standard time

           allotted. "The ADA defines 'discrimination' to include 'not making reasonable accommodations

           to the known physical or mental limitations of an otherwise qualified individual with a disability."

           Duckett v. Dunlop Tire Corp., 120 F.3d 1222, 1224 (1 lth Cir. 1997) (emphasis added) (quoting

           42 U.S.C. § 12112 (b)(5)(A)).

                   Diagnostic tests. After Plaintiff took multiple diagnostic tests between December 2015

           through January 2016 his treating professionals stated, (1) Plaintiff's "Conners CPT3 computer




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                       Plaintiff may use the term "concentration" interchangeably with "attention."
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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 10 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 45 of 212



           testing results [] states that the scores are 'associated with a very high likelihood of having a

           disorder' such as ADHD." Ex. SJ-01; (2) "The TOVA was administered. The results are not within

           normal limits and the overall pattern of performance suggests an attention problem, including

           ADHD." Ex. SJ-02; and (3) "The CAARS was also administered. The results indicated ADHD

           predominantly Inattentive presentation." Id. Plaintiff's Conners CPT3, TOVA, and CAARS all

           reached the same conclusion about Plaintiff's concentration problems.

                  Medical record notes by Plaintiff's treating professionals. On December 30, 2015, Dr.



II         Mauricio's medical note about Plaintiff reads:

                         The patient reports the
                         attention/concentration:
                                                            following     concerns   related   to


i                         [F]requently fails to give close attention to details or makes careless
I                         mistakes at work or in school[.]
                          [C]onstantly has difficulty sustaining attention to tasks at work or in
                          school[.]
                          [I]ntermittently doesn't seem to listen when spoken to directly[.]
                          [F]requently does not follow through on instructions or fails to finish
                          work or duties[.]
                          [C]onstantly has difficulty with tasks requiring persistence or
                          organization (schoolwork or job duties)[.]
                          [C]onstantly Has [sic] problems with procrastination/avoidance of
                          tasks.
                          [C]onstantly distracted by noise or activity.
                          [C]onstantly is forgetful in daily activities, e.g., difficulty
                          remembering appointments or obligations[.]
                          [I]ntermittently finds it hard to follow conversations, even when
                          being spoken to directly[.]
           Ex. SJ-03, at 3. On June 17, 2016, Dr. Mauricio's medical note about Plaintiff reads:

                          [H]ave not been on time for anything in the last couple of months,
                          continuous missing events, study maybe 3 hours a day or less, don't
                          feel a "focus" effect/ don't feel anything, stupid things distract [him]

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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 11 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 46 of 212



                         from main subject[]. He reports that he continues to be "always
                         late", forgetting all his appointments ...
          Id. at 18.

                  Denise H. Unterman's (Plaintiff's psychotherapist) medical note reads, "[a]nxiety dating

          to at least [high school]." Ex. SJ-04, at 35. Ms. Unterman's medical note further reads:

                         [O]nset of anxious feelings in HS w/ worsening in college around
                         exams when he started pulling out his eyelashes and chin hairs. [ ... ]
                         [S]truggling w/ completing exams due to compulsively checking
                         that he has completed previous answers. [ ... ] [H]e's very worried
                         about undermining his score by not completing the exam in the time
                         allowed .. He pulls his eyelashes to the point where he no longer has
                         any.

          Id. Ms. Unterman' s goal for Plaintiff reads:

                         Goal I: Anxiety Reduce [sic] the overall leve[l], frequency and
                         intensity of the anxiety so that daily functioning is not impaired.

          Id. at 36.

I                 RUSM counseling records indicate that Plaintiff experienced "running out of time" on his

          exams. Ex. SJ-05. These records also show that ''towards the end" of exams, Plaintiff would "los[ e]

          his momentum and just circle questions without really thinking of the answers." Ex. SJ-06.

                  C.     Plaintiff is an 'Otherwise Qualified' Individual.
                  RUSM admitted that Plaintiff is an otherwise qualified individual. Paragraph 86 of the

          Complaint [ECF No. 47] reads:

                         Plaintiff is otherwise qualified to participate in RUSM's curriculum
                         and is able to participate in said program with reasonable
                         accommodations in place.

          Compl. ~ 86.

                  RUSM admitted to the allegation in its Answer and Affirmative Defenses [ECF No. 58]

          ("Answer") as follows:



l                        In response to paragraph 86, RUSM admits the allegations.



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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 12 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 47 of 212



           Answer if 87.

                  D.       Plaintiff Requested an Accommodation.
                  The determination of whether a request for accommodation has been made, is a legal

           conclusion. "However stated, a plaintiff can be said to have made a request for accommodation

           when the defendant has 'enough information to know of both the disability and desire for an

           accommodation."' Hunt v. Aimco Props., L.P., 814 F.3d 1213, 1226 (11th Cir. 2016) (quoting

           Conneen v. MBNA Am. Bank, NA., 334 F .3d 318, 332 (3d Cir.2003) (internal quotation marks

           omitted)). "[A] plaintiff'need not use magic words,' but 'should provide enough information about

           his or her limitations and desires to suggest at least the possibility that reasonable accommodation


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           maybe found .... '" Adigunv. Express Scripts, Inc., No. 17-15225, at *4-5 (11th Cir. Aug. 7, 2018)

           (brackets omitted) (quoting Smith v. Midland Brake, Inc., 180 F.3d 1154, 1172 (10th Cir. 1999));

           accord US. v. Hialeah Housing Authority, 418 Fed. Appx. 872, 876 (11th Cir. 2011).

           "[A]ccommodation request need not be formal, be in writing, or invoke any particular 'magic

           words[.]"' Sessoms v. Trs. ofthe Univ. ofPa., No. 17-2369, at *8 (3d Cir. Jun. 20, 2018). The term

           "request" is a legal concept.

                  "Put another way, the third and fourth elements require [Plaintiff] to prove that [he]

           informed [RUSM] of both the substantial limitations [his] disability created and the need for an

           accommodation." Pattern Jury Instructions, Civil Cases, Eleventh Circuit, § 4.12, p. 7 (2018

           revision).

                           i.   Months Before Plaintiff's NBME CBSE Attempts.
                  After Plaintiff failed his fifth semester in December 2015, he executed a ROI Agreement

           with the RUSM Counseling Center. Ex. SJ-07; Answer          if 17. When Plaintiff signed the ROI
           Agreement, he verbally asked Dr. Sharma and Mr. Cuffy to tell RUSM administration (1) that he

           needed extended testing time for a suspected attention problem that needed to be diagnosed and

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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 13 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 48 of 212



           (2) that he needed an earlier flight home to help him emotionally with failing the semester.

           Awodiya Deel.~ 3.

                  The ROI Agreement states that Plaintiff "authorize[d] RUSM Counseling Center" to

           discuss his "confidential information" with "RUSM Administration" for the purpose ''to provide

           information relevant to academic accommodations" and authorized them to do so with "ongoing

           communication." Ex. SJ-07. "RUSM admits that this would have permitted the Counseling Center,

           including the psychiatrist treating Plaintiff, to discuss his ADHD with the school's

           Accommodations Coordinator[.]" Answer~ 17.

                  Dr. Sharma is RUSM's "professor of behavior sciences and consultant psychiatrist for

           health services." Sharma Dep. 7:23-24. Dr. Sharma admitted that he has "helped other students to

           get test accommodations at Ross University." Id. 27:1-3. Although he may not make the final

           decision, Dr. Sharma stated that he is the one who makes the requests for accommodations for

           students. In Dr. Sharma's own words, he stated, "I'm the one -- or the doctors make the request

           for accommodation, which is time-and-a-half. You get extra time. We actually put it we want the
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           student to get the accommodation[.]" Id. 37:17-21.

                  Dr. Sharma admitted that he noticed Plaintiff's attention/concentration symptoms,

           including, constantly has difficulty sustaining attention to tasks, constantly has difficulty with tasks

           requiring persistence or organization, constantly distracted by noise or activity, and constantly

           forgetful in daily activities. Sharma Dep. 12:9-21. Dr. Sharma stated, "what I saw was evidence of

           ADHD that required, you know, testing and confirmation." Id. 13:1-3. Dr. Sharma admitted that

           he noticed Plaintiff's symptoms in "December 2015." Id. 13:19-24. Dr. Sharma further admitted

           that he noticed Plaintiff's symptoms to the "extent" that Dr. Sharma "recommended an assessment

           for the ADHD," when Plaintiff signed the ROI Agreement "for the release of information relative



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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 14 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 49 of 212



          to academic accommodations." Id. 73:1-8. Dr. Sharma further admitted that Plaintiff's "ADHD

          symptoms that [he] observed in December 2015" were "relevant to academic accommodations."

          Id. 74:13-22.

                  Dr. Sharma admitted that he was "informed that [P]laintiffwas running out of time on his

          exams." Sharma Dep. 23:7-9. Dr. Sharma further admitted that he believed that "[P]laintiff's
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          ADHD, specific to him, was significantly limiting his ability to complete his exams in the time
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          allowed." Id. 20: 19-22. Dr. Sharma also stated that Plaintiff told him that he was continuing to

          "r[u]n out of time" on his exams even though he passed them in March 2016. Id. 18:24-19:7. Dr.

          Sharma further stated, "did I prescribe the stimulant [Ritalin] because the student needed extra

          time? That is part of the problem that ADHD has, that it causes the student to take longer. So the

          medication would help that. So, yes, that's correct." Id. 39:14-19. Then Dr. Sharma admitted that

          Plaintiff told him that he was still running out of time on his exams despite the medication. Id.

          40:24-41 :7.




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                  Dr. Hayse has served as the Associate Dean of Student Affairs at RUSM. Ex. SJ-09. His

          "[a]reas of oversight include ... academic accommodations." Id. Dr. Hayse was responsible for

          making the "final decision" on academic accommodations. Hayse Dep. 23:22-24:8. Plaintiff also

          informed Dr. Hayse of his limitations and the need for extended testing time. On the same day that

          Plaintiff signed the ROI Agreement in December 2015, he had a joint meeting with Dr. Sharma

          and Mr. Cuffy about failing the semester. Ex. SJ-10. Dr. Sharma's counseling note reads, "[f]elt

          he was treated unfairly because he failed by one point . . . [h]e wanted to speak to the Dean about

          changing his grade." Id. at 1. The same counseling note also reads, "[i]s trying to see ifhe can have

           his grade changed. EMt [sic] with student affairs." Id. at 2.




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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 15 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 50 of 212



                 The next day Plaintiff met with Dr. Hayse in Student Affairs. Plaintiff asked Dr. Hayse if

          he could retake his exams with extended testing time because the RUSM Counseling Center

          suspected an attention problem that needed to be diagnosed. Awodiya Deel. , 4. Dr. Hayse told

          Plaintiff that he could accommodate Plaintiff for future exams but not for exams that Plaintiff had

          already taken. Id. , 5. Dr. Hayse told Plaintiff that he would contact Mr. Cuffy about the suspected

          attention problem so that Plaintiff could receive extended testing time for future exams. Id. , 6.

                 Mr. Cuffy is a counselor at RUSM. Admis. No. 48. Mr. Cuffy's counseling note reads,

          "[Plaintiff] returned to office after talking to Dr. Hayes [sic] in Student Affairs regarding his

          academic situation. I subsequently received an email from Dr. Hayes [sic] requesting that we talk

          at some point re: the client. After the meeting with Dr. Hayes, [sic] the client was very disappointed

          but stable." Ex. SJ-11. Another counseling note three days later by Mr. Cuffy reads, "[a]fter

          exhausting all avenues of getting his grades changed, he is at the point where he is accepting to

          come back here in January to repeat semester 5." Ex. SJ-12.

                 When Plaintiff returned to Dominica to repeat his fifth semester in January 2016, Plaintiff



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          provided the RUSM Counseling Center with an assessment of his ADHD that was performed by

          Dr. Mauricio in the United States. Mr. Cuffy clinically assessed Plaintiff with ADHD and Anxiety

          Disorder. Answer,, 14-15. Mr. Cuffy's counseling note reads, "[Plaintiff] was assessed in the

          U.S. for ADHD; he provided us with a copy of the results which are scanned in his file .... Clinical

          assessment: Academic problems; repeating semester 5." Ex. SJ-13. See also diagnostic tests and

          medical record notes supra pp. 3-4. Mr. Cuffy's counseling notes also reads, "that towards the end

          of the exam [Plaintiff] lost his momentum and just circle questions without really thinking of the

          answers." Ex. SJ-06.




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 16 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 51 of 212



             Dr. Sharma, Dr. Hayse, and Mr. Cuffy were each informed of Plaintiff's limitations and

      the need for an accommodation.

                      ii. After Plaintiff's NBME CBSE Attempts. The Grievance Process.
             In 2017, the RUSM Promotions Committee recommended Plaintiff for dismissal because

      of his performance on his NBME CBSE attempts. Dean Owen denied Plaintiff the opportunity to

      continue despite being informed by Plaintiff's mental health providers that Plaintiff suffers from a

      disability that adversely affects his academic performance.

             "[S]omeone other than the disabled person may request an accommodation on behalf of

      the disabled person." Moore v. Hexacomb Corp., 670 F. Supp. 2d 621, 629 (W.D. Mich. 2009).

      "[A] family member, friend, health professional, or other representative may request a reasonable

      accommodation on behalf of an individual with a disability." Id. at 629-630 (quoting Taylor v.

      Phoenixville Sch. Dist., 184 F.3d 296, 312 (3d Cir. 1999)); accord McLean v. Abington Mem'/

      Hosp., CIVIL ACTION NO. 15-671, at *15 (E.D. Pa. Sep. 15, 2015); Boudreau v. Bethesda

      Found. ofNeb., Civil Action No. 1:14-cv-03451-CMA-CBS, at *10 n.2 (D. Colo. Jan. 27, 2016).

             On June 1, 2017, the RUSM Promotions Committee instructed Plaintiff to email an appeal

      letter to Dean Owen at PromotionAppeals@RossU.edu "[i]f additional information has become

      available or if you believe university procedure wasn't followed." Ex. SJ-14.

             On June 12, 2017, Plaintiff's independent psychiatrist and psychotherapist informed Dean

      Owen that Plaintiffs mental impairment had adversely affected his academic performance in

      medical school. Ex. SJ-15. Plaintiff's psychiatrist and psychotherapist sent an email to Dean Owen

      which states:

                             We are writing on behalf of [Plaintiff], a student in your
                      program.
                            We have been treating Mr. Awodiya for the past several
                      months for ADHD and Obsessive Compulsive Disorder. He has had

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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 17 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 52 of 212



I                        symptoms of the latter for the past 4-6 years but did not understand
                         the nature of the diagnosis until recently. We believe that the
                         anxiety and checking rituals inherent to this condition have been
                         adversely affecting his academic performance in medical school.
          Id. (emphasis added).

                 On June 13, 2017, RUSM confirmed that it received Plaintiff's appeal letter to Dean Owen.

          Ex. SJ-16. Plaintiff's appeal letter to Dean Owen stated:

                         [M]y objective is to keep this letter relevant to how OCD has
                         influenced my academic performance.


                                 My biggest challenge with OCD is the extreme anxiety and
                         urges that overwhelm me. . . . Honestly, I don't fully understand
                         everything about my OCD yet, but sometimes there isn't a solution
                         to sooth my anxiety. Therefore, when I can't identify why I feel the
                         way I do, I get hopelessly overwhelmed. Sometimes the solution is
                         not even logical, like pulling out my eyelashes.
                                I'm the student who never finished an exam on time. I was
                         compelled to back track my answers just to make sure they
                         didn't disappear 5 seconds after I went to the next question ....
                         These are just some of the ways that OCD has influenced my
                         academic performance.
                                . . . I cannot tell you that I can fix this overnight, but I can tell
                         you that progress can be made.
          Ex. SJ-17 (emphasis added).

                 On June 29, 2017, Dean Owen sent a letter to Plaintiff which states that he "carefully

          reviewed [Plaintiff's] academic record, [Plaintiff's] appeal of the Student Promotions

          Committee's recommendation for dismissal, and [Plaintiff's] pre-matriculation credentials."

          Ex. SJ-18 (emphasis added). Dean Owen still decided to dismiss Plaintiff. Id.

                 E.      In the Alternative, Plaintiff's Need for an Accommodation was Obvious.
                 Even if RUSM could somehow create a question of fact as to whether Plaintiff made a

          "request" for an accommodation, a request is not required when Plaintiff's need for an



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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 18 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 53 of 212



           accommodation was obvious. The same facts already set forth above, support this alternative as

           well.

                   "[T]he entity will know of the individual's need for an accommodation because it is
it         obvious." McCullum ex rel. DF & TFv. Orlando Reg'/ Healthcare Sys., Inc., 768 F.3d 1135, 1147


!          (11th Cir. 2014) (quoting Robertson v. Las Animas Cnty. Sherif.l's Dep't, 500 F.3d 1185, 1197


l          (10th Cir.2007)). "Whether the public entity's knowledge derives from an individual's request for

           an accommodation or an individual's obvious need for an accommodation, the critical component

           of the entity's knowledge is that it is aware not just that the individual is disabled, but that the

           individual's disability affects his ability to receive the benefits of the entity's services." Robertson

           v. Las Animas, 500 F.3d 1185, 1197 n.10 (10th Cir. 2007).

                   "[A] disabled person's failure to expressly 'request' an accommodation[] is not fatal to an

           ADA claim where the defendant otherwise had knowledge of an individual's disability and needs

           but took no action. A specific demand may be unnecessary where the need for an accommodation

           is obvious." Nattielv. Fla. Dep't ofCorr., CASE NO. 1:15-cv-00150-WTH-GRJ, at *2 (N.D. Fla.

           Nov. 27, 2017) (second bracket added) (quoting McCoy v. Texas Dep't of Criminal Justice, 2006

           WL 2331055 at *7 (S.D. Tex 2006)).

                   "Application of this general rule [that a request for accommodation is a prerequisite to

           liability for failure to accommodate] is not warranted, however, where the disability is obvious or

           otherwise known to the employer without notice from the employee." Brady v. Wal-Mart, 531

           F.3d 127, 135 (2d Cir. 2008) (brackets in original) (quoting Felix v. New York City Transit

           Authority, 154 F.Supp.2d 640 (S.D.N.Y. 2001)). "[W]hen an employer has independent

           knowledge of an employee's disability[,] [t]he rule requiring a request for accommodation [does

           not apply] in such circumstances." Id. (last bracket in original). "A requirement that such an



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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 19 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 54 of 212



          employee ask for accommodation would be tantamount to nullifying the statutory mandate of

          accommodation for one entire class of disabled (as that term is used in the ADA) employees. We



l         therefore hold that an employer has a duty reasonably to accommodate an employee's disability if

          the disability is obvious -which is to say, if the employer knew or reasonably should have known

          that the employee was disabled." Id.

                 "Lastly, the regulations governing the ADA provide that, to determine the appropriate

          reasonable accommodation, an employer may need to initiate an informal, interactive process with

          the individual with a disability in need of an accommodation to identify the person's limitations

          and potential reasonable accommodations." Bagwell v. Morgan Cnty. Comm 'n, No. 15-15274, at

          *7 (I Ith Cir. Jan. 18, 2017) (quotation marks omitted).

                 F.      A Reasonable Accommodation Existed.
                 RUSM admits ''that extended testing time for the NBME CBSE is a reasonable

          accommodation for disabled students that need extended testing time." Admis. No. 58.

                 G.      RUSM Failed to Provide a Reasonable Accommodation.
                 RUSM admits "that RUSM did not provide Plaintiff with extended testing time for the

          NBME CBSE." Admis. No. 16.

          II.    Breach of Fiduciary Duty Claim
                 The RUSM Counseling Center had an ongoing duty to provide RUSM administration with

          confidential information reposed by Plaintiff, if the information was relevant to academic

          accommodations.

                 "The elements of a claim for breach of fiduciary duty are: the existence of a fiduciary duty,

          and the breach of that duty such that it is the proximate cause of the plaintiff's damages." Gracey

          v. Eaker, 837 So. 2d 348, 353 (Fla. 2002).

                 A.      The RUSM Counseling Center had a Fiduciary Duty to Plaintiff.

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II   Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 20 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 55 of 212

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                   "The counselor-counselee relationship has been characterized as a fiduciary one." Doe v.

           Evans, 814 So. 2d 370, 374 (Fla. 2002). "Fiduciary relationships usually arise in one of four

           situations: (1) when one person places trust in the faithful integrity of another, who as a result

           gains superiority or influence over the first, (2) when one person assumes control and responsibility

           over another, (3) when one person has a duty to act for or give advice to another on matters falling

           within the scope of the relationship, or (4) when there is a specific relationship that has

           traditionally been recognized as involving fiduciary duties[.]" Wachovia Insurance Services, Inc.

           v. Toomey, 994 So. 2d 980, 998 n.7 (Fla. 2008) (alterations omitted).

                  As stated above, Plaintiff verbally asked Dr. Sharma and Mr. Cuffy, to communicate with

           RUSM administration on his behalf. See supra pp. 6-7. The RUSM Counseling Center's fiduciary

           duty is outlined, in writing, in the joint ROI Agreement. Restated here, the ROI Agreement states

           that Plaintiff "authorize[d] RUSM Counseling Center" to discuss his "confidential information"

           with "RUSM Administration" for the purpose "to provide information relevant to academic

           accommodations" and authorized them to do so with "ongoing communication." Ex. SJ-07

           (emphasis added). "RUSM admits that this would have permitted the Counseling Center, including

           the psychiatrist treating Plaintiff, to discuss his ADHD with the school's Accommodations

           Coordinator[.]" Answer if 17.

           III.   Fraudulent Inducement/Omission and Negligent Misrepresentation Claims
                  RUSM falsely advertised to prospective students that the university required its faculty "to

           comply" with the Americans with Disabilities Act in Dominica. RUSM admitted that the

           advertisement was intended for prospective students but used the phrase "as applicable" to exclude

           these same students from the purported "policy" or requirement that it advertised to have.

                  "To state a claim for fraudulent inducement pursuant to Florida law, [Plaintiff] must allege

           four elements: '( 1) a false statement regarding a material fact; (2) the statement maker's knowledge

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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 21 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 56 of 212



          that the representation is false; (3) intent that the representation induces another's reliance; and (4)

          consequent injury to the party acting in reliance." Bank ofAm., NA. v. Gree Homes IX, LLC, CASE

          NO. 13-21718-CIV-ALTONAGA/Simonton, at *11 (S.D. Fla. Jan. 23, 2014) (quoting Thompkins

          v. Lil' Joe Records, Inc., 476 F.3d 1294, 1315 (11th Cir. 2007) (citations omitted)).

                   "A plaintiff may establish negligent misrepresentation by proving (1) a misrepresentation

          of a material fact; (2) the representor made the representation without knowledge as to its truth or

          falsity, or under circumstances in which the representor ought to have known of its falsity; (3) the

          representor intended to induce another to act on the misrepresentation; and (4) injury resulted to

          the party acting in justifiable reliance on the misrepresentation." Tsavaris v. Pfizer, Inc., Case No.

          1:15-cv-21826-KMM, at *9 (S.D. Fla. Feb. 1, 2016) (quoting Souran v. Travelers Ins. Co., 982

          F.2d 1497, 1503 (I Ith Cir. 1993) (citation omitted).

                   A.       RUSM Made a False Statement Regarding a Material Fact; and/or RUSM
                            Misrepresented a Material Fact.
                            i.   The ADA-Statement.
                   Paragraph 106 of the Complaint reads, "[c]ontinuously between 2012 and 2018, and before

          Plaintiff applied and enrolled into RUSM' s medical degree program, RUSM published a statement

          in its Admission Requirements section of its website" stating:

                            It is the policy and practice of the University !Q comply with the
                            Americans with Disabilities Act as applicable and practical in
                            Dominica.
          Compl.   ~    106 (emphasis added) (hereinafter referred to as the "ADA-Statement"); See also Ex.

          SJ-19, at 3 (the ADA-Statement as it appeared on October 31, 2012).

                   RUSM did not deny and therefore admitted the allegation of the ADA-Statement in its

          Answer, as it reads:
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                            In response to paragraph 106, RUSM states that the website speaks
                            for itself and RUSM denies any allegations inconsistent therewith.


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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 22 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 57 of 212



          Answer~    107.

                            ii. The ADA-Statement is False and/or Misrepresented.
                  First, RUSM did not have a policy instructing its faculty ''to comply" with the Americans

          with Disabilities Act in Dominica. Second, RUSM believed or took the position that Title III of

          the Americans with Disabilities Act was not applicable in Dominica and then used this malicious

          belief to elude the compliance that it advertised to prospective students.

                  Title I of the Americans with Disabilities Act is only applicable to employees. 42 U.S.C. §

           12112(a). Title II of the Americans with Disabilities Act is only applicable to public entities. 42
I         U.S.C. § 12132. In contrast, Title III of the Americans with Disabilities Act is applicable to private
t
j         entities including "postgraduate private school[s]." 42 U.S.C. § 12181(7)(1). RUSM is a "private,


l         for-profit medical school." Answer~ 2.

                  Dr. Hayse-who made the final decision and oversaw the academic accommodations
1
          process-had no knowledge of any imposed compliance with the ADA nor the RA in Dominica.
1
          Hayse Dep. 14:11-18. In fact, Dr. Hayse even went as far as to say that they were not "beholden

          to" the ADA, rather, they just used it as a "guideline." Hayse Dep. 10: 14-17. See also Admis. No.

          29 (RUSM admitting that the school "is not required to comply with Title III of the ADA in

          Dominica").

                            iii. The ADA-Statement is Material.
                  Even though RUSM's main campus location in Dominica was required to comply with

          Title IV, HEA statutes and regulations-including the RA-in exchange to receive Federal

          financial assistance, see Pl.'s Second Motion for Judicial Notice [ECF No. 89], RUSM also did

          not have a policy or requirement instructing its faculty to comply with the RA in Dominica, Hayse

          Dep. 14:11-18, 10:14-11:6, 11:17-21.




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 23 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 58 of 212



              Since RUSM did not have a policy-or required in any fashion-for its faculty to comply

      with either Title III of the Americans with Disabilities Act or the RA, it perpetuated discrimination

      by providing its faculty the option to be deliberately indifferent to the known limitations of disabled

      students who needed reasonable accommodations in Dominica.

              In addition to ignoring the known needs and limitations of disabled students, RUSM

      blindly adheres to its own formalisms 2 about the manner of requests for accommodations which

      are actually just administrative methods used to perpetuate discrimination of disabled students by

      refusing to provide reasonable accommodations for oral requests, by requiring magic words to get

      accommodations, and by refusing to offer (or investigate) a reasonable accommodation after

      someone else-other than the disabled student-informed RUSM faculty of the disabled student's

      limitations and need for an accommodation.

              Taking depositions, Plaintiff asked Dr. Sharma if students need to expressly "say" the word

      "accommodations" in order to get accommodations, Dr. Sharma answered, "[y]es, they have to."

      Sharma Dep. 29:7-18. In this example, the magic word here is "accommodations." Dr. Sharma

      further stated:

                        I can only send the documentation to the accommodations office,
                        what we have, and they would receive accommodation.
                               . . . You have -- you have good documentation, in my
                        opinion. Other students may have had one less test done, but still
                        with a good diagnostic report of ADHD. So they would be given
                        accommodations.
      Sharma Dep. 27:13-23. In addition to requiring magic words, Dr. Sharma explained that nobody

      can request for accommodations on a student's behalf, stating:




              2
               "[W]hat matters is not 'formalisms about the manner of the request,' but that the employer has notice of the
      employee's disability and wish to be accommodated." Hunt v. Aimco Props., L.P., 814 F.3d 1213, 1226 (I Ith Cir.
      2016) (quoting Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 313 (3d Cir.1999)).

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f    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 24 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 59 of 212

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l                          Nobody can apply for accommodation. Not the student's mother, the
                           student's father, not the student's psychiatrist, the student's


l                          counselor. Nobody can apply for accommodations. Only the
                           student, and it has to be done in writing .... Nobody else, mother,
                           faculty, the dean, the president of the USA.
l
1                                 The dean cannot ask for the accommodation on the student's
l                          behalf.... It doesn't matter. Nobody. Nobody can ask for the
                           accommodation. Only the student.
           Sharma Dep. 43:12-16, 43:21-24 (emphasis added), 44:4-9. See also Sharma Dep. 44:24-45:9.

                    RUSM's formalisms are at odds with the text of the ADA and RA regulations, stating:

                           An individual or entity shall not, directly or through contractual or
                           other arrangements, utilize standards or criteria or methods of
                           administration- (i) that have the effect of discriminating on the
                           basis of disability; or (ii) that perpetuate the discrimination of others
                           who are subject to common administrative control.
           42 U.S.C. § 12182(b)(D); accord 34 C.F.R. §§ 104.4(b)(l)(v), (b)(4).

                    B.     RUSM had Knowledge that the ADA-Statement is False; and/or Made the

I                          Representation Without Knowledge as to its Truth or Falsity, or RUSM Ought
                           to have Known of its Falsity.


lj                  Mr. Stewart-Fulton is one of the accommodation coordinators at RUSM. Answer        ~


           Taking his deposition, Plaintiff asked Mr. Stewart-Fulton if "faculty at RUSM" was required "to
                                                                                                           17.



           comply" with Title III of the ADA and the RA. Fulton Dep. 31: 14-21. Mr. Stewart-Fulton


I          answered, "[i]n reference to when you were enrolled and the campus was located on Dominica,

           we were not required to comply with the ADA." Id. 32: 1-4. He further answered that they simply

           "abided by the spirit" of the ADA and the RA. Id. 32:5-7. Mr. Stewart-Fulton further admitted that

           there was no policy ''to comply" and therefore was not required to comply with the ADA and RA

           in Dominica. Id. 32: 12-19. These admissions are consistent with Dr. Hayse's testimony. See supra

           p. 16.




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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 25 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 60 of 212



                 C.      RUSM Intended for Prospective Students in the U.S. to Rely on the ADA-
                         Statement.
                 RUSM distinctly wanted prospective students to leave the U.S. to attend its school in

          Dominica. RUSM "focus their marketing efforts on attracting highly qualified, primarily U.S. and

          Canadian applicants[.]" Ex. SJ-20, at 19 (Form I 0-K SEC filing for the 2012 fiscal year): "RUSM

          admits that it published information for prospective students on its website, including in the

          Admissions Requirements section." Answer~ 106 (emphasis added). The ADA-Statement was in

          the Admissions Requirements section. See supra p. 15.

l                D.      RUSM Omitted a Material Fact that it had a Duty to Disclose to Prospective
                         Students.
                 "Florida law recognizes that fraud can occur by omission, and places a duty on one who

          undertakes to disclose material information to disclose that information fully." ZC Insurance Co.

          v. Brooks, 847 So. 2d 547, 551 (Fla. Dist. Ct. App. 2003).

                 RUSM materially omitted that it believed or took the position that no part of the ADA was

          applicable to the prospective students once they became students in Dominica and/or therefore did

          not have any policy directing its faculty to comply with the ADA in Dominica. RUSM made

          deliberate efforts to attract prospective students to leave the U.S. to attend its medical school in

          Dominica. It advertised to these prospective students that it was the "policy" of the school "to

          comply" with the Americans with Disabilities Act as applicable in Dominica. But, as evidenced

          by Dr. Hayse's and Mr. Stewart-fulton's testimony, RUSM in fact did not have a compliance

          policy nor did they feel obligated to comply with the ADA in Dominica. Supra. RUSM had a duty

          to advise prospective students that its faculty was not "beholden to" the ADA, supra p. 16, and

          that they only "abided by the spirit" of the ADA, supra p. 18.

                 E.      Plaintiff was Consequently Injured Acting in Reliance on the ADA-Statement
                         and/or Injury Resulted to Plaintiff Acting in Justifiable Reliance on the ADA-
                         Statement.

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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 26 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 61 of 212



                             i.   Plaintiff's Reliance and Consequent Injury.
                    Plaintiff had "serious concerns about attending a medical school . . . located in a less

           developed nation than the U.S." Awodiya Deel. il 9. "The ADA-Statement about RUSM's ADA

           compliance was one of the most important factors in [Plaintiff's] decision to leave the U.S. to

           become a student at RUSM in Dominica." Awodiya Deel.                     il   14-15; Id.   il   10-12. Consequently,
1          Plaintiff was denied the benefits and equal enjoyment of RUSM's medical program that was
1
           advertised by the ADA-Statement because RUSM refused to require its faculty to comply with the

           ADA in Dominica and therefore allowed compliance to be optional and for its faculty to be

           deliberately indifferent to Plaintiff's disability and needs.

                             ii. Justifiable Reliance. 3
                    Plaintiff was justified in relying on RUSM's ADA-Statement because he was a layperson

           with minimal knowledge of law and had no reason to suspect that the information was being

           misrepresented. In fact, Plaintiff "thought the ADA-Statement was only applicable to U.S.

           students, as opposed to non-U.S. students, because of the word 'Americans' in 'Americans with

           Disabilities Act."' Awodiya Deel.           il   16. "[Plaintiff] didn't know that the ADA had different

           divisions or parts and that geographical applicability could differ among any parts of the ADA."

           Id. il 18.

                                                             CONCLUSION

                    Plaintiff Oluwamuyiwa Awodiya respectfully requests that the Court enter an Order (i)

           granting summary judgment in favor of the Plaintiff, in whole or in part on each claim herein; (ii)

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           stating any material fact that is not genuinely in dispute and treating the fact as established in this

           case; and/or (iii) granting Plaintiff such other and further relief as the Court deems just and proper.
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                     "Justifiable reliance is not a necessary element of fraudulent misrepresentation." Butler v. Yusem, 44 So. 3d


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           102, 105 (Fla. 2010).

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I    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 27 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 62 of 212


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           DATED this 7th day of December, 2018:




                                                                    By: Oluwamu iwa Awodiya, pro se htigant
                                                                                            15005 Dahlia Dr.


l
                                                                                          Bowie, MD 20721
                                                                                              (240) 602-1836
                                                                                  Plaintiff, in Proper Person
j
                                          CERTIFICATE OF SERVICE

                   I do hereby certify that on this 7th day of December, 2018, I have caused a true and

           correct copy of (i) PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY

           JUDGMENT, (ii) DECLARATION OF OLUWAMUYIW A A WODIYA IN SUPPORT OF

            PLAINTIFF'S SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT, and (iii)

            PLAINTIFF'S STATEMENT OF MATERIAL FACTS IN SUPPORT OF PLAINTIFF'S

            SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT by mailing a copy to the Court,

            where the Court's CM/ECF system will send notification to the following:

                             Ryan Roman                          Octavia Monique Green
                             Akerman Senterfitt                  Akerman LLP
                             Suntrust International Center       Three Brickell City Centre
                             1 SE 3rd Avenue                     98 Southeast Seventh Street
                             25th Floor                          Suite 1100
                             Miami, FL 33131-1714                Miami, FL 33131
                             305-374-5600                        (305) 982-5670
                             Fax: 305-374-5095                   Email:
                             Email:                              octavia.green@akerman.com
                             ryan.roman@akerman.com




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 29 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 64 of 212




                                    Exhibit SJ-01
                (Dr. Earl John Mauricio's January 5, 2016 email to Plaintiff)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 30 of 123
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                                              Kaiser Permanente
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                                             Member name: Oluwamuyiwa 0. Awodiya
                                                     Date of b i r t h • • • •
                                                          Gender: Male
                                      Primary care physician: ENARUNA MAE TYCHUS MD, M.D.
                                                     Date printed: 9/13/2018




    To:
    Oluwamuyiwa 0. Awodiya


    From:
    EARL JOHN D MAURICIO MD, M.D.


    Received:
    1/5/2016 4:23 PM EST




    Note:

    Cannot reply to an expired message
    Dear Mr. Miwa,

    I received your Conners CPT3 computer testing results which states that the scores are "associated with a very
    high likelihood of having a disorder" such as ADHD. You may request a copy of your test results via medical
    records or by contacting the Northwest DC clinic where you had the test done, at 202 419 6950.

    Sincerely,
    Earl Mauricio MD




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 31 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 66 of 212




                                  Exhibit SJ-02
                   (McMillan Cuffy's Counseling Note dated 1-18-2016)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 32 of 123



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   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 67 of 212
      Name:            Oluwamuyiwa O           DOB:                              Student ID: -
                       Awodiya (M)
      Diagnosis:

                                                   RUSM Counseling Center
                                                       P.O. Box 266
                                                     Roseau, DM 11111
                                                          (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                           Note Date: 01/18/2016 11:18 AM
      [5597]
      pt. Phone:                             D O B : - (Age 23)

      Summary of note: Attention Deficit Disorder Without Mention Of Hyperactivity
      Allergies: No Entry
      Current Medications: Ambien 5mg Tablet, Wellbutrin XL 300mg Extended-Release Tablet
      Semester: Semester 5


      Progress:
      Followup


      Session content: The TOVA was administered. The results are not within normal limits and the overall
      pattern of performance suggests an attention problem, including ADHD. The CAARS was also
      administered. The results indicated ADHD predominantly Inattentive presentation.

      Clinical assessment: ADHD predominantly Inattentive presention without hyperactivity




      Assessment:
      !)Attention Deficit Disorder Without Mention Of Hyperactivity- F90.9, 314.00


      Plan:
      Counseling 1 Hour (F90.9)
      Reh!n-a/Orders:Referral To Psychiatry (F90.9)

      Signed by: McMillan Cuffy on Jan/18/2016 11:18 AM

      Locked by: NcNillan CUfl'y on Jan/18/201611:18 AN




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 33 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 68 of 212




                                  Exhibit SJ-03
                         (Dr. Earl John Mauricio's medical notes)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 34 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 69 of 212


   Oluwamuyiwa 0 Awodiya                                                             Description: 23 year old
   12/30/2015 4:30 PM Office Visit                                                   male
   MRN:-                                                                             Provider: EARL JOHN D
                                                                                     MAURICIO MD
                                                           Encounter#: 210281061     Department: Psychiatry
                                                           Center: LARGO             Largo


 Visit Summary
 PCP and Center
   Primary Care Provider                    Phone                           Center
   Enaruna Mae (M.D.) Tychus, M.D.          301-618-5500                    LARGO
  Registration
    Non- EpicCare Patient




    -
  Reason for Visit
    ATTENTION DEFICIT


 Diagnoses




  Progress Notes
                                                                      -
                                                                      Codes                 Comments




  Mauricio, Earl John D (M.D.) at 12/30/2015 4:34 PM
    Status: Signed
    -sensitive Note**

    Initial Psychiatric Evaluation 1213012015
    Length of Session: 40-50 minutes
    Type of Service: Individual

    Identifying Information:
    Oluwamuyiw "Miwa" 0 Awodiya is a 23 yr old Black single male who presented today for
    psychiatric evaluation, as referred by nurse triage/ call center on x 12/30/15 which noted- "requests
    evaluation or treatment for ADHD; disposition of BH - appoint w psychiatry suggested".



                                                   the even more primary reason is that they think that i
    should be on a stimulant, um they did half the test, and i think it was a card test, and it showed that
    i was inattentive and stuff like that, so since i have to come back in April to the states (to take the
    steps/ usmle exams), i thought it would be wise to have you guys handle that instead of them, so
    that there would be no interruption in my treatment"; school counseling said they are going to put
    me on a stimulant; they said i was inattentive;

    History of Present Illness/ Presenting Issues:
                                                                  Awodiya, Oluwamuyiwa 0
                                                                  MRN:···
  Page2
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 35 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 70 of 212

  Progress Notes (continued)
  Mauricio, Earl John D (M.D.) at 12/30/2015 4:34 PM (continued)




                                                         He adds, "and for the inattentiveness, i guess
    the therapist caught when i was going through the questions ... they have always been there, . .
                          , i just never thought it was a problem, um, so the inattentiveness i think goes
    back to high school".

                                                                                  ; the inattentiveness,
    since i was younger i somehow reasoned within my head, soi kinda ignored it so much that i don't
    notice it".
                                                                 He expressed general ambivalence/
    hesitation regarding psychotropic meds, saying that he does not want to take wellbutrin (although
    he reports that he continues to take it), and that he had stopped taking his pm xanax and pm
    ativan since he arrived from the Caribbean for his christmas break from med school on x 121815.
    He is returning back to med school on x 1/8/16. He wonders if he can manage h i s - and
    inattentive/cognitive via counseling/ psychotherapy which he plans to pursue while he is in the
    carribean/ dominica.


    The patient reports the following concerns related to attention/concentration:          ~
    frequently fails to give close attention to details or makes careless mistakes at work or in school
    constantly has difficulty sustaining attention to tasks at work or in school
    intermittently doesn't seem to listen when spoken to directly
    frequently does not follow through on instructions or fails to finish work or duties
    constantly has difficulty with tasks requiring persistence or organization (schoolwork or job duties)
    constantly Has problems with procrastination/avoidance of tasks.
    constantly distracted by noise or activity.
  constantly is forgetful in daily activities, e.g., difficulty remembering appointments or obligations,

  intermittently finds it hard to follow conversations, even when being spoken to directly;
  Finds it somewhat difficult waiting for turn appropriate or not interrupting others. constantly notes
  problems with psychomotor/internal sense of restlessness.

  Childhood academic performance was Poor.
  does report history of behavioral problems as a child-


  does not have a history of special education programming as a child.
  Current job/school performance is Poor- i have to repeat the semester.

  Adult ADHD Self-Report Scale Symptom Checklist:




                                                                   MRN···
                                                                   Awodiya, Oluwamuyiwa 0


  Page3
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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 36 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 71 of 212

      Progress Notes (continued)
      Mauricio, Earl John D (M.D.) at 12/30/2015 4:34 PM (continued)
      1) Patient has trouble wrapping up the final details of a project once the challenging parts have been
      done: Somewhat
      2) Patient has difficulty getting things in order when having to do a task that requires organization:
      Quite a bit
      3) When there is a task that requires a lot of thought, Patient avoids or delays getting started: Very
      much
      4) Patient has problems remembering appointments or obligations:
      Very much- if i don't put in my phone i'd forget it
      5) Patient fidgets or squirms with hands or feet when required to sit for long periods of time: Quite a
      bit
      6) Patient feels overly active and compelled to do things, as if driven by a motor: Not at all
      Part A: 4/6

      7) Patient makes careless mistakes when having to work on a boring or difficult project: Very much
      8) Patient has difficulty keeping attention when doing boring or repetitive work: Very much
      9) Patient has difficulty concentrating on what people say even when being directly spoken to: Quite
      a bit
      10) Patient misplaces or has difficulty finding things at home or work: Quite a bit
      11) Patient isdistracted by activity or noise: Very much
      12) Patient leaves their seat in meetings or other situations in which people are expected to remain
      seated: Not at all
      13) Patient feels restless or fidgety: Quite a bit
      14) Patient has difficulty unwinding and relaxing when they have alone time: A little bit
      15) Patient finds him/herself talking too much in social situations: A little bit
      16) Patient finds him/herself finishing the sentences of other people: Not at all
      17) Patient has difficulty waiting his/ her turn in situations when taking turns is required: Not at all
      18) Patient interrupts others when they are busy: Not at all
      Part B: 6/12

      (-)mania, hypomania, psychosis, panic attacks, anxiety, obsessions, compulsions,

      Little interest or pleasure in    2 - MORE THAN HALF THE
      doing things?                     DAYS
      Feeling down, depressed, or       3 - NEARLY EVERY DAY
      hopeless?
      Trouble falling or staying        3 - NEARLY EVERY DAY
      asleep, or sleeping too much?
      Feeling tired or having little    3 - NEARLY EVERY DAY
      energy?
      Poor appetite or overeating?      1 - SEVERAL DAYS
      Feeling bad about yourself? or    3 - NEARLY EVERY DAY
      that you are a failure or have
      let yourself or your family
      down?
      Trouble concentrating on          3 - NEARLY EVERY DAY
                                                                       Awodiya, Oluwamuyiwa 0
                                                                       MRN

      Page4
1   Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 37 of 123
       USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 72 of 212


       £1.!.        KAISER
       ~"'~ PERMANENTE'!
       Oluwamuyiwa 0 Awodiya                                                            Description: 23 year old
       6/17/20161:50 PM Office Visit                                                    male
       MRN:-                                                                            Provider: EARL JOHN D
                                                                                        MAURICIO MD
                                                               Encounter#: 217821994    Department: Psychiatry
                                                               Center: LARGO            Largo


      Visit Summary
      PCP and Center
        Primary Care Provider                   Phone                          Center
        Enaruna Mae (M.D.) Tychus, M.D.         301-618-5500                   LARGO
      Registration
        Non- EpicCare Patient

      Reason for Visit
        ATTENTION DEFICIT
      Diagnoses
                                                                          Codes                Comments
        ADHD      - Primary                                               F90.9


      Progress Notes
      Mauricio, Earl John D (M.D.) at 6/17/2016 4:04 PM
        Status: Signed
        -sensitive Note-

        Medication Management Visit
        Time: 20 min

        S: Pt seen today for follow-up, symptoms assessment and medication review. Chart and history
        reviewed. Pt reports maintaining medication compliance, tolerability and overall continued
        dissatisfaction with his ritalin medication, which he noted in written detail as follows ("i'm pretty sure
        it's the ritalin"- Pros- legs stops shaking, excessively, no muscle cramps, helps resist biting lip/skin,
        makes me want to leave the house (may be the bupropion), don't interrupt people when they are
        talking; Cons- immediately put to sleep/ drowsy/ tired, have not been on time for anything in the
        last couple of months, continuous missing events, study maybe 3 hours a day or less, don't feel a
        "focus" effect/ don't feel anything, stupid things distract me from main subject). He reports that he
        continues to be "always late", forgetting all his appointments, and that the higher dosage of ritalin
        causes increased paradoxical sedation, as he had previously described in prior visits ("i went down
        to 5mg of ritalin, but the higher dosage made me more sleepy"). He was given advice and
        psychoeducation regarding emplying behavioral management techniques/ cbt, to include attending
        the adhd support group, along with discussing other psychotropic medication options such as
        adderall, for which he is agreeable/ wanting to try. Otherwise he has no further complaints, noting
        that he is continuing to struggle with studying for his medical licensure exams coming up in about x
                                                                     Awodiya, Oluwamuyiwa 0
                                                                     MRN:-

      Page 18
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     Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 38 of 123
        USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 73 of 212

       Progress Notes (continued)
       Mauricio, Earl John D (M.D.) at 6/17/2016 4:04 PM (continued)
         a couple of weeks.

      Little interest or pleasure in     0- NOT AT ALL
      doing things?
      Feeling down, depressed, or        2 - MORE THAN HALF THE
      hopeless?                          DAYS
      Trouble falling or staying         3 - NEARLY EVERY DAY
      asleep, or sleeping too much?
      Feeling tired or having little     3 - NEARLY EVERY DAY
      energy?
      Poor appetite or overeating?       0 - NOT AT ALL
      Feeling bad about yourself? or     3 - NEARLY EVERY DAY
      that you are a failure or have
      let yourself or your family
      down?
      Trouble concentrating on           3 - NEARLY EVERY DAY
      things, such as reading the
      newspaper or watching
      television?
      Moving/speaking slowly so          0- NOT AT ALL
      others could notice or being
      fidgety/restless/moving more
      than usual?
      Thoughts that you would be         0 - NOT AT ALL
      better off dead, or of hurting
      yourself in some way?
      PHQ 9 Total Score                  14
      Depression severity                C) 10 -14 MODERATE
      How hard have these                VERY DIFFICULT
      problems made it for you to
      work, tend to things at home,
      or get along with others?

       Past psych medications:(+) ritalin,

      Current Meds:ritalin 15mg qd; wellbutrin sr 300mg qd; xanax about 0.25mg pm (not taking); ativan
      01mg qhs pm (not taking);
      Other m e d s - . Methylphenidate,                  , and buPROPion

       Patient Active Problem List
       Diagnosis
        • ADHD




                                                                       MRN:···
                                                                       Awodiya, Oluwamuyiwa 0


       Page 19
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 39 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 74 of 212




                                  Exhibit SJ-04
                          (Denise H. Unterman's medical notes)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 40 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 75 of 212



   ~KAISER
      =-- PERMANENTE,,
   flli:


   Oluwamuyiwa 0 Awodiya                                                               Description: 24 year old
   4118/2017 3:45 PM Office Visit                                                      male
   MRN:-                                                                               Provider: DENISE
                                                                                       HAGLEY UNTERMAN
                                                                                       LCSW
                                                          Encounter#: 235065077        Department: Psychothe-
                                                          Center: LARGO                Adlt Largo


 Visit Summary
 PCP and Center
   Primary Care Provider                   Phone                              Center
   Enaruna Mae (M.D.} Tychus, M.D.         301-618-5500                       LARGO
 Registration
   Non- EpicCare Patient

 Reason for Visit
   ANXIETY
 Diagnoses
                                                                     Codes                    Comments
       TRICHOTILLOMANIA - Primary                                     F63.3
       OBSESSIVE COMPULSIVE DISORDER                                 F42.9



  Progress Notes
  Unterman, Denise H (L.C.S.W.), L.C.S.W. at 4/18/2017 3:45 PM
    Status: Signed
     **Sensitive Note**

  Psychotherapy New Evaluation - Confidential

  Pt asked to be called Mee-wah. He said good-naturedly, "I give everyone 10 free passes to get my
  name right!'

  S: Chief Complaint: Pt has been pulling his eyelashes out and struggles to complete exams due to
  compulsive checking behavior.
     Symptoms Checklist for Major Depressive Episode

  This Smartlink has not been configured with any valid records.

  This Smartlink has not been configured with any valid records.

  Mental Status Exam:
  appearance: attire/dress is appropriate , eye contact is good, hygiene is good
  behavior: normal, collaborative, engaged
                                                                 Awodiya, Oluwamuyiwa 0
                                                                 MRN-

  Page 34
I        Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 41 of 123
            USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 76 of 212


j           Progress Notes (continued}
            Unterman, Denise H (l.C.S.W.), L.C.S.W. at 4/18/2017 3:45 PM (continued)
:l

j           mood: normal, stable, w/ full affective range
            speech: normal in RTV
            thought content: denies suicidal ideation, plan, or intent, denies homicidal

I1          ideation, plan, or intent
            thought process: coherent, logical, relevant
            delusions: negative

Ii
·~
            hallucinations: negative
            insight: good
            judgment: good
l
~


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     ~         HPI: Pt reports onset of anxious feelings in HS w/ worsening in college around exams when he
     --;;r started pulling out his eyelashes and chin hairs. Initially he used his fingers but now uses tweezers
             for greater precision. Currently in 2nd year of medical school at Ross University where's he's doing
             well but struggling w/ completing exams due to compulsively checking that he has completed

I            previous answers. Also, when he's confident that he knows an answer, he nonetheless selects one
             that "sounds more complicated" because he "can't believe the easy one is right". Board exams are
     ~coming up in a few months and he's very worried about undermining his score by not completing the


I
I
     --:;7"'"exam in the time allowed .. He pulls his eyelashes to the point where he no longer has any. He's
             researched his Sxs and is his today to "find out if something's wrong w/ me and what can be done." I
             shared his dx, explained trichotillomania and the difference between compulsive traits and compulsive
             personality disorder. We explored self-esteem issues, whether he considers himself intelligent, and


ll           wondered together why he might not trust himself to know exams answers. He expressed relief at
             talking about his, admitting that he's always viewed himself as "stupid" because his mother frequently
             told him that he was growing up. His thought process is along the lines of, "If I think I know the
             answer, it couldn't possibly be right." I described CBT and shared some strategies that he can try
             between now and his next visit, which he wants to hold off on till after his exam as he's consumed w/
             studying. Also, he didn't want to go to another site w/ earlier availability.
       ~ Psychiatric History: Anxiety dating to at least HS
                 Family Psychiatric History; Not obtained
                 Social History: Pt is one of 2 children of Nigerian descent. Raised by his mother. Sister is also in
             medical school. He'll be residing w/ his mother for the next 2 years while doing clinical rotations in
             Maryland.
                 Substance Abuse History: Denied
                 Tobacco Use:
             History
             Smoking Status
               • Never Smoker
             Smokeless Tobacco
               • Not on file

               Medical History (incl. Meds.):Patient Active Problem List:
             ADHD
                                                                            Awodiya, Oluwamuyiwa 0
                                                                            MRN:

            Page 35
   Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 42 of 123
      USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 77 of 212

      Progress Notes {continued)
      Unterman, Denise H (L.C.S.W.), L.C.S.W. at 4/18/2017 3:45 PM (continued)




      Current Outpatient Prescriptions:
      • DEXTROAMPHETAMINE-AMPHETAMINE 15 mg Oral Tab, Take 1 tablet by mouth 2 times a day,
      Disp: 60, Rfl: 0
      • buPROPion 300 mg Oral 24hr SR Tab, Take 1 tablet by mouth daily, Disp: 90, Rfl: 1




      0: General Appearance/Interview Behavior: Slender, friendly, good sense of humor, very bright,
      candid, intellectually curious
         Suicidal/HomicidalNiolent Ideation: Denied

      A: DSM IV Axis I: Trichotillomania
               Axis II: Compulsive Behaviors
               Axis Ill: See medical Hx
               Axis IV: compulsive Sxs
               Axis V (current/best in last year): 80

      Is patient being considered for referral to Case Management Services?: no
      (If yes, use current case management referral protocol).
      Dual diagnosis?: no

  P: We discussed the diagnosis, the reasonable options and following treatment plan.
~ Goal I: Anxiety Reduce the overall lever, frequency and intensity of the anxiety so that daily
  functioning is not impaired.

      Anticipated achievement date: TBD

      Additional Recommendation/Interventions: CBT to begin in June. Continue MM for ADHD.
      Follow-up Appointment: 6/2/17 w/ Denise Unterman, LCSW-C


        Electronically signed by Unterman, Denise H (L.C.S.W.), L.C.S.W.,4/20/2017 1:20 PM




      Medications
      Infusion Orders

                                                                        Awodiya, Oluwamuyiwa 0
                                                                        MRN:

      Page 36
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 43 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 78 of 212




                                  Exhibit SJ-05
                  (Davendra Shanna's Counseling Note dated 3-11-2016)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 44 of 123



                                                              -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 79 of 212
      Name:            Oluwamuyiwa O         DOB:                               student ID: -
                       Awodiya (M)
      Diagnosis:

                                                 RUSM Counseling Center
                                                     P.O. Box 266
                                                   Roseau, DM 11111
                                                       (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                         Note Date: 03/11/2016 09:05 AM
      [5597]
      pt_ Phone:                             D O B : - (Age 23)

      Summary of note: Anxiety State, Unspecified, Relationship Distress With Spouse or Intimate Partner
      Allergies: No Entry
      Current Medications: Ritalin 10mg Tablet, Ambien 5mg Tablet, Wellbutrin XL 300mg Extended-Release
      Tablet, Diclofenac Sodium 75mg Delayed-Release Tablet, Losartan Potassium 25mg Tablet
      Semester: Semester 5


      Progress:

 >    Despit running out of time passed his exams

      Stopped his relationship with his facebook friend

      Still talking to the All Saints girl

      She visits his apratment

      Seems to like him.Feels it has no future.

      Mother is fine and is supportive

      MSE

      Mood is fine



       - Entered by Davendra Sharma on Mar-11-2016 09:05 AM


      Assessment:
      !)Anxiety State, Unspecified - F41.9, 300.00
      2)Relationship Distress With Spouse or Intimate Partner - V61.10

      Stable
       - Entered by Davendra Sharma on Mar-11-2016 09:05 AM


      Plan:
      RX: Ritalin 10mg Tablet (F41.9) Take 1 Tablet As Directed Qty 90. No Refills.
      Ritalin 5mg Tablet (F41.9) Take 1 Tablet As Directed Qty 90. No Refills.

      He has welbutrin 300 mg

      For ritalin 15 mg tid
       - Entered by Davendra Sharma on Mar-11-2016 09:05 AM

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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 45 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 80 of 212




                                  Exhibit SJ-06
                   (McMillan Cuffy's Counseling Note dated 3-11-2016)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 46 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 81 of 212
      Name:            Oluwamuyiwa O          DOB:            -                  Student ID: -
                       Awodiya (M)
      Diagnosis:

                                                  RUSM Counseling Center
                                                      P.O. Box 266
                                                    Roseau, DM 11111
                                                          (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                           Note Date: 03/11/2016 02:27 PM
      [5597]
      Pt. Phone:                             D O B : - (Age 23)

      Summary of note: Academic or Educational Problem, Other Problem Related to Psychosocial
      Circumstances
      Allergies: No Entry
      Current Medications: Ritalin 5mg Tablet, Ritalin lOmg Tablet, Ambien 5mg Tablet, Wellbutrin XL
      300mg Extended-Release Tablet
      Semester: Semester 5


      Progress:
      Followup


      Session content: Client reported that although he passed, he did not do as well on mini 2. He said that

 >    towards the end of the exam he lost his momentum and just circle questions without really thinking of the
      answers. He further reported that he blocked off his Ex on FB but was hoping that she would reach out
      and inquire why he took her off his list of friends her but she did not. He further admitted that he has had
      the urge to go back and befriend her but did not because it would be too awkward and was not prepared
      to have this conversation why he blocked her off his fb. He admitted during the session that having
      female friends as part of his social network/support system is very important to him and makes him
      functional and the opposite is true for him; that when he does not have female friends he does not perform
      at his best. He requested two more sessions before the semester ends.

      Clinical assessment: Academic difficulty




      Assessment:
      !)Academic or Educational Problem - V62.3
      2)0ther Problem Related to Psychosocial Circumstances - V62.89


      Plan:
      Counseling 1 Hour (V62.3)

      Signed by: McMillan Cuffy on Mar/11/2016 02:27 PM

      Locked by: llt:Nillan Cull'y on Nar/11/2016 02:27 Pll




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 47 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 82 of 212




                                  Exhibit SJ-07
                       (Release of Information Consent Agreement)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 48 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 83 of 212
                       ROSS
     •                 UNI\Tf:Jt~flY
     Department of Behavioral Sciences - Counseling Center

     Consent to Release Confidential Information
                                                                                                                              ·---'"-'-·----i
     ~--M•-------·                                                                           -----                                                ------l
     I D Introduction:
     j         By signing this form, you are authonzing the Ross University School of Medicine's (RUSM)
     !        Counseling Center to release otherwise confidential psychological information to one or more
                     people whom you designate. Please read urefully. If vou have any questions about signmg this

     h
     l


     I   D
                     document and/or would like a copy of this form, please ask and we will provide you this
                     information.   ~~e~se und~rst~nd that you may en~ t_~i~_Agreement at an~~'_rl}e.
              I authorize the RUSM Counseling Center to: (Check all that pertain)
      ! A            ~    Discuss otherwise confidential information pertammg to my treatment
    /""" '           0    Transmit a copy of my otherwise confldentlal health record
     ·               0    Transmit a lett~ or treatment summary containing my otherwise confidential information




                     Street Addres.s:
                     City, State and Zip Code:
     ·--0--This information is.released fOr the followina purpose(s):
                     {jg To facilitate treatment planning
     ! )             ~    To provide information relevant to academic accommodations and/or medic.al leave of absence

     L                    Other:   ·--                                                                      --..·------·------·-,-····
       D If you have authorized us to discuss confidential information, specify the period during whieh we may
     I
     1
         communicate with the PfM'SQn(st listed above, by checking the appropriate box below:
     1~~
--"i--~~     IL!:!I I authorize ongoing communication unless I revoke this consent.
-            LJ I authonze commumcat1on only until                 --·---·---------{specify date}.
     >-·-·                                               -          -               -------------------·--
                                                                                           -----··

     :o Other restrictions or limitations on information to be released:
                                                            ~--···--~-----·-·-




     l
     10
     J
                     Specify:
                    .Bl No other hmltations.
              Statement of Acknowledgement:
                     I understand that l do not have to agree to release confidential information, and that I may
                     withdraw this consent at any time except insofar as action has already been taken in reliance
                     thereupon. A facsimile of this form will be regarded as valid as the original.
                                                                                                                                 ··-- ··-   .--------------~----<




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                                                       1   Che . Print             Name              · Date                                                     i

                                             -==~                                      ;J      ~·~··· 1i/<iJl5--~--1
     IS                                  .. ________   . Counselor Printed Name                      [ ~~t~-------                                              ;
     l-·-----""'·----4-----




                                                                                 Page l of 1                         Rev1.54Pd: 28 September 2010


                                                                                                                       RUSM 000168
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 49 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 84 of 212




                                   Exhibit SJ-08
               (Defendant's Responses to Plaintiff's Requests for Admission)
             Hereinafter, each Request No. are individually an "Admission No."
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 50 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 85 of 212



                                    UNITED ST ATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO: 0:18-CV-60482-KMM

      OLUWAMUYIWA A WODIY A,

                       Plaintiff,

                v.

      ROSS UNIVERSITY SCHOOL OF
      MEDICINE,

                       Defendant.


             RESPONSE TO PLAINTIFF'S FIRST SET OF REQUESTS FOR ADMISSION

                Defendant ROSS UNIVERSITY SCHOOL OF MEDIClNE, by and through its attorneys

      Seyfarth Shaw LLP, hereby submits its Response To Plaintiff's First Set of Requests for

      Admission.

      REQUEST FOR ADMISSION NO. 1:

             Admit that the formal legal name of the organization that operates RUSM is Ross
      University School of Medicine, School of Veterinary Medicine (St. Kitts) Limited.

      RESPONSE TO NO. 1:

                Denied. The entity that operates Ross University School of Medicine (RUSM) is Ross

      University School of Medicine, School of Veterinary Medicine Limited, a Dominican entity

      different from Ross University School of Medicine, School of Veterinary Medicine (St. Kitts)

      Limited, which is a Kittitian entity that operates Ross University School of Veterinary Medicine.

      REQUEST FOR ADMISSION NO. 2:

              Admit that RUSM receives United States federal financial assistance through federal
      student aid.




      46502448v. I
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 51 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 86 of 212



      RESPONSE TO NO. 15:

                Defendant objects to this request because it appears to assume facts not in evidence,

      including that Plaintiff was disabled, required accommodations to his disability(ies) during tests,

      and requested such accommodations from RUSM. Subject to and without waiving that objection,

      Defendant notes that it permitted Plaintiff to take the NBME CBSE a fifth time and denies

      Request No. 15.

      Rt:QUEST FOR ADMISSION NO. 16:

                Admit that RUSM did not provide Plaintiff with extended testing time for the NBME
      CBSE.

      RESPONSE TO NO. 16:

                Admitted.

      REQUEST FOR ADMISSION NO. 17:

             Admit that extended testing time was an available accommodation for the NBME CBSE
      exam. (Sec attached Exhibit l 0 at page 2).

      RESPONSE TO NO. 17:

                Defendant admits that extended testing time for the NBME CBSE is an accommodation

      sometimes provided to disabled students taking the exam and that Page 2 of Exhibit l 0

      references this possible accommodation. To the extent that Request No. 17 requests an admission

      of anything else, it is objectionable because it is ambiguous, and Defendant is therefore unable to

      admit or deny the assertion.

      REQUEST FOR ADMISSION NO. 18:

            Admit that the decision to provide students with test accommodations for the NBME
      CBSE is made by RUSM. (See attached Exhibit 10 at page 2).

      RESPONSE TO NO. 18:

                Defendant admits that RUSM, not the NBME, is the entity that determines whether its

      students require accommodations to a disability when taking the NBME CBSE and that this is

                                                         6
      46502448v. l
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 52 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 87 of 212



      REQUEST FOR ADMISSION NO. 25:

             Admit that Ross University School of Medicine and Ross University School of
      Veterinary Medicine are registered as the same corporation.

      RESPONSE TO NO. 25:

                Denied.

      REQUEST FOR ADMISSION NO. 26:

             Admit that RUSM asserts that "Title III of the Americans with Disabilities Act of 1990
      ("ADA") does not extend to conduct occurring outside the United States, and it follows that it
      does not extend to the Defendant's activities in Dominica." (See Dkt. No. 30).

      RESPONSE TO NO. 26:

                Admitted.

      REQUEST FOR ADMISSION NO. 27:

              Admit that Ross University School of Medicine, School of Veterinary Medicine (St.
      Kitts) Limited with Adtalem Global Health, Inc., asserted that Title III of the ADA is applicable
      only in the United States and its territories. (See Galligan v. Adtalem Global Education, Inc. ct
      al). (See also Archut v. Ross Univ. Sch. of Veterinary Med., CIVIL ACTION NO. 10-1681
      (MLC) (D.N.J. Nov. 19, 2012)).

      RESPONSE TO NO. 27:

                Admitted.

      REQUEST FOR ADMISSION NO. 28:

             Admit that RUSM made the following statement on the admission requirements page of
      the RUSM website "It is the policy and practice of the University to comply with the Americans
      with Disabilities Act as applicable and practical in Dominica."

      RESPONSE TO NO. 28:

                Admitted.

      REQUEST •'OR ADMISSION NO. 29:

            Admit that it is false that RUSM will comply with the Americans with Disabilities Act in
      Dominica.




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      46502448v. I
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 53 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 88 of 212



      RESPONSE TO NO. 29:

                Defendant objects to this Request because it is ambiguous (in that there are multiple

      provisions in the ADA, some of which apply outside the United States under some circumstances

      and some of which do not) and also apparently premised on the legal fallacy that Title III of the

      ADA applies in Dominica. Subject to that objection, Defendant admits that RUSM is not

      required to comply with Title III of the ADA in Dominica but also denies that it is "false" that its

      conduct in Dominica would comply with the ADA if the statute were to apply there.

      REQUEST FOR ADMISSION NO. 30:

            Admit that it is false that the Americans with Disabilities Act is applicable to RUSM in
      Dominica.

      RESPONSE TO NO. 30:

                Defendant objects to this Request because it is ambiguous (in that there are multiple

      provisions in the ADA, some of which apply outside the United States under some circumstances

      and some of which do not). Subject to this objection, Defendant admits that Title III of the ADA

      does not apply to RUSM in Dominica.

      REQUEST FOR ADMISSION NO. 31:

             Admit that RUSM made a false statement regarding a material fact posted on the
      admission requirements page of the RUSM website.

      RESPONSE TO NO. 31:

                Denied.

      REQUEST .FOR ADMISSION NO. 32:

            Admit that RUSM had knowledge that the representation of the applicability and
      compliance with the Americans with Disabilities Act in Dominica was false.

      RESPONSE TO NO. 32:

                Denied.



                                                        10
      46502448v. I
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 54 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 89 of 212



      DATED: June 8, 2018                     Respectfully submitted,

                                              ROSS UNIVERSITY SCHOOL OF
                                              MEDICINE



                                              By:.eh.
                                                  Christina Forte Meddin
                                                  cmeddin@seyfarth.com
                                                  Brian Stolzenbach
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      SEYFARTH SHAW LLP
      I 075 Peachtree Street, N.E.
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      Atlanta, GA 30309-3958
      Telephone:     (404) 885-1500
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      Attorneys for Defendant




                                         16
     46S02448v. I
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 55 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 90 of 212



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO: o:is-CV-60482-KMM:

      OLUWAMUYIWA AWODIYA,

                    Plaintiff,

              v.
      ROSS UNIVERSITY SCHOOL OF
      MEDICINE,

                    Defendant.


                         DEFENDANT'S RESPONSE TO PLAINTIFF'S
                        SECOND SET OF REQUESTS FOR ADMISSION

              Defendant, ROSS UNIVERSITY SCHOOL OF MEDICINE, by and through

      its attorneys, Seyfarth Shaw LLP, and in response to Plaintiffs Second Set of

      Requests for Admission, states as follows:

                                       Preliminary Objection

              Defendant objects to Plaintiffs Instructions 1·4, 14, and 18 to the extent they

      seek to impose more or different requirements than the applicable Federal Rule(s)

      of Civil Procedure and Local Rule(s) of the Court. Defendant will answer in

      accordance with those rules and not Plaintiffs Instructions.

              Defendant objects to Plaintiffs Definitions 10 and 15 because they create

      ambiguity and may seek to impose requirements on Defendant that are inconsistent

      with applicable rules. Defendant will interpret the terms "you" and "your" to refer to

      Defendant and the term "its," when referring to Defendant, as Defendant alone.




      46670927v.1
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 56 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 91 of 212



      Defendant will interpret the terms identified in Instruction 15 in accordance with

      standard English usage.

      REQUEST NO. 48:

              Admit that McMillan Cuffy is a counselor at RUSM.

      RESPONSE:

              Defendant admits that Mr. Cuffy is counselor who provides counseling

      services to RUSM students through the RUSM Counseling Center. To the extent

      the Request seeks the admission of anything more or different, Defendant denies

      the Request.

      REQUEST NO. 49:

              Admit that Dr. Davendranand Sharma is a psychiatrist at RUSM.

      RESPONSE:

              Denied.

      REQUEST NO. 50:

              Admit that Dr. Davendra Sharma is a professor at RUSM.

      RESPONSE:

              Admitted.

      REQUEST NO. 51:

            Admit that Dr. Davendra Sharma had knowledge of Plaintiffs ADHD. (See
      attached Exhibit 8.)

      RESPONSE:

              Admitted.

      REQUEST NO. 52:

            Admit that Plaintiffs Conners CPT3 Assessment Report was furnished by
      Plaintiff to the RUSM Counseling Center in January 2016.

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      46670927v.l
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 57 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 92 of 212



      RESPONSE:

               Admitted.

      REQUEST NO. 58:

           Admit that extended testing time for the NBME CBSE is a reasonable
      accommodation for some disabled students that need extended testing time.

      RESPONSE:

               Admitted.

      REQUEST NO. 59:

             Admit that RUSM intended for prospective students to rely on the following
      statement posted on the Admissions Requirements page of the RUSM website: "It is
      the policy and practice of the University to comply with the Americans with
      Disabilities Act as applicable and practical in Dominica. No qualified individual
      with a disability will be denied access to or participation in services, programs, or
      activities of Ross University School of Medicine."

      RESPONSE:

               Defendant admits that its current website contains this statement, but

      Defendant is without knowledge or information sufficient to admit or deny that the

      website contained the same statement when Plaintiff applied to RUSM.

      REQUEST NO. 60:

             Admit that in 2015, the first-attempt residency attainment rate for RUSM
      students was 88%. (See Institutional Outcomes at
      https://medical.rossu.edu/student·consumer-information.html).

      RESPONSE:

               Admitted.

      REQUEST NO. 61:

             Admit that 91% of RUSM 2014-2015 graduates attained residency
      placements by July 1, 2016 after single or multiple USMLE exam attempts or
      residency placement attempts. (See Institutional Outcomes at
      https://medical.rossu.edu/student·consumer-information.html)[.]


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      46670927v. l
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 58 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 93 of 212



      DATED: June 13, 2018                          Respectfully submitted,

                                                    ROSS UNIVERSITY SCHOOL OF
                                                    MEDICINE


                                                    By:   Isl Christina Forte Meddin
                                                          Christina Forte Meddin
                                                          cmeddin@seyfarth.com
                                                          Brian Stolzenbach
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      46670927v.1
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 59 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 94 of 212



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


      OLUWAMUYIWA AWODIYA,                              CASE NO. 0: 18-cv-60482-KMM-AOV

               Plaintiff,
      v.

      ROSS UNNERSITY SCHOOL OF
      MEDICINE, SCHOOL OF VETERINARY
      MEDICINE LIMITED,

               Defendant.


                            DEFENDANT'S RESPONSES AND OBJECTIONS TO
                            PLAINTIFF'S THIRD REQUESTS FOR ADMISSION

               Defendant Ross University School of Medicine, School of Veterinary Medicine Limited

      ("RUSM"), by counsel, hereby files its responses and objections to the Third Requests for

      Admissions served by plaintiffOluwamuyiwa Awodiya ("Plaintiff').

                                   RESPONSES AND OBJECTIONS

      Request No. 79

               Admit that Devendra Sharma was a psychiatrist at RUSM.

      Response:

               Admitted.

      Request No. 80

               Admit that William Owens is the Dean and Chancellor of RUSM.

      Response:

               Admitted.

      Request No. 81

               Admit that Bryan Hayse is an Associate Dean at RUSM.



      46726449;4
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 60 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 95 of 212



      Response:

               Admitted.

      Request No. 82

               Admit that Matthew Stewart-Fulton is an Accommodations Coordinator at RUSM.

      Response:

               Admitted.

      Request No. 83

               Admit that Davendra Sharma had knowledge of Plaintiffs "Anxiety State, Unspecified."

      Response:

               RUSM admits that, on March 11, 2016, Dr. Sharma assessed Plaintiff with "Anxiety State,

      Unspecified- F41.9, 300.00."

      Request No. 84

               Admit that William Owen had knowledge of Plaintiffs ADHD.

      Response:

               RUSM admits that, on June 12, 2017, an email was sent from Dr. Denise H. Unterman and

      Dr. Earl John Mauricio to promotionsappeals@rossu.edu, advising Dr. Owen that Dr. Unterman

      and Dr. Mauricio had been treating Plaintiff "for the past several months for ADHD and Obsessive

      Compulsive Disorder."

      Request No. 85

               Admit that William Owen had knowledge of Plaintiffs OCD.

      Response:

               RUSM admits that, on June 12, 2017, an email was sent from Dr. Denise H. Unterman and

      Dr. Earl John Mauricio to promotionsappeals@rossu.edu, advising Dr. Owen that Dr. Unterman



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      46726449;4
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 61 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 96 of 212



       Dated: November 7, 2018            Respectfully submitted,

                                          AKERMANLLP
                                          Three Brickell City Centre
                                          98 Southeast Seventh Street
                                          Suite 1100
                                          Miami, Florida 33131
                                          Telephone: (305) 374-5600
                                          Facsimile: (305) 374-5095

                                          By: s!Rvan Roman
                                          Michael C. Marsh
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                                          8
      46726449;4
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 62 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 97 of 212




                                  Exhibit SJ-09
                           (Dr. Bryan Hayse's faculty profile)
 Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 63 of 123
    USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 98 of 212
ROSS UNIVERSITY                                                                          Alumni        Current Students   Gainful Employment    Student Consumer Info   Q
  SCHWL OF MEDI CJ\ E
                                       ADMISSIONS          MD PROGRAM                  STUDENT LIFE               ABOUT




                                       ~     MD Proqram     Faculty       BryanHayse




                                    BRYAN HAYSE
                                   ASSOCIATE DEAN. MEDICAL SCIENCES




                                   Or C. Brian Hayse has serveo as the Associate Dear.. Medical Sciences Student Affairs at Ross University
                                   School of Med1crne since 20'.5 Areas of overs1glit include academic adv1s,ng,              student-fa~ulty   rnentonng,
                                   student protess1onal1sm and •ntegrrty, academic accommodatrons. counseling arid psychological services.
                                   campus life. new and continuing student orient;itron. housing. and c;impus level f1'lanc1al aid, 1mm1grat1on. a'ld
                                   registrar services. Throughout hrs career Or Hayse has worked rn close partnership with faculty, fellow
                                   administrators. and students to establish several student centered 1n1tiatrves focused on enhancing overall

   CONTACT INFORMATION             academic and personal development by empowering students to achieve l1fe-lorig goats

                                   Dr. Hayse earned his bachelor·s and masters degrees            in   science from Murray State Uri1versity and doctorate rn

   Bryan Hayse I Student           higher education leadership and policy from Vanderbilt University Prror to arriving at RUSM. Or Hayse served

   Affairs                         rn a variety of student affa:.rs and faculty roles at Young Hams Col~ege. GA; Be~rl'ont University, TN, Ce'1tenar1

   Phone:865-338-5719              College of Louisiana; and Murray State University, KY

   bryanhayseicirossu. edu

                                   •       AREAS OF EXPERTISE




                                        Student Affairs, Academic Advising, Student Conduct and Professionalism, Student Orientation and
                                        Transition. Residence Life and Housing,




                                   •       EDUCATION




                                            A             ROSS UNNERSITY
                                            •                     SCH<X)L OF .MEDICINE

                2300 SW 145TH AVENUE, SUITE 200, MIRAMAR, FL 33027 ADMISSIONS: +855-MD-ROSSU EMAIL: ADMISSIONSljlRQSSU.EDU



                                                      f               @
                                                                                             •
                        CONTACT ROSS        REQUEST INFORMATION                        EMPLOYMENT                 PRIVACY POLICY

                                                Academic Catalog I Student Handbook

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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 64 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 99 of 212




                                 Exhibit SJ-10
                 (Davendra Sharma's Counseling Note dated 12-09-2015)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 65 of 123



                                                           -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 100 of 212
      Name:          Oluwamuyiwa 0        DOB:                                student ID: -
                     Awodiya (M)
      Diagnosis:

                                               RUSM Counseling Center
                                                   P.O. Box 266
                                                 Roseau, DM 11111
                                                   (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                      Note Date: 12/09/2015 04:29 PM
      [5597]
      pt. Phone:                        D O B : - (Age 23)

      Summary of note: Academic or Educational Problem, Adjustment Disorders - With mixed anxiety and
      depressed mood
      Allergies: No Entry
      Current Medications: Didofenac Sodium 75mg Delayed-Release Tablet, Losartan Potassium 25mg
      Tablet
      Semester: Semester 1, Semester 5


      Progress:
      Saw Mr. Cuffy after he received a faliling grade for semester 5 and felt hopeless entertaining thoughts of
      ending his life.

      I was called in to see him by Mr Cuffy

~     He admitted to feeling very sad about the failure.

      He did not have a clear intent to self harm but felt the thoughts kept coming back to him about not living.

      Felt he was treated unfairly because he failed by one point

      No past repeats.

      Additional stressors.

      Poor relationship with his mother with whom he lives and feels she is closer to his sister but does not give
      him any emotional support.

      Has abetter relationship with his father, who is separated from patient's mother.

      Sister at Ross but they have a poor relationhsip as she does not understand him

      He had a "relationship break up" this semester because the girl who has passed and is leaving had three
      affairs including one where he saw her going with a male student to his place to sleep over. When he had
      confronted her she said that she was going to go with the other student to spend the night.

      He seems ambivalent about her as he says she does not understand why she does what she did.

--7   He wanted to speak to the Dean about changing his grade.

      He was advised to speak to the chair of promotions and student services.

      At the end of the session yesterday he claimed to not have any intent to harm himself.

                                                                                                           1 of 3
                                    This document has been signed electronically.
                                                                                                RUSM 000125
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 66 of 123



                                                                   -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 101 of 212
           Name:             Oluwamuyiwa 0        DOB:                               Student ID: -
                             Awodiya (M)
           Diagnosis:



           Did not want his mother involved.

           Was feeling sad but not severely depressed

           Was not psychotic.

           Was not suicidal or homicidal.

           Came for follow with the counselor and myself today:

--7        Is trying to see if he can have his grade changed. EMt with student affairs

           Also will write to appeal for promotion.

           Tried to get his mother on the phone and left a message for her to call

           Called Ryan Didier to see if we can gt him out earlier

           MSE

           He feels lonely

           Denies wanting to harm himself but does not like the thoughts of sadness.

           Feels sad about what has happened.

           Claims Mum is supporitve and wants him to appeal. Makes him feel btter but she does not want him to
           repeat.

           no delusions

           No hallucinations

           Mood seems better at the end of our session which Mr Cuffy sat in.

            - Entered by Davendra Sharma on Dec-09-2015 04:29 PM


           Assessment:
           !)Academic or Educational Problem - V62.3
           2)Adjustment Disorders - With mixed anxiety and depressed mood - 309.28


 /
     -:1/ Still adjusting
                    by
            - Entered
                          to the reality of his failure
                        Davendra Sharma on Dec-09-2015 04:29 PM
       1

           Plan:
           to follow up daily

           Spoke to Ryan about getting his Liat flight changed to Saturday to get him home

           Left message for mother to call me on my cell or the counselor.

           Need to talk to her with Miwa to let her know of the plan for him to repeat the semester.

                                                                                                           2 of 3
                                            This document has been signed electronically.
                                                                                                     RUSM 000126
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 67 of 123



                                                             -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 102 of 212
      Name:           Oluwamuyiwa O          DOB:                             student ID: -
                      Awodiya (M)
      Diagnosis:



      lorazepam 0.5 mg nocte and prn.

      Spoke with his mother who is supportive of him coming home earlier.

      Dear Ryan

      Thanks for agreeing to help as much as you can to have Mr. Awodiya get to San Juan on Saturday
      instead of his schedule 19th departure date.

      He does not have the resources to make the flight change and would also need to have the South West
      ticket changed to return to Maryland.

      I greatly appreciate your help as it is hard for him to be here and seeing his colleagues study for the
      Comp. when he knows he may have to repeat and the impact on his emotional health has been pretty
      bad.

      This plan which his mother is aware of, for him to return earlier, would be of great value in his clinical
      care developed for him.

      Regards

      Dr. Sharma
      - Entered by Davendra Sharma on Dec-09-2015 04:29 PM
      Signed by: Davendra Sharma on Dec/09/2015 04:29 PM

      Locked by: Da11endra Sharma on Dec/09/2015 04:29 Pll




                                                                                                            3 of 3
                                       This document has been signed electronically.
                                                                                                 RUSM 000127
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 68 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 103 of 212




                                 Exhibit SJ-11
                  (McMillan Cuffy's Counseling Note dated 12-10-2015)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 69 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 104 of 212
      Name:            Oluwamuyiwa 0          DOB:         6/20/1992           Student ID: -
                       Awodiya (M)
      Diagnosis:

                                                  RUSM Counseling Center
                                                      P.O. Box 266
                                                    Roseau, DM 11111
                                                     (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                         Note Date: 12/10/2015 09:27 AM
      [5597]
      pt. Phone:                             DOB: 06/20/1992 (Age 23)

      Summary of note: At 4:00 p.m, client was seen again with the consulting psychiatrist. He was
      prescribed meds and part of his plan was to get him back home sooner than his scheduled 12/19/15
      flight. Dr. Sharma engaged Mr. Didier to assist with flight arrangements to get
      Allergies: No Entry
      Current Medications: No Entry
      Semester: Semester 5


      Intake:

      Subjective:

      Objective:
                                              Counseling Crisis Note
      Contact start time:
      Contact end time:

      Referral Source:

      Presenting Concerns: Client returned to office after talking to Dr. Hayes in Student Affairs regarding his
      academic situation. I subsequently received an email from Dr. Hayes requesting that we talk at some
      point re: the client. After the meeting with Dr. Hayes, the client was very disappointed but stable.

      Self harm/Suicide/Homicide Screen: self harm ideation present

      Treatment/Interventions: Supportive-Expressive Psychotherapy, cognitive coping techniques, feeling
      identification, safety planning, support, comments Using a CBT appraoch

      Impressions/recommendations: adjustment disorder with mixed emotions.


      Assessment:
      !)Academic or Educational Problem - V62.3
      2)Adjustment Disorders - With mixed anxiety and depressed mood - 309.28


      Plan:
      Counseling Crisis (V62.3)

      Signed by: McMillan Cuffy on Dec/10/2015 09:27 AM

      Locked by: Nelli/Ian Cuffy on Dec/10/2015 09:27 AN


                                                                                                           1 of 2
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 70 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 105 of 212




                                  Exhibit SJ-12
                  (McMillan Cuffy's Counseling Note dated 12-13-2015)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 71 of 123



                                                        -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 106 of 212
      Name:          Oluwamuyiwa O        DOB:                                Student ID: -
                     Awodiya (M)
      Diagnosis:

                                             RUSM Counseling Center
                                                    P.O. Box 266
                                                 Roseau, DM 11111
                                                   (767)255-6553


      Oluwamuyiwa 0 Awodiya (M)                                       Note Date: 12/13/2015 03:28 PM
      [5597]
      Pt. Phone:                          D O B : - (Age 23)

      Summary of note: Academic or Educational Problem, Persistent Depressive Disorder (Dysthymia)
      Allergies: No Entry
      Current Medications: No Entry
      Semester: Semester 5


      Progress:
      Followup


      Progress since last session: less severe symptoms

      Session content: Client was seen on Friday for a follow up visit. His mom made flight reservations for him
      on LIAT to fly back on Sunday 12/13/15 but the hold on the ticket expired. He has agreed to stay on the
      island until his original flight on 12/19/12. However, he is stable and doing well. He denied having
      thoughts of harming himself. After exhausting all avenues of getting his grades changed, he is at the point
      where he is accepting to come back here in January to repeat semester 5.

      Clinical assessment: Minor depessive episode.

      Overall Impression: stable
      Appearance: casual
      Attention and Concentration: good
      Interpersonal: cooperative
      Mood: depressed
      Affect: sad
      Thought process: normal
      Judgment: fair

      Suicide/self-harm risk: no risk
      Insight: adequate
      Reaction to session: cooperative
      Additional Comments: Client will continue checking in with counseling on a daily basisi until he leaves the
      island.




      Assessment:
      l)Academic or Educational Problem - V62.3
      2)Persistent Depressive Disorder (Dysthymia) - 300.4




                                                                                                            1 of 2
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 72 of 123



                                                             -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 107 of 212
      Name:            Oluwamuyiwa 0           DOB:                            Student ID: -
                       Awodiya (M)
      Diagnosis:

      Plan:
      Counseling 20 - 30 Minutes (V62.3)

      Signed by: McMillan Cuffy on Dec/13/2015 03:28 PM

      Locked by: Nelli/Ian Cuffy on Dec/:13/20:15 03:28 PN




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 73 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 108 of 212




                                 Exhibit SJ-13
                  (McMillan Cuffy's Counseling Note Dated 1-11-2016)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 74 of 123



                                                              -
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 109 of 212
      Name:           Oluwamuyiwa O           DOB:                               Student ID: -
                      Awodiya (M)
      Diagnosis:

                                                  RUSM Counseling Center
                                                      P.O. Box 266
                                                    Roseau, DM 11111
                                                          (767)255-6553


      Oluwamuyiwa O Awodiya (M)                                           Note Date: 01/11/2016 11: 10 AM
      [5597]
      pt. Phone:                             D O B : - {Age 23)

      Summary of note: see client in one wk
      Allergies: No Entry
      Current Medications: No Entry
      Semester: Semester 5


      Progress:
      Followup



      Session content: Client is stable and doing well. He reported that he is on buproprion and doing very well.
      Client was assessed in the U.S. for ADHD; he provided us with a copy of the results which are scanned
      in his file. He is scheduled to take the TOVA next week. He was advised to do an EKG and is also
      scheduled to see the psychiatrist next week.

      Clinical assessment: Academic problems; repeating semester 5.

      Overall Impression: stable
      Appearance: appropriate
      Attention and Concentration: good
      Interpersonal: cooperative
      Mood: normal/stable
      Affect: bright
      Thought process: normal
      Judgment: good

      Suicide/self-harm risk: no risk
      Insight: good
      Reaction to session: active/eager




      Assessment:
      l)Academic or Educational Problem - V62.3


      Plan:
      Counseling 1 Hour {V62.3)
      Refen-al Orders: Referral To Medical Clinic (V62.3)

      Signed by: McMillan Cuffy on Jan/11/2016 11:10 AM


                                                                                                            1 of 2
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 75 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 110 of 212




                                  Exhibit SJ-14
                   (RUSM's Promotions Committee June 1, 2017 letter)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 76 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 111 of 212


         Ross University   Office of the Registrar
      School of Medicine   2300 SW. 1451h Ave., Suite 200
                           Miramar, FL. 33027
                           Phone 754-2$4591
                                                                       ROSS UNIVERSITY
                           Fax 73'l-500482D                                    SCHOOL OF MEDICINE
                           Registrar@RossU.edu




         June 1, 2017


         Oluwamuyiwa Awodiya
         15005 Dahlia Drive
         Bowie, MD 201721


         Dear Oluwamuyiwa:

         The Ross University School of Medicine Student Promotions Committee - Foundations of Medicine Sub-
         committee has reviewed your letter of appeal and academic history. After careful consideration, I regret to
         inform you the academic dismissal on April 13, 2017, is upheld.

         If additional information has become available or if you believe university procedure wasn't followed, you may
         appeal this decision by submitting an appeal to the Dean. Appeal letters must state the reason for the appeal and
         be emailed to Dean Owen at PromotionAppcals@RossU.edu within 15 calendar days of the date on this
         notification letter, June 16, 2017. The Dean or his designee will make a final decision on each appeal within
         15 calendar days of the Dean's receipt of the written appeal. Please refer to the RUSM Student Handbook for
         additional information regarding the appeals process.

         Please be advised that if you are a recipient of federal student loans, RUSM must inform your lender(s) that
         you have not attended RUSM since the last day you attended classes. The impact of your status on your federal
         student loans will depend on your specific situation, applicable regulations and the terms and conditions of your
         loan(s). Please visit www.studentloans.gov to complete your exit interview as required by federal regulations.

         Should you have questions or need additional assistance, please contact the Office of the Registrar at
         Registrar@RossU.edu.

         Sincerely,



         Niels Larsen, PhD
         Professor, Department of Physiology and Biochemistry
         Chair, Student Promotions Committee-Foundations of Medicine Sub-committee


         cc:      Academic & Student Affairs
                  Academic & Student Operations
                  Student Finance
                  Registrar




                                                                                                    RUSM 000070
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 77 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 112 of 212




                                    Exhibit SJ-15
       (Plaintiffs psychiatrist and psychotherapist's June 12, 2017 email to Dean Owen)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 78 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 113 of 212



      ------------ Original Message --------------
      From: [denise.h.unterman@kp.org]

      Sent: 6/12/2017 1:47 PM

      To: promotionappeals@rossu.edu

      Subject: Oluwanuyiw Awodiya, Student I.D -


      William F. Owen, M.D.

      Dean, Ross University Medical School



      Dear Dean Owen:



      We are writing on behalf of Oluwanuyiw Awodiya, a student in your program.

       We have been treating Mr. Awodiya for the past several months for ADHD

      and Obsessive Compulsive Disorder. He has had symptoms of the latter for

      the past 4-6 years but did not understand the nature of the diagnosis

      until recently. We believe that the anxiety and checking rituals inherent

      to this condition have been adversely affecting his academic performance

      in medical school. Mr. A wodiya is currently in CBT therapy and is

      acquiring strategies for managing his symptoms. He is considering

      psychotropic medication, as well. He is very engaged in and committed to

      treatment, dedicated to the pursuit of a career in medicine, and we hope

      that his high level of motivation will be considered in the appeal

      process.



      Sincerely,


      Denise H. Unterman, LCSW-C

      Adult Psychotherapist

      Earl John Mauricio, M.D.
      Adult Psychiatrist




                                                                                   RUSM 000059
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 79 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 114 of 212




                                  Exhibit SJ-16
                        (RUSM's June 13, 2017 email to Plaintiff)
 Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 80 of 123
7/26/2018                        Mail - OluwamuyiwaAwodiya@students.rossu.edu
    USCA11 Case: 19-12832 Document:     22-1 Date Filed: 10/16/2019 Page: 115 of 212
Question Received: SubjectAppeal Dismissal Case #02149780

  Student Services < studentservices@rossu.edu >
  Tue 6/13/2017 9 57 AM


  lo   Awodiya, Oluwamuyiwa <OluwamuyiwaAwodiya@students.rossu.edu>;




Thank you for your inquiry.


 Your question for Case #02149780 has been received.


 Case Details:
    Status: New
       Subject: Appeal Dismissal
       Department: Registrar
       Department Email: PromotionAppeals@rossu.edu
       Category 1: Promotion Appeals
       Category 2: General
       Date Created: 6/13/2017
       Last Updated: 6/13/2017




 Dear Dean Owen,


 This email contains my appeal letter. As well as 4 screenshots of my NBMEs that I mentioned in the letter.


 My psychotherapist and psychiatrist stated that they have sent a separate letter to you as well.

 Sincerely,




-Oluwamuyiwa Awodiya




 If you have any additional questions pertaining to this case you may either reply to this email or login to myRoss and
 navigate to askRoss.

 ref:_OOD80cFjT._5008011Pi7n:ref




https://outlook.office.com/owa/?path=/mail/search                                                                     1/1
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 81 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 116 of 212




                                 Exhibit SJ-17
                        (Plaintiff's Appeal Letter to Dean Owen)
  Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 82 of 123
     USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 117 of 212



          Dear Dr. Owen,

          Thank you and bless you for taking the time from your busy day to read my appeal letter. I am
          Oluwamuyiwa Awodiya and the purpose of this letter is to seek one more chance to take the
          NBME comp exam.

          This year I was diagnosed with OCD. This finding for me was like a miracle. Not because I'm glad
          to have it, but because it explains so many parts of my life, financially, socially, and
          academically. There is something satisfying about knowing that I can take steps towards
          improving my quality of life, instead of feeling hopeless. Although OCD affects numerous
---)...., aspects of my life, my objective is to keep this letter relevant to how OCD has influenced my
          academic performance.

          I want to start by answering some questions that you may have, before I dive into my
          experience with my recent diagnoses. Why has the OCD started to affect me now? This has
          most certainly been something I have been dealing with since before I even knew what OCD
          really was, realistically for the last 6 years. Why have I waited so long to get help? Well if you
          look at my name, it may be obvious that I come from a very cultured family. Although I was
          born in America, my family is very Nigerian. Getting help for any emotional or behavioral
          imbalances would not look good for me and would likely be an embarrassment to my family.
          Honestly, I had rather try and deal with my "weird" feelings by myself than to risk people seeing
          me as crazy.


    >     My biggest challenge with OCD is the extreme anxiety and urges that overwhelm me. I wish my
          anxiety was as easy as just washing my hands a million times but it's not that simple. Honestly, I
          don't fully understand everything about my OCD yet, but sometimes there isn't a solution to
          sooth my anxiety. Therefore, when I can't identify why I feel the way I do, I get hopelessly
          overwhelmed. Sometimes the solution is not even logical, like pulling out my eyelashes. I really
          do not like to explain my OCD, simply because it is one of the hardest things to convey; and
          even harder for many people to understand.


    >     I'm the student who never finished an exam on time. I was compelled to back track my answers
          just to make sure they didn't disappear 5 seconds after I went to the next question. I had rather
          pick a wrong answer because of the fear that it may actually be the right answer. These are just
          some of the ways that OCD has influenced my academic performance.

          Ever since I was diagnosed almost 2 months ago, I have been working extremely hard to
          improve myself now that I know what this is, what this was, and what I'm up against. I cannot
          tell you that I can fix this overnight, but I can tell you that progress can be made.              <
          I have not and will not be fighting this challenge by myself. I am getting enormous help from my
          psychotherapist Denise H Unterman, (L.C.S.W.) and psychiatrist Earl J Mauricio, MD. I have
          already started CBT and will continue to do so indefinitely. They will also send a letter directly
          to you on my behalf.
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 83 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 118 of 212



     The progress so far has been noticeable. I took my last COMP exam on March 30th, 2017 and my
     score was a 60. The day before my COMP, March 29th, 2017, I took a paid NBME online {form
      13) and scored a 58% (84 incorrect answers). Knowing the high validity of these exams, I knew
      the exam indicated that I would fail COMP again. A month after my diagnose and getting help
      with my OCD I took another paid NBME online {form 15) and improved quite a bit. On April
      25th, 2017, I scored a 67.5% {65 incorrect answers). I did not include this into my last appeal
      because I did not know how the promotion committee would feel about a borderline passing
      score, even if I significantly improved. Four days ago, June 8th, 2017, I took another paid NBME
      online {form 17) and scored a 72% {56 incorrect answers). These exams were taken under
      standard {timed) pace. I hope that these monthly increases in my score can adequately display
      that I can beat my OCD and continue to improve. I just need one more chance to take COMP to
      prove that I can do it.

      Along with this letter, I will include the screenshots of each of my NBME exams mentioned
      above. I recorded myself taking NBME form 15 but the video was about 5 hours long so it
      cannot be emailed. But it is available if needed. The letter from my psychotherapist and
      psychiatrist will come directly from them.

      I promise Dean Owen, that I will not let you down if I am granted one more chance to take
      COMP. I will continue my therapy for the rest of my medical career; and I promise that I will not
      let my OCD handicap me now or in the future ever again.



      Sincerely, thank you and God bless you,

      Oluwamuyiwa Awodiya
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 84 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 119 of 212




                                   Exhibit SJ-18
                      (Dean Owen's June 29, 2017 letter to Plaintiff)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 85 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 120 of 212
                                                              William F. Owen, Jr. MD, FACP




 •
          ROSS UNIVERSITY                                     Dean and Chancellor
                                                              2300SW1451h Avenue, Suite 200, Miramar, FL 33027
                SCHOOL OF MEDICINE                            (t) 754-208-4743
                                                              (f) 754-208-4744
                                                              WOwen@RossU.edu




   June 29, 2017

   Oluwamuyiwa Awodiya
   15005 Dahlia Drive
   Bowie, MD 201721

   Dear Oluwamuyiwa:

   I have carefully reviewed your academic record, your appeal of the Student Promotions Committee's
   recommendation for dismissal, and your pre-matriculation credentials. I concur with the Promotion
   Committee's decision to dismiss you from Ross University School of Medicine effective April 13, 2017.

   I hope you do not let this detour keep you from achieving your goal of helping people in need.

   Sincerely,




   William F. Owen, Jr., MD, FACP
   Dean and Chancellor

   Cc:   Sandra Herrin, University Registrar
         Gary Belotzerkovsky, Associate Dean, Academic & Student Operations
         Jennifer Dennis, Senior Director of Student Finance
         Danielle McDonald, Assistant Director of Clinical Student Conduct and Development
         Dr. Vijay Rajput, Associate Dean, Academic & Student Affairs




                                                                                                  RUSM 000069
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 86 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 121 of 212




                                  Exhibit SJ-19
                (RUSM' s Admissions Requirements section of its website)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 87 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 122 of 212




                        Internet Archive Collection Report

      Page Title
      Admissions Requirements

      URL

      http://www.rossu.edu/medical-school/admissions/ getstarted.cfm

      Original Collection/Capture Location
      https://web.archive.org/web/20121031221133/http://www.rossu.edu/medical-
      schoo l/admissions/ getstarted. cfin

      Collection Date
      October 31, 2012 22:11:33 UTC

      Collected by
      Internet Archive (Wayback Machine)

      Accessed by
      Oluwamuyiwa Awodiya

      Accessed Date
      June 3, 2018 at 6:02PM EST




                                                                                 Web Page 1
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 88 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 123 of 212




                                    Medical School Admissions Requirements
        Welcom<1 10 Admissions      The Adrrnss1ons Corrmit!ee of :he faculty gives serious coris1deraticn to all
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        Request lnfonnatlon            • GPA i<1 required prc-mec1ca1 course                             w011<
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                                       • Graduate work and records
          Transfer App!iicants
                                       • MCAT scores
        Meet Some Ross
        Students                       • Personal essay

                                       • Pre-med committee evaiuahons
        1\Jltlon and Fees
                                       • Letters ot rocommendation from academic and' or profossiona1
        Financial Aid Information
                                                ref or onces
        Applicauon and Deposit
                                       • Extracurncular act1v1ttos and accomplishments
        Fees
                                       • Work history and professional or volun:ecr expe<ienccs
        Scholarships
                                       • Personal qualities
        Partnerships
                                                Per5onal interview

                                    Appiicar.ls who nave comple'.ed llleir undergr advate studies in couolnes
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                                    The Personal Interview
                                    Ross Un1vers1ly strongly t>el!Cvos 1n the value of a personal interN)W with
                                    prospective students. Applicants whose creden:1als arc 1udged 'O t>e
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                                    MCAT
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                                    University s MCAT 111sbluhonal oode nurn::ie1 1s 906 To learn mo•e dbout the
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                                    Moo1cal coaegc Aarrnssion Test Registration
                                    The American Co 1lege Testing PrOQram
                                    PO Box 4056
                                    Iowa City IA 52243
                                    319-337-1357

                                    Pre-requisites
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                                    recommends :ha: the applicant CO'TI~ete fot1r years ma liberal arts co~tege
                                    beJore entenng rnedicat school Pre-reqU!s1te coursHs cannol be more than
                                    10 years old The cowsework should include '.he following prerequ1srle
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                                    with !abora:ones

                                    Organic Chemistry
                                    Twc semesters of Organic Chemist!)! (otghl semester hours I with                                     Web Page2
                                    laboratories

                                    General Biology or Zoology
                                    T .......   ~~--~•-r~      ~r c;.,1-.~··   -.r 7 -.... i .... .,.., 1-.;-k1   --~-.~•-.r   \...,.,
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Case 0:18-cv-60482-KMM labolatmes
                         Document 102 Entered on FLSD Docket 12/11/2018 Page 89 of 123
   USCA11 Case: 19-12832
                       Physics Document: 22-1                          Date Filed: 10/16/2019 Page: 124 of 212
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                                  Mathematics
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                                  Baccalauroato English and Advanced Placcmont English

                                  Application Checklist
                                  All letters of recoo;mendahoo and Ir anscnpls "·ust be f"a1led to Ross
                                  University. Office of Adm1ss1ons. 630 US H1g!1way 1. North Brunswick. NJ
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                                   • Two offiDa! letters of 'ecommencat1on. which become the propar1y of
                                          Ross Unive1sily. One academic letter f·om a pre-,,1edical professor
                                          acquainted wit~ the applicant's academic abii~y or a recoo1rrendation
                                          from a col:ege pre-health adviso·y comm1!100: one f10m a phy51c1an
                                          acquainted wit~ the applicant's health care wo•k experience. if
                                          apphcable All letters f"ust be on proper letterhead W11h contact
                                          information included and sent direcUy froin tne recommence• :o l'le
                                          Ross Unrversrty Adm1ss10~s Office

                                   • Medical Co:lege Admssmn Tes! \~.·1t:AT 1 scores.

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                                  Notification
                                  Persons whoso applications oro 1ncomp•ete. or whose qualtfical,o'ls are not
                                  acceptable. w1I• be so notified. Tho Admiss10'1S Co'"1ft11ttoo·s doostan is
                                  communicated by letter to thO applicant after tne 'nterv1cw.

                                  Application Deadline
                                  Since we operate uqoer roll1qg adrrnsstors t•10re are '1C appl>Catton
                                  deacJlmes We continue to accept apphcattons for each serneste1 until all
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                                  Policy on Non-discrimination
                                  The University docs not discriminate on the oasis of race color. na:1ona.
                                  origin. gendoc religion. disabHty, or age in admission to access to
                                  treatment in. or employr.ient in its p"ograms and activities tt ts the policy and
                                  practice of the University to comply witn the America'lS ";~ Disabilities Act
                                  as app'icable and practical 1n Dommica No qualified 1'1d1v1dJal with a
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          School of Medicine                      Admissions                                            Students                     Contact Information
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 90 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 125 of 212




                                   Exhibit SJ-20
           (Excerpts of Adtalem' s [formally known as Devry] 2012 Annual Report)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 91 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 126 of 212




                           UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                         Washington, D.C. 20549

                                                                            Form 10-K
 (Mark One)
     0                                        ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d)
                                                 OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                    For the fiscal year ended: June 30, 2012
                                                                                      OR
     0                                    TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d)
                                              OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                     For the transition period from                    to
                                                                  Commission file number: 1-13988

                                                                         DeVry Inc.
                                                              (Exact name of registrant as specified in its charter)
                                    DELAWARE                                                                                  XX-XXXXXXX
                            (State or other jurisdiction of                                                                  (l.R.S. Employer
                           incorporation or organization)                                                                   Identification No.)
                       3005 HIGHLAND PARKWAY                                                                                     60515
                       DOWNERS GROVE, ILLINOIS                                                                                  (Zip Code)
                        (Address ofprincipal executive offices)
                                                     Registrant's telephone number; including area code:
                                                                         (630) 515-7700
                                                   Securities registered pursuant to section 12(b) of the Act:
              Title of Each Class                                                                        Name of Each Exchange on Which Registered:
   Common Stock $0.01 Par Value                                                                              NYSE, CSE
   Common Stock Purchase Rights                                                                                 NYSE
                                               Securities registered pursuant to Section 12(g) of the Act:
                                                                            None
   Indicate by check mark ifthe Registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes 0         No D
   Indicate by check mark if the Registrant is not required to file reports pursuant to Section I 3 or Section 15( d) of the Act. Yes D No 0
    Indicate by check mark whether the Registrant (I) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been
 subject to such filing requirements for the past 90 days. Yes 0      No D
   Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File
 required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such
 shorter period that the registrant was required to submit and post such files). Yes 0     No D
    Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be contained,
 to the best of registrant's knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any
 amendment to this Form I0-K. D
    Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting
 company. See the definitions of"large accelerated filer," "accelerated filer" and "smaller reporting company" in Rule 12b-2 of the Exchange Act.
    Large accelerated filer 0                                                                 Accelerated filer               D
    Non-accelerated filer D (Do not check if a smaller reporting company)                     Smaller reporting company D

   Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes D                         No 0
   State the aggregate market value of the voting and non-voting common equity held by nonaffiliates computed by reference to the price at which the
 common equity was last sold, or the average bid and asked price of such common equity, as of the last business day of the Registrant's most recently
 completed second fiscal quarter. Shares of common stock held directly or controlled by each director and executive officer have been excluded.
   December 31, 2011 - $2,600,610,356

   Indicate the number of shares outstanding of each of the registrant's classes of common stock, as of the latest practicable date.
   August 24, 2012 - 64,123,380 shares of Common Stock, $0.01 par value
                                                      DOCUMENTS INCORPORATED BY REFERENCE
   Certain portions of the Registrant's definitive Proxy Statement for the Annual Meeting of Stockholders to be held on November 7, 2012, are
 incorporated into Part Ill of this Form 10-K to the extent stated herein.
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 92 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 127 of 212

  DeVry Medical International

   DeVry Medical International operates three institutions:
      • Ross University School of Medicine confers the Doctor of Medicine (M.D.) degree;
      • Ross University School of Veterinary Medicine confers the Doctor of Veterinary Medicine (D.V.M.) degree; and
      • American University of the Caribbean School of Medicine confers the Doctor of Medicine (M.D.) degree.

   Together, the three schools had 5,944 students enrolled in the May 2012 semester.

   Ross University School of Medicine

    Since 1978, Ross University School of Medicine has been providing high quality medical education to prospective physicians. Ross
 University School of Medicine has graduated over 9,200 physicians during its three decades of service, and these graduates practice
 medicine in the US, Canada and Puerto Rico. The mission of Ross University School of Medicine is to prepare highly dedicated
 students to become effective, successful physicians. Ross University School of Medicine accomplishes this by focusing on imparting
 the knowledge, skills, and values required for its students to establish a successful and satisfying career as a physician.

    Ross medical students complete a four-semester (approximately 16 months) Foundations of Medicine curriculum in modem
 classrooms and laboratories at a campus located in Dominica. The four semesters are followed by a one-semester course entitled
 Advanced Introduction to Clinical Medicine at the Dominica campus, the Ross clinical location in Miami or at an affiliated hospital
 facility in Saginaw, Michigan. After students successfully complete Step 1 of the U.S. Medical Licensing Examination™, which
 assesses whether medical school students understand and can apply scientific concepts that are basic to the practice of medicine, they
 complete the remainder of the IO-semester program by participating in clinical rotations under Ross University direction, and
 conducted at 75 affiliated teaching hospitals or medical centers affiliated with accredited medical education programs in the United
 States.

    Ross' medical educational program is comparable to the educational programs offered at U.S. medical schools. Ross' program
 consists of three academic semesters per year - beginning in January, May and September - which allows the medical students to
 complete their basic science instruction in less time than they would at a U.S. medical school. The program prepares students for
 general medical practice and provides the foundation for postgraduate specialty training, which is primarily received in the United
 States.

    Ross University School of Veterinary Medicine

    Since its founding in 1982, Ross University School of Veterinary Medicine has graduated more than 2,900 veterinarians. The
 mission of Ross University School of Veterinary Medicine is to prepare highly dedicated students to become effective, successful
 veterinarians in the United States.

    Ross veterinary students complete a seven-semester pre-clinical curriculum in a technologically advanced campus in St. Kitts. This
 program is structured to provide a veterinary education that is comparable to educational programs at U.S. veterinary schools. After
 completing their pre-clinical curriculum, Ross veterinary students enter a clinical clerkship lasting approximately 48 weeks under
 Ross University direction at one of 22 affiliated U.S. Colleges of Veterinary Medicine. At both the Medical and Veterinary schools,
 students are introduced to clinical experiences and clinical skills early in their respective curriculums.

    American University of the Caribbean School of Medicine

    On August 3, 2011, DeVry acquired the American University of the Caribbean School of Medicine ("AUC") which was founded
 in 1978. AUC confers the Doctor of Medicine degree and its campus is located in the country of St. Maarten. Over 4,500 graduates
 have received AUC M.D. degrees and are licensed and practicing medicine throughout the world.

     AUC medical students complete a two-year basic sciences program taught at AUC's St. Maarten campus, followed by two years of
 clinical sciences taught at affiliated hospitals in the United States and England. AUC's educational program is comparable to the
 educational programs offered at U.S. medical schools.
    The acquisition of AUC was consistent with DeVry's growth and diversification strategy, increasing its presence in high quality
 medical and healthcare education and expanding its academic offerings at the post-baccalaureate level. DeVry was attracted to AUC
 because of its highly regarded faculty, commitment to academic excellence, and an accomplished network of alumni. In addition,
 AUC has strong partnerships with residency placement hospitals across the United States.




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 93 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 128 of 212

  Medical and Healthcare

  DeVrv Medical International

      The Ross University School of Medicine and Ross University School of Veterinary Medicine focus their marketing efforts on
 attracting highly qualified, primarily U.S. and Canadian applicants, with the motivation and requisite academic ability to complete
 their educational programs and pass the United States Medical Licensing Exam and the North American Veterinary Licensure
 Examination, respectively. Each institution's marketing effort includes direct e-mail marketing, webinars, visits to undergraduate
 campuses to meet students and their pre-med/pre-vet advisors, targeted direct mail campaigns, information seminars in 40 major
 markets throughout the United States, Canada, and Puerto Rico, alumni referrals, a national undergraduate poster campaign, radio
 advertisements in select markets and print ads in major magazines and newspapers.

     Ross University School of Medicine and Ross University School of Veterinary Medicine each employ regional admissions
 representatives in 12 cities throughout the U.S. and in Ontario, Canada, who seek out and pursue students interested in our two
 programs. Senior Associate Directors of Admission and Associate Directors of Admission recruit, interview, admit, and enroll all new
 students to each of our three entering cohorts. The successful applicant must have all prerequisite sciences (with labs), mathematics,
 and English courses as dictated by the admissions committee of both the medical and veterinary schools. All candidates for admission
 must interview with an associate director and all admission decisions are made by the admissions committees of the medical and
 veterinary schools.

     AUC focuses its marketing efforts on attracting highly qualified, primarily U.S. applicants, with the motivation and ability to
 complete their medical programs and pass the applicable licensure examinations.        Approximately one-third of AUC's applicants
 come from referrals, with the remainder primarily from general advertising, including print and Internet media, AUC's website and
 visits by admissions advisors to U.S. undergraduate institutions. AUC employs admissions advisors who are located at AUC's
 administrative offices in Coral Gables, Florida and remotely throughout the United States and Toronto, Canada.

  Chamberlain College of Nursing

     Chamberlain utilizes varied marketing approaches to generate interest from potential students. Chamberlain recruiters visit Arizona,
 Illinois, Indiana, Missouri, Ohio, Florida, Texas, Georgia and Washington, D.C. metro area high schools, employ targeted direct mail,
 cultivate alumni referrals and participate in information seminars and career fairs. Chamberlain holds open house events to attract
 local prospective students, and advertises on the Internet, in healthcare career publications, in newspapers, and on the radio.
 Chamberlain's extensive informational website generates nearly one-third of all prospective student applications.

    Chamberlain employs regional admissions representatives who arrange for student interviews and campus tours. Admission
 requirements include a high school diploma or GED; minimum cumulative grade point average requirements vary depending upon the
 program. Applicants to the pre-licensure programs must pass the Chamberlain standard pre-admission exam to be eligible for
 admission. Admissions decisions are made by an admissions committee.

  Carrington College and Carrington College California

    Carrington College and Carrington College California each utilize varied marketing approaches to generate interest from potential
 students. Admissions advisors visit high schools in Arizona, California, New Mexico, Nevada, Oregon, Washington and Idaho. Each
 institution also conducts local advertising campaigns using broadcast media, print media, targeted direct mail and the internet. In
 addition, each institution holds open house events for local prospective students, cultivates alumni referrals, and participates in
 information seminars and career fairs.


   Becker Professional Education

    Becker Professional Education markets its courses directly to potential students and to selected employers, primarily the large
 global, national and regional public accounting firms. Alumni referrals, direct mail, print advertising, e-mail, digital and social media
 advertising and a network of student representatives at colleges and universities across the country also generate new students for
 Becker's review courses. The Becker web-site is another source of information for interested applicants.

    Becker Professional Education has relationships with more than 2,000 public accounting firms, corporations, government agencies
 and universities. Becker delivers its CPA review courses on about I 00 college campuses, recruiting students attending those
 institutions. Becker also is the preferred provider of CPA review for most of the country's largest public accounting firms, partnering
 with 99 of the top 100 public accounting firms, including each of the Big 4 Firms.



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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 94 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 129 of 212




                                   Exhibit SJ-21
                   (Excerpts ofDavendra Shanna's deposition transcript)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 95 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 130 of 212
         10/16/2018          Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.        Davendranand Sharma




                                      UNITED STATES DISTRICT COURT
                                                FOR THE
                                      SOUTHERN DISTRICT OF FLORIDA


                                      CASE NO.: 0:18-cv-60482-KMM


                      OLUWAMUYIWA AWODIYA,
                                            Plaintiff,
                      vs.

                      ROSS UNIVERSITY SCHOOL OF
                      MEDICINE, SCHOOL OF VETERINARY
                      MEDICINE LIMITED,

                                            Defendant.




                                                              350 E. Las Olas Blvd.
                                                              Fort Lauderdale, Florida
                                                              October 16, 2018
                                                              12:59 p.m.




                                               THE DEPOSITION OF


                                              DAVENDRANAND SHARMA




                                  Taken on Behalf of the Plaintiff
                            Pursuant to Notice of Taking Deposition
                                          Commencing at 12:59 p.m.




                                          Alpha & Omega Reporting Services, Inc.
                                                      (954) 523-6422




                                                                                                 15eb13da-d2c1-4023-bda4-c358c06300aE
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 96 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 131 of 212
         10/16/2018                        Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.              Davendranand Sharma


                                                                      Page 2                                                      Page 4
            1    APPEARANCES:                                                    1     Thereupon:
            2
                 On behalf of Plaintiff:
                                                                                 2                DAVENDRANANDSHARMA
            3                                                                    3         a witness named in the notice heretofore filed,
                 15005 Dahlia Drive
            4    Bowie, MD 20721
                                                                                 4     being oflawful age and having been first duly
                 (240)602-1836                                                   5     sworn, testified on his oath as follows:
            5    BY: OLUWAMUYIWA AWODIYA, PRO SE, ESQ.
            6
                                                                                 6            THE WITNESS: I so swear.
                 On behalf of Defendant:                                         7                 DIRECT EXAMINATION
            7                                                                    8     BY MR. AWODIYA:.
                 AKERMAN, SENTERFITT
            8    1 SE 3rd Avenue, 25th Floor                                     9         Q. Hello. Please state your name your full
                 Miami, FL 33131-1714                                           10     name for the record
            9    (305)374-5600
                                                                                11         A Davendranand Shanna.
                 ryan.roman@akerman.com
           10    BY: RYAN ROMAN, ESQ.                                           12         Q. Thankyou.
                      -and-                                                     13
           11       OCTAVIA GREEN, ESQ.
                                                                                              May I refer to you as Dr. Shanna?
           12                                                                   14         A Sure.
           13    ALSO PRESENT:                                                  15         Q. Dr. Shanna, my name is Oluwamuyiwa
           14    VALARIE BOMAR, ESQ.
                 ADTALEM GLOBAL EDUCATION                                       16     Awodiya, and I'm the plaintiff in this case against
           15                                                                   17     Ross University School of Medicine.
           16    REPORTED BY:
           17    KELLY A. ESPOSITO                                              18            During this deposition, I will in most
                 ALPHA & OMEGA REPORTING SERVICES, INC.                         19     part refer to myself as "plaintiff' as "Muyiwa" or
           18    1776 E. Sunrise Boulevard, First Floor
                                                                                20     as "Awodiya".
                 Ft. Lauderdale, FL 33304
           19    954.523.6422                                                   21            For the record, do you understand that if
           20                   *****                                           22
           21
                                                                                       I say, "plaintiff, Muyiwa" or "Awodiya," that I am
                                 STIPULATIONS
           22            It is stipulated and agreed by and between             23     refer to myself?
           23         counsel for the respective parties that:                  24         A Yes.
           24            Reading and subscription of the deposition
           25         by the witness are not waived.                            25         Q. Additionally, let me tell you some ground


                                                                      Page 3                                                      Page 5
            1                      INDEX                                         1     rules for this deposition. And if you have any
            2                                                                    2     questions, you can ask me. First, you are under
                  Examination                            Page
            3
                                                                                 3     oath and have sworn to tell the truth. The effect
            4     Direct         By Mr. Awodiya:            4                    4     of that oath is the same as if you were testifying
                  Cross          By Mr. Roman:             75                    5     in court. If you have a question that you don't
            5     Redirect        By Mr. Awodiya:           83                   6     understand, tell me you don't understand it, and
            6                   PLAINTIFF EXHIBITS
            7     No.                              Page                          7     111 rephrase it as often as necessary, so you're
            8     DE-01           Counseling Note dated        8                 8     comfortable that you understand the question you're
                               12.14.15                                          9     answering.
            9         DE-02       Doctor's Note dated 12.30.15 9
                      DE-03       Counseling Note dated       17                10         A. Yes.
           10                  2.12.16                                          11         Q. It's also very important that you answer
                      DE-04       Counseling Note dated       18                12     my questions through spoken word, not through facial
           11                  3.11.16                                          13     expressions or gestures. Please refrain from
                      DE-05       Release oflnformation      30
           12                  Consent                                          14     answering questions with sounds like uh, uh-huh,
                      DE-06       Counseling Note dated       70                15     uh-uh, or words that may not get transcribed
           13                  12.9.15                                          16     accurately. You must actually say a word. If you
           14                    DEFENSE EXHIBITS
           15     No.                              Page                         17     mean yes, say yes, not uh-huh.
           16     DE-07           Counseling Note dated 4.5.16 79               18             Also, please allow any questions and any
           17                                                                   19     objections to be fully stated before you speak. The
           18
                                                                                20     court reporter cannot take down more than one person
           19
           20                                                                   21     speaking at the same time. Otherwise, the record
           21                                                                   22     will be jumbled and the questions and answers will
           22                                                                   23     be disjointed. Ross lawyers - Ross University's
           23
           24                                                                   24     lawyers may make o~ections to questions that I ask
           25                                                                   25     you. They are objections for the judge to consider



                                                                                                           2 (Pages 2 to 5)
                                                           Alpha & omega Reporting Services, Inc.
                                                                       (954) 523-6422




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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 97 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 132 of 212
         10/16/2018                   Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.             Davendranand Sharma


                                                              Page 6                                                        Page 8
             1    later. You are still required to answer the               1     Exhibit DE-01.
            2     question unless you are instructed not to by their        2            (Thereupon, the referred-to document was
             3    lawyers.                                                  3            marked by the court reporter for
             4            Everything that is said is being taken            4             Identification as Plaintiff's Exhibit
             5    down by the court reporter verbatim. You have an          5            DE-01.)
             6    opportunity to read the deposition transcript and         6     BY MR AWODIYA:
             7    make corrections you believe are necessary. If you        7         Q. Can you confirm that this is your
             8    make changes in your testimony that are inconsistent      8     counseling note for plaintiff dated December 14th,
             9    with the answers given during the deposition, I will      9     2015?
           10     be entitled to comment on those discrepancies at         10         A. Yes.
           11     trial to question your truthfulress.                     11         Q. In this counseling note, you put "Academic
           12             Do not guess when providing responses.           12     or educational problem" next to "Summary of note;"
           13     Instead, please provide your best estimate based on      13     is that correct?
           14     your recollection If you Ix:ed to take a break at        14         A. Yes.
           15     any time, please let me know. All I ask is that we       15         Q. In the same counseling note, you also
           16     do not take a break while there's a question             16     wrote that you started screening plaintiff for ADHD;
           17     pending.                                                 17     is that also correct?
           18              Are you here today under the influence of       18            It should be under "Plan"
           19     any medication or suffering from any physical,           19         A. Yes.
           20     mental, or emotional condition that would affect         20         Q. Did you screen plaintiff for ADHD because
           21     your ability to hear my questions or to give             21     he informed you that he Ix:eded extended testing time
           22     truthful answers?                                        22     for his exams?
           23         A. No.                                               23         A. No.
           24         Q. Okay. Dr. Sharma, when did you first hear         24         Q. Then why did you screen plaintiff for
           25     about this lawsuit?                                      25     ADHD?


                                                              Page 7                                                        Page 9
             1           A. I think it was an e-mail that came around       1         A. Because he was having academic problems.
             2        April 2016 from Ross University's attorneys office    2         Q. What type of academic problems?
             3        saying that you -                                     3         A. Problems with passing his exams, as far as
             4               MR ROMAN: Hold on one seconl. I'm just         4     I remember.
             5           going to object to the extent that your            5         Q. Did he tell you why he was having problems
             6           testimony would call for any disclosure of         6     passing his exams?
             7           attorney/client communication Any                  7         A. Going into memory bank, you know, but if I
             8           communication you had with an attorney for         8     remember the situation, it was about not performing
             9           Ross, I'll object on the basis of privilege,       9     at your best - the plaintiff's best.
           10            and I'll instruct you not to answer those         10         Q. When plaintiff returned to Dominica in
           11            questions. You can testify about when you         11     January 2016 after the winter break, did he give you
           12            talked to certain people, who you talked to,      12     documents about his ADHD that was assessed in
           13            but not the substance of communications with      13     Maryland?
           14            lawyers.                                          14         A. Not that I recall
           15                TIIE WITNESS: Sure. I understanl.             15         Q. Not that you recall?
           16                So April 2016.                                16         A. Yeah. Not that - it may have been given
           17         BY MR AWODIYA:                                       17     to the counseling center, but -
           18            Q. How long have you been working for Ross        18         Q. Please see Exlnbit DE-02.
           19         University?                                          19            (Thereupon, the referred-to document was
           20            A. From 1993.                                     20            marked by the court reporter for
           21            Q. And what is your job position at Ross          21            Identification as Plaintiff's Exhibit
           22         University?                                          22            DE-02.)
           23            A. I'm a professor of behavior sciences and       23     BY MR AWODIYA:
           24         consultant psychiatrist for health services.         24         Q. And please take time to read that in it's
           25            Q. I'm going to show you this document marked     25     entirety, if you can


                                                                                                     3    (Pages 6 to 9)
                                                      Alpha & Omega Reporting Services, Inc.
                                                                  (954) 523-6422



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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 98 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 133 of 212
         10/16/2018                    Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.            Davendranand Sharma


                                                              Page 10                                                     Page 12
            1                MR. ROMAN: And I'll just make an                1        A Yes, I see it.
            2            objection for the record that I don't believe       2        Q. Under that it says, "The patient reports
            3            this is a document we've seen yet in this case.     3     the following concerns related to his
            4             So I'll just make that objection. And I also       4     attention/concentration."
            5             see there are redactions to certain portions.      5            Now, under here are numerous ways that the
            6             So we would want the opportunity to see an         6     doctor has noted plaintiffs symptoms.
            7             unredacted version so that we understand fully     7            Do you - is that a correct statement?
            8             what this document represents.                     8         A Yes.
            9                THE WITNESS: Is there a page 3? Oh,             9         Q. This document also says, "Constantly has
           10             here. Page 3. I got it. Good                      10     difficulty sustaining attention to task at work or
           11         BY MR. AWODNA:.                                       11     in school." It says, "Constantly has difficulty
           12            Q. You've read it?                                 12     with tasks requiring persistence or organization.
           13            A Uh-huh.                                          13     Constantly distracted by noise or activity.
           14            Q. Okay. Do you remember receiving this            14     Constantly forgetful in daily activities, for
           15         document when plaintiff returned back in              15     example, difficulty remembering appointments or
           16         January2016?                                          16     obligations."
           17             A No.                                             17            Did you notice any of these symptoms in
           18             Q. No?                                            18     plaintiff?
           19                Can you read out the date on the top of        19         A When? When I first saw you?
           20         this document?                                        20         Q. In any of your counseling sessions.
           21            A 30th of December, 2015.                          21         A Yes.
           22             Q. And this is during the Christmas break,        22         Q. So would you agree that you observed that
           23         right?                                                23     plaintiffs ADHD affected his ability to perform
           24             A Yeali.                                          24     well on his exams?
           25             Q. On this document it says, "School              25         A Well, remember, we didn't diagnosis you


                                                              Page 11                                                     Page 13
            1     counseling said that they are going to put me on a         1     with ADHD in December. So what I saw was evidence
            2     stimulant; they said I was inattentive."                   2     of ADHD that required, you know, testing and
            3        A School coun<;eling said they are going to             3     confirrnatioIL
            4     put you on?                                                4         Q. And what was that evidence?
            5         Q. A stimulant.                                        5          A. The symptoms you just went through, this
            6         A. Yes. Yes.                                           6     list that is there.
            7         Q. "They said I was inattentive."                      7          Q. Okay. So just to be clear, you noticed
            8         A. Yes.                                                8     that plaintiff was experiencing these symptoms on
            9         Q. Is that an accurate statement?                      9     page 3 ofExlnbit DE-02?
           10         A. Yes.                                               10          A. Yes. The symptoms you listed.
           11         Q. So before I went to break, you told                11          Q. The symptoms -
           12     plaintiff that you thought he was inattentive?            12          A. From ''The patient reported following
           13         A. Yes.                                               13     concerns" to "difficulty remembering appointment or
           14         Q. On the document that says, "page 3" -              14     obligations."
           15         A. Uh-huh.                                            15              MR. ROMAN: rlljustobject, because rm
           16         Q. - can you read where it says, "He is               16          not sure it's clear what time frame we're
           17     returning back to med school"?                            17          talking about at this point.
           18         A. Okay. I read it.                                   18     BY MR. AWODIYA:
           19         Q. Okay. What it reads is - it says, "He is           19          Q. When did you notice these symptoms?
           20     returning back to med school on Jaruary 8th, 2016."       20          A. I think from the first time I saw the
           21         A. Uh-huh.                                            21     plaintiff, though, it wasn't for primarily academic
           22         Q. "He wonders if he can manage his,"                 22     problems.
           23     redacted, "and inattentive/cognitive via                  23          Q. Was this December 2015?
           24     counseling/psychotherapy which he plans to pursue         24          A. December 2015.
           25     while he is in the Caribbea.n!Dominica."                  25              Are we finished with this one?



                                                                                                  4 (Pages 10 to 13)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 99 of 123
   USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 134 of 212
         10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.             Davendranand Sharma


                                                          Page 14                                                      Page 16
             1        Q. One more question on that document.              1           Okay.
            2           If you noticed those symptoms, why are            2       A. All right?
            3     they not listed in your counseling records?             3           Just to be clear to your question as to
             4         A In which counseling records?                     4    why we did not do anything, we actually recommended
            5          Q. The counseling records that Ross produced,      5    assessment for ADHD in December while the plaintiff
             6    it didn't mention anything of what you witnessed.       6    was going back home to recover from the emotional
            7     It just kind of - it makes it seem - in my              7    breakup situation
             8    opinion, it makes it seem as if you - the school        8           Going too fust?
             9    arrived to ADHD randomly or the diagnosis was just a    9           THE COURT REPORTER: You're awesome.
           10     diagnosis. There was no investigation into it.         10           THE WITNESS: You're awesome typing fast
           11             From your - from - from your - from            11       Off the recmd.
           12     Exhibit DE-01 -                                        12           So we actually started a process of
           13          A Wait. Wait. Sorry. It's confusing.              13       helping the plaintiff with the academic
           14     It's like three questions going. You're saying -       14       problems, as we helped the plaintiff with the
           15     remind me of the first question. You say, why was      15       relationship problem And I think we did help
           16     it not - let me clarify.                               16       with that.
           17             Why was it not picked up in your initial       17           And then, we started testing the patient
           18     meeting or at some point we did not report it as a     18       for ADHD. And then, we also have the plaintiff
           19     problem?                                               19       going home early. So I think the university
           20          Q. Let me rephrase.                               20       did show responsibility for picking up the
           21          A Okay.                                           21       diagnosis that was not made throughout the
           22          Q. If you noticed that plaintiff was              22       plaintiffs life until he was in his 20s when
           23     experiencing these symptoms -                          23       he came to Ross.
           24          A Uh-huh.                                         24           So that's the story I would support for
           25          Q. - when you first met him in                    25       the plaintiff.


                                                          Page 15                                                      Page 17
             1    December 2015, why are they not listed inside of        1       Q. Thank you. Thank you very much.
             2    your counseling notes -                                 2           Please see Exhibit DE-03.
             3       A !gotcha                                            3            (Thereupon, the referred-to document was
             4       Q. -inDecember2015?                                  4           marked by the court reporter for
             5       A. So I don't know, because I have to look at        5            Identification as Plaintiff's Exhibit
             6    those notes. Are you talking about this set or all      6            DE-03.)
             7    the notes?                                              7    BY MR AWODIYA:
             8           Okay. If we're talking about this set,           8        Q. What is the date on this document?
             9    then it actually has assessment of academic             9        A. 12th of February, 2016.
           10     problems. That was not the primary problem that the    10        Q. On that day, did plaintiff tell you that
           11     person - that the plaintiff was referred to me for.    11    his ADHD was adversely affecting his ability to
           12     That was not the primary problem I was supposed to     12    complete his exams?
           13     deal with. And the person had already been seen by     13        A. There's nothing in the record. I wouldn't
           14     the counselors. I wasn't the primary person I was      14    remember that, but it's not documented that what you
           15     the specialist to help the plaintiff with depressive   15    said was what you told me.
           16     issues related to his break up - romantic break up.    16        Q. Let's refer to parts of this document to
           17        Q. I unlerstanl.                                    17    see if it can help you recall. In this document, is
           18        A With concerns about other problems, like          18    it correct that it says - next to "Summary of
           19     self-hann, am so on So that was my primary duty,       19    Note," you put "Attemion Deficit Disorder Without
           20     to help the plaintiff with those problems. In the      20    Mention of Hyperactivity"?
           21     meeting with the plaintiff, I recognized there were    21        A. Yes.
           22     other problems -                                       22        Q. Does it also say that plaintiff"did not
           23        Q. Thank you.                                       23    feel right for the last mini"?
           24        A. - with academics.                                24        A. Yes.
           25         Q. Thank you.                                      25        Q. What is the connection between those two?



                                                                                              5 (Pages 14 to 17)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 100 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 135 of 212
        10/16/2018                    Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                 Davendranand Sharma


                                                             Page 18                                                           Page 20
           1            Why is it summarized as attention deficit              1      his ability to complete his exams in the time
           2     disorder without mention of hyperactivity, and then,          2      allowed?
           3     mentions his mini?                                            3          A From this note, I can't say that. What
            4        A So the summary means that you have now                  4      the note is pointing to is that you had a
           5     carried a new diagnosis or a diagnosis of attention           5      diagnosis - the plaintiff had a diagnosis of ADHD,
           6     deficit that's been confirmed. "Did not feel right            6      was started on stimulant meds in February, is corning
           7     for the last mini" would be probably what you were            7      for a follow-up, and is contimring with his
           8     saying in your words. So you would more know what             8      stimulant meds along with the Wellbutrin It
           9     you meant by that, you know. If you asked for my              9      doesn't have anything about the plaintiff asking for
          10     interpretation, it could be many things, like you            10      extra time.
          11     were not feeling well prepared, you didn't study             11          Q. Considering all of your counseling ootes
          12     enough, you know. So it's just speculation. But             12       and the symptoms you observed ofplaintifl's
          13     those would be what you said, "did not feel right."         13       attention and concentration, did you believe that
          14         Q. Okay. Please see Exhibit DE-04.                      14       his ADHD and anxiety significantly limited his
          15            (Thereupon, the referred-to document was             15       ability to complete his exams in the time allowed?
          16            marked by the court reporter for                     16           A. I would agree ADHD in itself can affect
          17             Identification as Plaintiffs Exlubit                17       academic performance, and it's recorded here that
          18            DE-04.)                                              18       you were running out of time.
          19     BY MR AWODIYA:                                              19           Q. Do you believe that plaintifl's ADHD,
          20         Q. Is this your counseling note for                     20       specific to him, was significantly limiting his
          21     plaintiff?                                                  21       ability to complete his exams in the time allowed?
          22         A Yes.                                                  22           A. Yes.
          23         Q. And what's the date on this document?                23           Q. Did you also believe that he needed
          24         A I Ith of March, 2016.                                 24       extended testing time?
          25         Q. Did plaintiff tell you that he was running           25           A. I wouldn't be able to interpret that. I


                                                             Page 19                                                           Page 21
            1        out of time to complete his exams in the time             1      believe that everybody is entitled to extra time,
            2        allowed?                                                  2      according to the regulations of the schoo~ that has
            3            A It says, "Despite running out of time               3      the diagnosis of ADHD. It's a disability that
            4        passed his exams."                                        4      allows students apply to the Office of
            5               So that would be, most likely, a notation          5      Accommodations for extra time. It's in the
            6        to what you said, that you ran out of time, but you       6      student's handbook.
            7        passed.                                                   7          Q. So based on the school's policy and
            8            Q. On this day, did plaintiff - did                   8      plaintifl's counseling sessions with you, you
            9        plaintiff ask for extended testing time?                  9      believed that he needed extended testing time?
          10             A Nothing recorded here about asking for             10             MR. ROMAN: I'll just object. I believe
          11         extra time.                                              11          that misstates the prior testimony.
          12             Q. Do you recall?                                    12             THE WITNESS: Sorry?
          13             A No.                                                13             MR. ROMAN: I just objected for the
          14             Q. On the same counseling note, you put              14          record, because I thought it misstated the
          15         "Anxiety State, Unspecified," and you prescnbed          15          prior testimony.
          16         more Ritalin; is that correct?                           16             You can answer, if you understand the
          17             A Correct.                                           17          question.
          18             Q. Okay. So this document states that                18      BY MR. AWODIYA:
          19         plaintiff was running out of time and you added a        19          Q. Let me rephrase.
          20         new diagnosis to your notes?                             20          A. That's okay. Because - repeat what you
          21             A Uh-huh.                                            21      said there. Sorry.
          22             Q. And gave him more Ritalin?                        22          Q. Based on your counseling sessions with the
          23             A Uh-huh.                                            23      plaintiff, and based on the school policies, do you
          24             Q. On that date, did you believe that both           24      believe that plaintiff needed extended testing time?
          25         plaintiffs ADHD and anxiety significantly limited        25          A. The thing is, it's not my belief that I



                                                                                                     6 (Pages 18 to 21)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 101 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 136 of 212
        10/16/2018                 Awodiya, Oluwamuyiwa v: Ross University School of Medicine et al.            Davendranand Sharma


                                                           Page 22                                                    Page 24
           1      can talk to. I can only treat the plaintiff anl get     1    requesting accommodations for extra time.
           2      him better with his ADHD. The reed for extra time       2        Q. Okay. I think I understand.
           3      is not my detennination It is available, according      3            So let me ask you this. If a student
            4     to the regulations of the Wliversity. It is the         4    doesn't request an accommodation, but the school
            5     student, who has the diagnosis, who reeds to request    5    notices that he needs an accommodation, do you think
            6     it, if he thinks that he reeds extra time, because      6    the school is liable?
            7     not every student with a diagnosis of ADHD requests     7            MR ROMAN: Objection to the extent it
            8     extra time. So we can only advise a student that        8        calls for a legal conclusion since Dr. Sharma
            9     accommodations are available, if they reach to the      9        is not a lawyer.
          10      accommodation office anl request it. You               10    BY MR AWODIYA:
          11      understaOO?                                            11        Q. Let me rephrase.
          12              It's not for me to tell the student, who       12            If you notice that a student needs an
          13      has ADHD, that they must, because they reed it, they   13    accommodation, but he doesn't request an
          14      should go. You understaOO?                             14    accommodation -
          15              It is my duty to let the student know that     15            I'm going to come back to it. I lost my
          16      there is regulations that provide extra time if they   16    train of thought a little bit.
          17      request it.                                            17        A You want a break? I could use an extra
          18           Q. So let me ask you this.                        18    cup of coffee.
          19           A. Uh-huh.                                        19            MR AWODIYA: Let's take a break and go
          20           Q. Is it correct that you're trying to say        20        off the record.
          21      that the school would act independently in relation    21            (Whereupon, a break was taken from 1:33 to
          22      to your own belief of the student's reed?              22            1:40p.m.)
          23           A. No, it's not my belief of the student's        23    BY MR AWODIYA:
          24      reed for extra time, you know. It's the student's      24        Q. Did plaintiff tell you that - let me
          25      reed for, one, treatment, anl need - the student       25    rephrase.


                                                           Page 23                                                     Page 25
           1     has to need the extra time. It is not for me to          1            Did plaintiff tell you that Matthew
           2     know that they would need it, because many students      2     Stewart-Fulton denied plaintiffs request for
           3     do not ask for extra time for one reason or the          3     accommodation?
            4    other.                                                   4         A. I don't recall that.
           5         Q. What language do you think - let me               5         Q. Do you know why plaintiff never received
           6     rephrase.                                                6     test accommodations from Ross University?
           7            You were informed that plaintiff was              7         A. Our cows:ling center record that I have
            B    running out of time on his exmm, correct?                8     in my documentation, in my notation, doesn't show
            9        A Yes. It's there.                                   9     that the plaintiff applied for accommodation
          10         Q. And you also noticed that - that his             10          Q. So outside of the documents, you don't
          11     ADHD - let me rephrase.                                 11     remember any conversations with plaintiff?
          12            Connect the symptoms you saw plaintiff           12          A. I remember a conversation recently about
          13     experiencing with his ADHD with him running out of      13     the deposition here. Prior to that, I believe there
          14     time, because to me it seems like that is the           14     was a conversation about getting the documentation
          15     plaintiff informing -                                   15     you wanted from the - our cows:ling center, anl we
          16         A Okay. Let me - they're all connected.             16     directed you to Shannon Evans in Knoxville.
          17     Symptoms lead to diagnosis of ADHD. ADHD has with       17          Q. In Dominica you don't remember any of the
          18     it problem; in managing time. That is why ADHD is       18     conversations you had with plaintiff?
          19     afforded extra time by the Office of Accommodations,    19          A. Like what?
          20     which considers it a disability, all right,             20             I mean - about applying for
          21     according to the American Disability Act.               21     accommodation?
          22            It's a condition, which we support               22             Are you saying I don't remember any of the
          23     students, who have ADHD, for extra time.                23     conversations?
          24            Does that help you?                              24          Q. Well, because a couple of times you said,
           25           So we have no problem with a student             25     it's not in the document, it's not in the coms:ling



                                                                                              7 (Pages 22 to 25)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 102 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 137 of 212
        10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.             Davendranand Sharma


                                                         Page 26                                                       Page 28
           1     record, and therefore, you can't recall.                1    don't give it from the clinic, from the counseling
           2             Do you recall any information that was not      2    services.
            3    in the documents?                                       3        Q. But you would give information to -
            4         A. I recall a lot of - your history, your          4        A. Yes. We pass the records.
            5    medical history, your concerns about your emotions,     5        Q. And so, how would you help these students?
            6    your relationship difficulties, your problems with      6           Would you recommend, based on their
           7     passing the exams. I recall a lot of those. But         7    documentation and the symptoms you observed, that
            8    specific words or conversations, I don't I              8    they get testing accommodations?
           9     certainly don't remember you specifically saying you    9        A. Part of the counseling intake and the
          10     applied for acconunodation                             10    screening for ADHD is every student is advised that
          11          Q. Okay. Let's go to the relationship thing.      11    accommodation is available and that they have to
          12             Is it correct that you believe plaintiff's     12    apply for it if they want it. We don't encourage.
          13     relationship problems caused him anxiety?              13    We don't force. We just say to the students, "It's
          14          A. Yes.                                           14    your option It's available."
          15          Q. Do you believe that that anxiety- at           15           Not every student wants it. Some - not
          16     that time, in Dominica, did you believe that his       16    every student would want acconunodation despite
          17     anxiety was also affecting his exams in addition to    17    having the diagnosis of ADHD, which can give them
          18     theADHD?                                               18    the accommodations.
          19          A. Yes.                                           19        Q. If a student wanted acconunodations, and
          20          Q. Do you think that his anxiety contnbuted       20    you passed along the information to Ross University
          21     to him rumring out of time on his exams in Dominica?   21    administration, would you recommend in those
          22          A. It could. It's just speculation, because       22    situations that they get academic accommodations?
          23     it's one of the factors that can affect academic       23        A. Absolutely, yes.
          24     performance. Sure, it could have affected              24        Q. So if a student came to you and said he
          25     performance.                                           25    was rumring out of time, do you think that- if the


                                                         Page 27                                                       Page 29
            1       Q. Have you helped other students to get test        1    student told the academic -- if the student told the
            2    accommodations at Ross University?                      2    accommodation coordinator he was running out of time
            3       A. Yes.                                              3    on his exams, would that constitute informing him
            4       Q. Compared to plaintiff, have other students        4    the need of more time on his exams?
            5    with less documentation of ADHD received                5        A. If the student told the accommodations
            6    accommodations at Ross University?                      6    office.
            7       A. There have been students with the                 7        Q. yes. The point rm trying to express here
           8     diagnosis - they may have less docmnentation, but       8    is that students don't necessarily know the specific
           9     everyone has the diagnosis adequately diagnosed,        9    language, according to the ADA or to the
          10     including you.                                         10    Rehabilitation Act, what constitutes a request
          11        Q. When you say, "may have less," less in           11    They simply may say that they need help some way,
          12     what aspect?                                           12    that rm running out of time on exams, rm not
          13        A. Acconunodation is not my portfolio. I can        13    completing exams.
          14     only send the docmnentation to the acconunodations     14        A. Uh-huh. I understand.
          15     office, what we have, and they would receive           15        Q. Does a student need to expressly request
          16     accommodation So based on the acconunodations          16    and say "accommodations" in order to get
          17     office assessment that all the docmnents are in        17    accommodations?
          18     place.                                                 18        A. Yes, they have to. It's always done by
          19            So your question is relating to yourself.       19    the counseling service part of our process when we
          20     You have - you have good documentation, in my          20    make the diagnosis of ADHD. It's called "standards
          21     opinion Other students may have had one less test      21    practice" or ''best practices."
          22     done, but still with a good diagnostic report of       22            Every person who is diagnosed with ADHD is
          23     ADHD. So they would be given accommodations.           23    guided to the student handbook that there is
          24            But they have to fulfill the acconunodation     24    accommodations available. The process is very
          25     office's - accommodation is not my portfolio. We       25    straightforward. They need to go to the


                                                                                             8 (Pages 26 to 29)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 103 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 138 of 212
        10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                Davendranand Sharma


                                                         Page 30                                                         Page 32
            1    accommodations office, anl then, that - what              1      agreed upon in December 2015?
            2    happens then is, they're interviewed by the               2          A No. There's no evidence that there was a
            3    accommodations officer. That is not for us. He            3      document requesting accommodation.
            4    does it - he or she does an interview of the              4          Q. Not requesting accommodation.
            5    student Anl if he's satisfied that there's                5             Requesting that the counseling center send
            6    evidence of a disability, the student shows him the       6      the documentation -
            7    fact that they have a diagnosis of ADHD, the student      7          A No, there is no - there's no evidence of
            8    then makes the accommodation request on the form          8      a request for sending a record.
            9    that the accommodations office has, anl the student       9          Q. -in December 2015.
          10     would ask us to submit his or her records to -           10          A There's a request for sending information
          11     that's the process.                                      11      about the plaintitl's return to the U.S. for
          12        Q. So once they ask you to submit their               12      emotional support in December 2015. We received -
          13     documents-                                               13      in December 2015, as far as my records show, my
          14        A. Yes.                                               14      recollection, there's no request for release for
          15        Q. -to-                                               15      accommodations. You understand?
          16        A. The accommodations office.                         16          Q. Can you please read on that form what it
          17        Q. That is when the obligation is triggered?          17      says under 'This information is released for the
          18        A Yes. That's when we can only release the            18      following purpose"?
          19     student's records; only after that process is            19          A "To facilitate treatment planning" and "to
          20     completed, the process which I just outlined, where      20      provide information relevant to accommodations or
          21     the student is the one that must make the request.       21      medical leave of absence."
          22        Q. Please see Exhibit DE-05.                          22          Q. Under that -
          23             (Thereupon, the referred-to document was         23          A And then, there is "Other" not ticked.
          24             marked by the court reporter for                 24             So the boxes are ticked for "facilitate
          25             Identification as Plaintiffs Exhibit             25      treatment planning" and "to provide information


                                                         Page 31                                                         Page 33
            1          DE-05.)                                             1      relevant to accommodation academic accommodation
            2    BY MR AWODIYA:                                            2      and/or medical leave of absence."
            3       Q. Is this the docwnent you were talking               3          Q. Under that, what is the next box checked?
            4    about?                                                    4          A "I authorire ongoing communication unless
            5       A This is the document about release of                5      I revoke this consent."
            6    informatioIL The document about requesting                6          Q. Did you not feel that there was an ongoing
            7    accommodations is not this document. This Exhibit,        7      obligation?
            8    DE-05, is not the request for accommodatioIL              8          A For?
            9        Q. But this is the docwnent for the                   9          Q. The purpose of this document for academic
          10     counseling center to sern the information?               10      accommodations - for information relevant to
          11         A That's correct.                                    11      academic accommodations?
          12         Q. Okay. Did you sern any of plaintiffs              12          A No. I said it just now. No. This
          13     information to Ross University's administrators?         13      document was done in the context of the plaintiff
          14         A. Not me. I didn't sern anything.                   14      needing to return to the USA early, because the
          15         Q. Do you know if anyone else did?                   15      plaintiff had emotional crisis and there were
          16         A I wouldn't know for sure, but I believe a          16      concerns about the patient's safety. So the
          17     request was made for the release of your                 17      counseling service, including myseU: and the
          18     accommodation [sic], but this was not in that time.      18      university administrator supported the plaintiff
          19     This was more recently when the plaintiff had left       19      returning early, and that involved changing the
          20     the university anl returned to the U.S. for the          20      plaintitl's return ticket which the plaintiff
          21     comprehensive shelf.                                     21      couldn't afford at this time.
          22         Q. Is it correct that the document for the           22             So I wrote to the university's
          23     release-                                                 23      administrative director asking them to support the
          24         A. Uh-huh.                                           24      student, to return him early, because the
          25         Q. - to Ross University administration was           25      plaintitl's mother was very worried about the



                                                                                                9 (Pages 30 to 33)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 104 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 139 of 212
        10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                   Davendranand Sharma


                                                           Page 34                                                          Page 36
           1     plaintiff.                                                  1      their portfolio. I can only say, from my
           2             So this document was signed for that                2      experience, a verbal request is not a request for
           3     purpose, so we can give infonnation about the               3      accommodations.
           4     plaintiffs emotional health and request an early            4         Q. Would you say that when the diagnosis was
           5     return. This document was not for releasing                 5      made-
           6     infonnation about accommodation, because there was           6        A. Uh-huh.
           7     no request for accommodations from me in                    7         Q. - and after you observed all the
           8     December 2015.                                               8     symptoms, that Ross University had possession of all
           9             To make it more clear, there was no                  9     the necessary documents of plaintifl's ADHD and the
          10     diagnosis at that time. It was just at the start of        10      symptoms of his ADHD?
          11     preliminary testing, screening for ADHD. So there          11         A. Yeah, we had - we had made a diagnosis.
          12     was no way documents could have been sent to support       12      The diagnosis was done, and we accepted, and the
          13     accommodations for ADHD, because the diagnosis was         13      student was - the plaintiff was being treated.
          14     not made. It makes no sense.                               14         Q. Earlier you said that students with less
          15         Q. So when the diagnosis was made and                  15      documentation have received - you said earlier
          16     plaintiff did not revoke his consent, would that not       16      students with less documentation of ADHD have
          17     be considered ongoing?                                     17      received accommodation action compared to plaintiff.
          18         A. Ongoing to what?                                    18         A. Uh-huh.
          19         Q. Well, you said the documents didn't exist           19         Q. Do you think that is fuir?
          20     at that time.                                              20             MR ROMAN: I'll just object as to vague
          21         A. The diagnosis didn't exist.                         21         as to what "fuir" means.
          22         Q. But the diagnosis existed after the winter          22      BY MR AWODIYA:
          23     break?                                                     23         Q. Let me rephrase.
          24         A. Yes. Yes.                                           24             Do you think that plaintiff was treated
          25         Q. Why weren't those records sent?                     25      equally?


                                                           Page 35                                                          Page 37
            1         A. Because, as I said, we do not release                1         A. Well, I don't think there was a question
            2    infonnation unless we request - we receive a                 2     of equal treatment, if the plaintiff didn't apply
            3    request either from the student, who has the                 3     for accommodations. If the plaintiff had applied
            4    diagnosis, and that has to be in writing, not a              4     and did not get it, I would say, seems something is
            5    verbal request, or it has to come from the                   5     not right. We would have to look at why that was
            6    accommodations office in writing under a protected           6     not given. And that's not my portfolio. I can only
            7    e-mail that the - that they are going through the            7     say that the documentation that the plaintiff had
            8    process of supporting a request for accommodation.           8     appeared to me to be adequate for accommodations.
            9    There was no request made for accommodations. So             9         Q. So you believe that plaintiff had adequate
          10     that's why I said, there's no request. We cannot           10      documentation of his ADHD to get test
          11     give out infonnation to the accommodations office.         11      accommodations?
          12     Then we would be sued for giving infonnation beyond        12          A. That's me. I believe that. Again, that
          13     the scope. The scope of this document was only to          13      doesn't mean the plaintiff would get accommodations,
          14     get the plaintiff back home early.                         14      because the final say is the accommodations office.
          15          Q. Give me one second. I had something and            15      It doesn't mean that I believe it's correct. The
          16     it's coming back to me.                                    16      accommodations office have their own regulations,
          17          A. Take your time.                                    17      and they could override my request, because I'm the
          18          Q. Oh. You said that a request has to be in           18      one - or the doctors make the request for
          19     writing?                                                   19      accommodation, which is time-and-a-half You get
          20          A. Yes.                                               20      extra time. We actually put it we want the student
          21          Q. What if it's oral?                                 21      to get the accommodation, but that doesn't mean they
          22          A. No.                                                22      get it.
          23          Q. It doesn't count?                                  23          Q. So even though you think that plaintiff
          24          A. It doesn't count to the accommodations             24      needs extra time, it's out of your hands as to
           25    office, as far as I know, and that's their - that's        25      whether he gets extra time for his exams?



                                                                                                 10 (Pages 34 to 37)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 105 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 140 of 212
        10/16/2018                 Awodiya, Oluwarnuyiwa v. Ross University School of Medicine et al.               Davendranand Sharma


                                                            Page 38                                                       Page 40
            1         A. No. I go back to that question, and I              1              In relation to plaintiff, are you saying
           2     hope you can understand. I cannot determine whether        2      that - I forgot it. Sorry. I lost the second half
           3     you need or the plaintiff needs. The plaintiff has         3      of that--
            4    to detennine that. Many students do not ask for            4          A. Thought?
           5     accommodation with the diagnosis.                          5          Q. Of the thought, yeah.
           6          Q. So why did you prescribe him Ritalin?              6          A Take your time, because -
           7          A. Because that's my duty, to treat the               7          Q. I can't get it back.
           8     condition. So I'll give you an example. A student          8          A Do you want a break again?
           9     may have the diagnosis, is on treatment, the               9          Q. No, I don't think a break will help. Let
          10     performance is much better, the student chooses not      10       me just go back to my --
          11     to apply for accommodation.                              11               So is it correct to say that even if you
          12          Q. So ifthe student -                               12       observed that plaintiff needed extended testing
          13          A. Which was the plaintitl's case.                  13       time, that's not your role?
          14          Q. In plaintitl's case?                             14               Your role is to treat it with medication?
          15          A. Medication helped the plaintiff to perform       15               MR. ROMAN: rll just object. I believe
          16     better, do well on the exams. So the question about      16           it misstates prior testimony.
          17     if I if felt there was a need for extra time does        17               THE WITNESS: Yes. Yes. It's the same
          18     not arise. It does not arise, because it is not me       18           thing we went over. I can't determine the
          19     that can say the plaintiff needs the extra time.         19           need. It's not my opinion about that. The
          20     It's the plaintiff, especially after receiving           20           patient - the person has to determine if they
          21     treatment, that detennines I would also like to get      21           feel, despite medication, they still want extra
          22     extra time.                                              22           time. It's not my determination.
          23          Q. Did you feel - at that time, in Dominica,        23       BY MR. AWODIYA:
          24     is it correct to say that you believed that his ADHD     24           Q. Is it correct that plaintiff was on
          25     significantly limited his ability to complete exams      25       Ritalin in February 2016?


                                                            Page 39                                                       Page 41
            1    on time and that's why you prescribed the Ritalin?         1          A. Correct.
           2         A. That's a very long question. Do you mind            2          Q. Is it also correct that plaintiff told you
            3    going back over it, because rm not sure which one          3      that he was running out of time on his exams a month
            4    rm answering to?                                           4      later, in March 2016?
            5        Q. No problem. Let me rephrase it.                     5          A. It's recorded. We have it recorded, yeah.
            6            Did you prescribe the Ritalin to plaintiff         6          Q. That's a yes?
           7     because his ADHD significantly limited his ability         7          A. Yes.
            8    to complete his exams on time?                             8          Q. Do you know if Ross University's
            9        A. So I - let me answer - it's two                     9      faculty- do you know if Ross University's faculty
          10     questions in one. Maybe you could split it up.            10      handbook contains any information related to
          11             So did I prescnbe the treatment for the           11      accommodating disabled students?
          12     ADHD? Yes. I treat ADHD with stimulant medication         12          A. Faculty handbook or student handbook?
          13     primarily.                                                13          Q. Faculty.
          14             The second part of the question, did I            14          A. I don't recall reading into the faculty
          15     prescribe the stimulant because the student needed        15      handbook. So I can't answer that question. I know
          16     extra time? That is part of the problem that ADHD         16      the student handbook has it. It's not relevant for
          17     has, that it causes the student to take longer. So        17      the faculty handbook to have it. It's a student
          18     the medication would help that. So, yes, that's           18      issue, not the faculty that applies for it.
          19     correct                                                   19          Q. If plaintiff informed another professor at
          20           And by helping the student to be better,            20      RUSM that he needed accommodations -
          21     the need for extra time is often curtailed.               21          A. Uh-huh.
          22        Q. So are you trying to say that because of            22          Q. - is that enough to trigger the intuiry
          23     medication it takes the question of required              23      into whether he needs an accommodation?
          24     extended testing time out of the equation?                24          A. I can't answer that, because that's not -
          25            Let me rephrase.                                   25      that's speculating on my part. I don't know what



                                                                                               11 (Pages 38 to 41)
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                                                                                                               15eb13da-d2c1-4023-bda4-c358c06300aE
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 106 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 141 of 212
        10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                  Davendranand Sharma


                                                         Page 42                                                           Page 44
           1     would lead to this - what did you call it, the            1         A If the student told the dean, that's his
           2     process?                                                  2      prerogative.
           3         Q. The inquiry.                                       3         Q. So then, it wouldn't be confidential?
           4         A The injuiry, yeah.                                  4         A The dean cannot ask for the accommodation
           5         Q. Let me rephrase.                                   5      on the student's behalf.
           6         A. The only thing I know leads to                     6         Q. The dean is not part of the counseling
           7     accommodation is the student has to apply for it.         7      center.
           8         Q. I just want to clarify something. Are you          8          A It doesn't matter. Nobody. Nobody can
           9     saying that the student informing the school of the       9      ask for the accommodation. Only the student.
          10     need for accommodations is different than requesting     10          Q. So if the student tells the dean, he can't
          11     an accommodation?                                        11      tell anyone else?
          12         A. They're both the same thing. So the               12          A No. Unless the student gives him
          13     request or the informing the school has to be            13      permission in writing.
          14     specifically to the accommodations officer and has       14          Q. Is that why you didn't inform the
          15     to be done in writing.                                   15      accommodations coordinator that he might need
          16         Q. So only him can be informed of the need?          16      accommodations?
          17         A. Only the student can make the request for         17           A We've been over that. I cannot do that.
          18     accommodation to the accommodations office.              18      It's not me to say the student needs it. The
          19         Q. So if the student requested accommodations        19      student is the one to say, I need it. I want it.
          20     from other faculty, he's liable for not getting          20      When the student makes the request, the proper
          21     accommodations?                                          21      documentation is in place, the student gets the
          22             MR ROMAN: I'll just object to two                22      accommodation. It's not a difficult thing to
          23         things. One, I think it calls for a legal            23      understand
          24         conclusion, in terms of some of the language,        24          Q. And his psychiatrist can't inform the
          25         and also, it's been asked and answered.              25      school?


                                                         Page 43                                                           Page 45
           1     BY MR AWODIYA:                                            1          A. No. Unless the student writes to say,
           2        Q. Let me rephrase.                                    2      please release by medical records. I have applied
           3            If plaintiff informed the dean -                   3      for acconunodation.
           4        A. Uh-huh.                                             4          Q. A third party psychia1list. Let's say
           5        Q. - that he needed accommodations for his             5      someone at Kaiser Permanente told the dean that his
           6     ADHD, would that be enough?                               6      disability was affecting his academic performance.
           7        A. Enough to get accommodations?                       7      The dean is still not obligated to acconunodate the
           8         Q. To put the school on notice.                       8      student?
           9         A. On notice for?                                     9          A. No.
          10         Q. That he need an accommodation.                    10          Q. 1bankyou.
          11         A. It's not enough. The student can inform           11              Iunde~tanditfully. 1bankyouvery
          12     anybody. Nobody can apply for accommodation. Not         12      much.
          13     the student's mother, the student's fitther, not the     13             And just to clarify, on Exhibit DE-05,
          14     student's psychiatrist, the student's counselor.         14      even though it says, "ongoing communication," you do
          15     Nobody can apply for accommodations. Only the            15      not consider it ongoing communication?
          16     student, and it has to be done in writing. It has        16          A. You've got to clarify what you mean by
          17     to be done through a process where they go and get       17      that If it's ongoing - this allows us to provide
          18     interviewed by the accommodations officer. The           18      acconunodation for a future request. If the student
          19     officer will now be satisfied that they have a           19      says, release my -- release records, because I've
          20     proper diagnosis made. Then start the process.           20      applied for accommodation, yes, it's been signed, so
          21     Nobody else, mother, fitculty, the dean, the             21      the student doesn't have to go through this form
          22     president of the USA. You know, it's                     22      again.
          23     confidentiality.                                         23          Q. He doesn't have to go through the form
          24         Q. Is it still confidential if you told the          24      again?
          25     dean himself or if -                                     25          A. It has a limitation period. rm trying to



                                                                                               12 (Pages 42 to 45)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 107 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 142 of 212
        10/16/2018                    Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                Davendranand Sharma


                                                             Page 70                                                         Page 72
           1                MR. ROMAN: Would this be helpfu~                  1       about changing his grade?
           2            Mr. Awodiya? This is the December 9th not.es.         2           A. Because he's upset about mt passing,
           3            I don't know if that's what you're reading off        3       obviously, I presmne. Correct?
           4            of now. This appears at least to be the first         4           Q. And you also mted in December he was
           5            visit. We've seen the December 12th.                  5       showing symptoms of ADHD?
           6                MR. AWODIYA: This is enough. Can you              6           A. Sure.
           7            please read the first sentence?                       7           Q. When he signed the form for relevant
           8                MR. ROMAN: And we'll mark this one as             8       acconunodations, do you mt think that was relevant?
           9            DE-06. Is that all right?                             9           A. Not - what wasn't relevant?
          10                MR. AWODIYA: We can do that.                     10           Q. His symptoms of ADHD arxl him failing the
          11                (Thereupon, the referred-to document was         11       semester by one point.
          12                marked by the court reporter for                 12           A. That's two things you're asking. Not
          13                Identification as Plaintiffs Exhibit             13       failing the semester - arxl what was the other one?
          14                DE-06.)                                          14       I can't answer to both the questions. So which one
          15                THE WITNESS: Uh-huh.                             15       you want?
          16         BY MR. AWODIYA:                                         16               So what was relevant? What are you
          17            Q. Could you read the first line under               17       talking about?
          18         "Progress"?                                             18           Q. I'm sorry. Let me start over. I forgot
          19            A. I read it, yes.                                   19       what I asked you. I was saying something about - I
          20            Q. Can you-                                          20       was saying something about - oh. He was upset
          21            A. "Saw Mr. Cuffy after he received a failing        21       about failing the semester.
          22         grade for semester 5 and felt hopeless entertaining     22           A. Uh-huh.
          23         thoughts of ending his life."                           23           Q. He went in to speak to the dean about
          24            Q. And is it correct that this document also         24       changing his grade.
          25         says, "Felt he was treated unfairly because he          25           A. Yes.


                                                             Page 71                                                          Page 73
           1         failed by one point"?                                     1         Q. And you noticed symptoms of ADHD -
           2             A. Where do you see that? Where is that?              2         A. Yes.
           3             Q. It's about four or five lines down                 3         Q. - to the extent that you recornmended an
           4             A. Oh, yes. Yes, yes. Good.                           4      assessment for the ADHD.
           5             Q. And then, also says, "He wanted to speak           5         A. Yes. We went over that.
           6         to the dean about changing his grade."                    6         Q. And he signed the form for the release of
           7             A. Yes.                                               7      information relative to academic accommodations.
           8             Q. It also says, "He was advised to speak to          8          A. Yes.
           9         the chair of promotions arxl student services."           9         Q. If you noticed these things -
          10             A. Yes. Good. Sounds like good advice.               10          A. Yes.
          11             Q. So-                                               11         Q. - at that time -
          12             A. Yes.                                              12          A. Uh-huh.
          13             Q. - what was the reason of your first               13         Q. - how is that not relevant?
          14         encounter with plaintiff?                                14          A. To what?
          15             A. Emotional problems. So mw there's a               15          Q. Academic accommodations.
          16         failing grade, which I didn't remember.                  16          A. There's no relevance - this form was done
          17             Q. Let me rephrase.                                  17      for - for the emotional crisis to get the student
          18                Did his relationship set the basis for            18      back home.
          19         your first encounter with plaintiff?                     19             Relevance for academic accommodation can
          20             A. Look, your emotional problems was the             20      only come in place ifthere is a request. We went
          21         reason that the student was referred to me. Whether      21      over this over and over. Yes, yes, I would support
          22         it was because the underlying relationship was a         22      academic accommodation 100 percent, 1,000 percent,
          23         factor, that he failed was a factor, the situation       23       100,000 percent if a request is made. I cannot send
          24         was, there was an emotional crisis.                      24      details of a diagnosis to anybody unless there's a
          25             Q. Why did he want to talk with the dean             25      request to send it and for a purpose. It's not my


                                                                                                   19 (Pages 70 to 73)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 108 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 143 of 212
        10/16/2018                Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                Davendranand Sharma


                                                         Page 74                                                         Page 76
            1    opinion It is what the plaintiff wants.                   1      the exhibit mnnber on it so we don't get too
            2           He wants accommodation, put it in writing.         2      confused.
            3    It's done. It's granted. The university does rot          3         A. Uh-huh.
            4    deny students accommodation once docwoontation is         4         Q. This is the December 9th, 2015 rote.
            5    adequate.                                                 5             Are these your rotes from your appointment
            6         Q. I don't want to dive back into the form           6      with Mr. Awodiya on December 9, 2015?
            7         A. That's what I'm saying. Yeah. I think             7         A. Yes.
            8    we've been over this and over this.                       8         Q. AOO were these rotes taken at or around
            9         Q. I was just asking about the infonnation           9      the time of that appointment?
          10     being relevant to academic accommodations.               10         A. Yes.
          11            So let me ask you this.                           11         Q. Are these record that are kept by the
          12          A. Yes.                                             12      counseling center in the ordinary course of it's
          13          Q. His ADHD symptoms that you observed in           13      business?
          14     December 2015 -                                          14          A. Yes.
          15          A. Uh-huh.                                          15         Q. Okay. On that particular document, I want
          16          Q. - do you consider it relevant to academic        16      to draw your attention to a paragraph towards the
          17     accommodations?                                          17      bottom of that page. It starts with, "He had a
          18          A. Yes. Yes. We went over that. AOO the             18      relationship break up."
          19     diagoosis was correctly made, that there was ADHD        19              Do you see that paragraph?
          20     that the student had for a long time and did rot get     20         A. Yes.
          21     treated for, and then, comes to me first time, gets      21          Q. Take a moment to review that paragraph and
          22     a diagoosis, and is treated for it. So that's it.        22      just let me koow when you're finished.
          23     Student was helped. The student performed well.          23          A. Yes.
          24     Whether repeating the semester helped, the student       24          Q. Would - so does this - the rotes from
          25     performed well The student left Dominica in good         25      this meeting on December 9th, 2015, does that


                                                         Page 75                                                         Page 77
            1    spirits in Apri~ went off to do the comp, right?          1      include any information you obtained from
            2    That's my recollection.                                   2      Mr. Awodiya about relationship issues?
            3        Q. (Nod in the positive.)                             3          A. Yes.
            4        A. Student did not apply for accommodation or         4          Q. And would that paragraph reflect the
            5    request to give out documents for accommodation.          5      information you learned?
            6    That's it.                                                6          A. That's correct.
            7             MR. AWODIYA: I think we're good.                 7          Q. Okay. Do you see in this set ofnotes -
            8             MR. ROMAN: We'll take a short break, and         8      this December 9th, 2015 set of notes, any reference
            9        I'll have some questions, and then, we'll wrap        9      toADHD?
          10         it up. Let's take a quick break, and then,           10          A. No.
          11         we'll come back in.                                  11          Q. At this time, on December9, 2015, had
          12              (Whereupon, a break was taken from 3: 17 to     12      Mr. Awodiya been diagnosed with ADHD?
          13              3:24p.m.)                                       13          A. No.
          14                   CROSS-EXAMINATION                          14          Q. All right Do you recall when the
          15     BY MR. ROMAN:                                            15      diagnosis was actually made?
          16         Q. Good afternoon, Dr. Shanna. As you know,          16          A. The actual making of it, I think, was in
          17     we've met before. My name is Ryan Roman. I'm one         17      February 2016.
          18     of the attorneys representing Ross University.           18          Q. And if I turn your attention to Exhibit
          19              rd like to start by showing you - and I         19      03, which is in that pile in front of you, I'll ask
          20     only have a quick set of questions on the medical        20      if that is the appointment you're thinking of?
          21     notes, some of which we've gone through today, and I     21          A. Yes, that's correct.
          22     think only one of which we haven't shown you today.      22          Q. Okay. All right Next rd like to tum
          23              Starting with Exhibit 06, do you have that      23      your attention to Exhibit 0 I.
          24     in front of you still? That was the most recent one      24          A. Yes.
          25     we used from December 9, 2015. Let me just write         25          Q. And are these your notes from a meeting



                                                                                              20 (Pages 74 to 77)
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                                                                                                             15eb13da-d2c1-4023-bda4-c358c06300a'
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 109 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 144 of 212
        10/16/2018                      Awodiya, Oluwamuyiwa v. Ross University School of Medicine et al.                             Davendranand Sharma


                                                                 Page 102
            1        also the same diagnosis that we make. So that's not        1                CERTIFlCATE OF OAIB
                                                                                2
            2        uncommon that people sometimes seek a second                       STATE OF FLORIDA )
            3        opinion. The plaintiff would know what was in his          3
                                                                                        COUNIYOFBROWARD)
            4        mind when he chose to go to the other doctor. We
            5        didn't recommend that the plaintiff go and see                           I, the W1dersigited authority, certify that
                                                                                5       DAVENDRANAND SHARMA pelliOllaliy appeared befure m:
            6        somebody else, if that's what you're thinking.                     and was duly 81Mlm.
                                                                                6             Wf!NESS my hand and official seal this
            7           Q. Can you read back his statement earlier in                   29th day of October, 2018.
            8        the deposition where he says - I can pull it up            7
                                                                                8
           9         exactly for you.                                                              KElLYA ESPOSITO
          10                (Whereupon, the requested testimony was                                  Notary Public, State of Florida
                                                                                                     My Conmission No. GG248978
          11                read back by the court reporter.)                  10                    Expires: 9/3/2022
          12                THE WITNESS: That's true. What's the               11             ++++++++++++++++++
                                                                               12                     CERTIFlCATE
          13            problem? Not with a doctor in the USA We               13       STATE OF FLORIDA )
          14            recommended assessment, which was started in           14       COUNTY OF BROWARD)
                                                                               15              I, KElLY A ESPOSITO, do hereby certify
          15            our counseling center.                                          that I was authorized to and did stenograpbically
          16         BYMR. AWODIYA:                                            16       report the furqJling deposition ofDAVENDRANAND
                                                                                        SHARMA; that a review of the transcript was
          17            Q. So wouldn't it make the U.S. doctors the            17       requested; and that the transcript is a true recotd
          18         second opinion?                                                    of my stenographic notes.
                                                                               18              I FURIBER CERTIFY that I am not a
          19            A I don't know anything about U.S. doctor.                      relatiw, etq>loyre, attorney, or counsel of any of
          20         That statement that you just read is that we              19       the parties, nor am I a relati..e or etq>loyre of any
                                                                                        of the parties' attorney or counsel connected with
          21         started - recommended that - based on my seeing           20       the action, nor am I financially interested in the
          22
          23
                     your ADHD symptoms, we started the process in
                     Dominica, which was done. You had the - the
                                                                               21             IAlm
                                                                                        action.
                                                                                                           29th day ofOetober,.2°18.

                                                                                                fil~Q.~,
                                                                               22
          24         plaintiff had the Conners done. There was no              23                  KEIL A ES
          25         recommendation for going to see another doctor in         24
                                                                               25


                                                                 Page 103
           1    the USA                                                          1            ALPHA & OMEGA REPORTING SERVICES, INC.
                                                                                              1776 EAST SUNRISE BOULEYARD, FIRST FLOOR
           2             Having said that, we don't say no either.
                                                                                 2              FORT LAUDERDALE, FLORIDA 33304
           3    It's good It was good It was done and the                                            954.523.6422
           4    diagnosis was made by two psychiatrists. Wonderful.              3
                                                                                         Ryan Roman, Esq.
           5    So there's no doubt that there is an ADHD diagnosis,             4        1SE3rdAVenue, 25th Floor
           6    which should have - that's it Which was treated                           Miami, Florida 33131
                                                                                 5
           7    by me in Dominica.
                                                                                 6
           8        Q. Perfuct Perfuct                                                    Re: Oluwarruyiwa Awodiya v. Ross University School of
           9        A Yes. I agree.                                              7        Medicine
                                                                                 8        Case No. 0: 18-cv-60482-KMM
          10           MR AWODIYA: I don't have anything else.                   9
          11             THE COURT REPORTER: Read or waive?                     10       Mr.Romm:
                                                                                11              Enclosed please find your copy of the
          12             MR ROMAN: We'll read
                                                                                         deposition of Oluwarruyiwa Awodiya, which was taken
          13             THE COURT REPORTER: Are you ordering                   12       on October 16, 2018, in the above-entitled case.
          14          these transcripts?                                                 Also attached are form;; of Affidavit and an Errata
                                                                                13       Sheet to be corqileted by the deponent when reading
          15             MR AWODIYA: Of course.                                          your copy of the deposition. These form;; are
          16             THE COURT REPORTER: How do you want it?                14       self-explanatory.
                                                                                15              After the deponent has corqileted these
          17             MR ROMAN: I think we'll just do a



                                                                                                                                       ti
                                                                                         form;;, please return them to me at the above address
          18          regular order. I'll let you know if that                  16       for inclusion in the original transcript.
                                                                                17
          19          changes.
                                                                                18               Thmk '"'""      """°""""'"""
          20
          21
          22
                         (Deposition concluded at 4:01 p.m)                     19
                                                                                20                    'f1v.    a. Eiµa.u±c
                                                                                                   rt11y1]_ EspositCJI
                                                                                                                                      ~
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          23                                                                    22
          24                                                                    23
                                                                                24
          25                                                                    25



                                                                                                      27       (Pages 102 to 105)
                                                          Alpha & Omega Reporting Services, Inc.
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 110 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 145 of 212




                                  Exhibit SJ-22
                    (Excerpts of Bryan Hayse's deposition transcript)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 111 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 146 of 212



                                                                            Page 1

     1                     UNITED STATES DISTRICT COURT
     2                  FOR THE SOUTHERN DISTRICT OF FLORIDA
     3
     4     OLUWAMUYIWA AWODIYA,
     5                   Plaintiff
     6     vs.                                          CASE NO.
                                                        0:18-cv-60482-KMM
     7     ROSS UNIVERSITY SCHOOL OF
           MEDICINE, SCHOOL OF
     8     VETERINARY MEDICINE LIMITED,
     9                   Defendant.
    10


    11
    12
    13                    VIDEO-CONFERENCED DEPOSITION OF
    14                                 BRYAN HAYSE
    15
    16                               NOVEMBER 5, 2018
    17                                  3:07 P.M.
    18
    19                   ROSS UNIVERSITY SCOOL OF MEDICINE
    20                          KNOXVILLE, TENNESSEE
    21
    22
    23
    24                    Deborah West, LCR-314 (TN), CLR
    25

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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 112 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 147 of 212

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                                                                   Page2                                                        Page4   I
                       APPEARANCES OF COUNSEL                               1                 STIPULATION
         2    (Teleconference Appearance)
         3    On behalf of the Plaintiff:
                                                                            2       The deposition of BRYAN HAYSE, called as a
         4       PROSE                                                      3   witness by the Plaintiff, pursuant to all
                 Oluwamuyiwa A wodiya                                       4   applicable rules on the 5th day ofNovember, 2018,
          5      15005 Dahlia Drive
                                                                            5   at the offices of Ross University School of
                 Bowie, Maryland 20721
         6                                                                  6   Medicine, Knoxville, Tennessee, before Deborah
              On behalf of the Defendants:                                  7   West, Licensed Court Reporter and Notary Public in
         7                                                                  8   and for the State of Tennessee.
                Ryan Roman, Esquire
         8      Akerman LLP
                                                                            9       It being agreed that Deborah West, a Tennessee
                Three Brickell City Centre                                 10   Licensed Court Reporter may report the deposition
         9      98 Southeast Seventh Street                                11   in machine shorthand, afterwards reducing the same
                Miami, Florida 33131                                       12   to typewritten form.
         10     ryan.roman@akerman.com
         11   On behalf of Adtalem Global Education:                       13       It being further agreed that all formalities
         12     Valarie Bomar                                              14   as to notice, caption, certificate, transmission,
                VP, Senior Associate General Counsel                       15   et cetera, are expressly waived, EXCLUDING the
         13
                                                                           16   reading of the completed deposition by the witness,
         14
         15                                                                17   and the signature of the witness.
         16                                                                18
        17                                                                 19
        18
        19
                                                                           20
        20                                                                 21
        21                                                                 22
        22
                                                                           23
        23
        24                                                                 24
        25                                                                 25
                                                                   Page3                                                        Pages
          1            INDEX OF EXAMINATION                                 1 (3:07 P.M.)
          2                        Page                                     2               BRYAN HAYSE,
          3   WITNESS: BRYAN HAYSE                                          3 having been first duly sworn, was examined and
          4   Examination                                                   4 testified as follows:
          5   By Mr. Awodiya             5                                  5                EXAMINATION
          6   By Mr. Roman              37                                  6 BY MR. A WODIYA:
          7                                                                 7        Q Please state your name for the
          8                                                                 8 record.
          9                                                                 9        A Christopher Bryan Hayse.
         10             INDEX TO EXHIBITS
                                                                           lO        Q Dr. Hayse, my name is Oluwamuyiwa
         11                           Page
                                                                           11 Awodiya and I am the plaintiff in this case against
         12   Exhibit Number 1,
                                                                           12 Ross University School of Medicine.
                Student handbook 2015-2016                  39
                                                                           13            During this deposition I will in
        13
        14
                                                                           14 most part refer to myself as plaintiff. For the
        15
                                                                           15 record, do you understand that if I say plaintiff
        16                                                                 16 that I am referring to myself?
        17                                                                 17        A I do.
        18                                                                 18        Q Additionally, let me tell you some
        19                                                                 19 ground rules for the deposition and if you have an
        20                                                                 20 questions, you can ask me.
        21                                                                 21            First, you are under oath and have
        22                                                                 22 sworn to tell the truth. The effect of that oath
        23                                                                 23 is the same as if you were testifying in court.
        24                                                                 24            If I ask you a question that you
        25                                                                 25 don't understand, tell me you don't understand it

                                                                                                                     2 (Pages 2 - 5)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 113 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 148 of 212

        ~------~--             -----------·--
                                                              Page6                                                       Page   81
              and I will rephrase it as often as necessary so          1 plaintiff in December of2015?
         2    you're comfortable that you understand the question      2       A Ido.
         3    you're answering. It's also very important that          3       Q Can you tell me about your encounter
         4    you answer my questions through spoken word, not         4 withhim?
         5    through facial expressions or gestures.                  5       A     I can. I vaguely remember meeting
         6              Please refrain from answering                  6 with plaintiff, and I don't recall what the meeting
         7    questions with sounds like uh-huh or uh-huh or           7 was about. Since the lawsuit has come to my
         8    words that may not get transcribed accurately. You       8 attention, I was shown documents that were from
         9    must actually say a word. If you mean yes, say           9 Mr. Cuffy referring to mine and your, plaintiff's
         IO   yes, not uh-huh.                                        10 meeting, which jogged my memory from it.
        ll              Also, please allow any questions and          11            So that's all I remember from this       I
        12    objections to be fully stated before you speak.         12 meeting. I don't remember specifics. I remember j
        13    The court reporter cannot take down more than one       13 meeting after December, but I don't remember the I
        14    person speaking at the same time. Otherwise, the        14 specifics of the December meeting.                  I
        15    record will be jumbled and the questions and            15       Q You said the document has jogged            i
        16    answers will be disjointed.                             16 your memory. Do you know what it caused you td
        17              Ross lawyers may make objections to           17 remember?
        18    questions that I ask you. They are objections for       18       A     Only that my memory that you and I
        19    the judge to consider later. You are still              19 met in January was inaccurate and that you and I
        20    required to answer the question unless they             20 had met previously in December.
        21    instruct you not to.                                    21       Q What is your position at Ross
        22              Everything that is said is being              22 University?
        23    taken down by the court reporter verbatim. You          23       A     I am currently the Associate Dean
        24    will have an opportunity to read the deposition         24 for Medical Science Student Affairs.
        25    transcript and make corrections you believe are         25       Q As part of that position, have you
                                                              Page7                                                       Page9   1
                                                                                                                                  I
         1 necessary.                                                      ever handled accommodations?
         2           If you make changes in your                       2         A Rephrase.
         3 testimony that are inconsistent with the answers            3         Q Have you ever played any role in a
         4 given during the deposition, I will be entitled to          4   student getting academic accommodations?
         5 comment on those discrepancies at trial to question         5         A Yes is the quick answer.
         6 your truthfulness.                                          6         Q Can you describe it to me?
         7           Do not guess when providing your                  7          A Yes. For the most part in the
         8 responses. Instead, please provide your best                8   process I am -- Mr. Stewart-Fulton, who I believe
         9 estimate based on your recollection. If you need            9   you spoke with previously, is the chief officer
        10 to take a break at any time, please let me know.           10   over accommodations for the Medical Sciences for
        11 All I ask is we not take a break while there is a          11   the first five semesters.
        12 question pending.                                          12              In my role I supervise
        13           Are you here today under the                     13   Mr. Stewart-Fulton, so he and I have conversations
        14 influence of any medication or suffering from any          14   about pending applications as he has questions
        15 physical, mental, or emotional condition that would        15   about them or just to get typical updates as a
        16 affect your ability to hear my questions or to give        16   supervisor would, as well as within the process I
        17 truthful answers?                                          17   oversee, if anybody appeals an accommodation that
        18        A I am not.                                         18   he has made, I would be the one that would review
        19        Q When did you first hear about this                19   the appeal of that person.
        20 lawsuit?                                                   20          Q Is Mr. Stewart-Fulton required to
        21        A Earlier this semester. I don't know               21   comply with Title III of the Americans with
        22 that I can recall a specific date.                         22   Disability Act?
        23        Q When did this semester start?                     23              MR. ROMAN: I would object to the
        24        A In September.                                     24          extent it calls for a legal conclusion,
        25        Q Do you remember ever seeing                       25          but you're welcome to answer the

                                                                                                                3 (Pages 6 - 9)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 114 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 149 of 212



                   question.
                                                               Page 10
                                                                                                       -
                                                                                      A I am unsure. I would have to refer
                                                                                                                               """"
         2             THE WITNESS: Yeah. I would say as                    2   to our legal counsel to ask that question if it         1
                                                                                                                                        I
         3         far as the ADA is concerned, you know, we                3   were to.                                                i
         4         comply with, and our policies are built                  4         Q Do you know -- like, do you -- has              I
                                                                                                                                        I
         5         around having accommodations made for the                5   anyone, not on a legal matter, more so as to a
         6         USMLE and around the USMLE processes and                 6   procedure matter, is there a procedure for students
          7        policies.                                                7   to report discrimination?
          8            Because at the end of the day we                     8         A Yes. So to report discrimination, a
          9        want to make sure our students have                      9   student would contact our office and we would refer
         10        proper documentation to be at the best                10     them to our Title m coordinator or a manager of a
         11        stage to get accommodations from USMLE                11     person, depending on what the allegations were.
         12        when they get to step one and beyond.                 12           Q Is RUSM required to comply with
         13            Although what we do does not                      13     Title IX in Dominica?
         14        determine that necessarily. So I would                14                MR. ROMAN: Same objection. It
         15        say that what we do is uses ADA as                    15            calls for a legal conclusion. You can
         16        guideline, but we are not necessarily                 16            answer if you know.
         17        beholden to.                                          17                THE WITNESS: I would seek counsel's
         18   BYMR.AWODIYA:                                              18            advice in compliance of the question, but
         19       Q Do you know if it's required to                      19            by the spirit of it we tried to abide by
         20   comply with Section 504 of the Rehabilitation Act?         20            it.
         21            MR. ROMAN: Same objection, but you                21     BY MR. AWODIYA:
         22        can answer.                                           22           Q Okay. Just state for the record,
         23            THE WITNESS: Is that the same                     23     Ross lawyers are not -- their objections are not
         24        question?                                             24     advice. Their objections are for the judge to
         25                                                              25     consider later. Unless they ask you not to answer
                    - - - - - - - - - - - - - - - - P - a g _ e _ l _ l+-                                                      Page   131
         1 BY MR. A WODIYA:                                                     a question, you can go ahead and answer a question.     I
         2     Q No. Section 504 of the                                     2        A      Uh-huh.                                     I
         3 Rehabilitation Act is a different law than Title                 3             MR. ROMAN: Just to respond for the
         4 III.                                                             4          record, I think Dr. Hayse did answer that
         5          A     Yes, I apologize. Same answer to                  5          question. It's just that his answer is
         6    the previous question. I apologize, I missed that             6          he would talk to Ross lawyers. I don't
         7    piece.                                                        7          think he was talking about me.
         8          Q Do you know if Ross is required to                  8               THE WITNESS: Correct. That is
         9    comply with any U.S. laws in Dominica?                      9            correct. So we have a relationship with
        10              MR. ROMAN: Same objection. It                    10            our legal team. So anything that comes
        11           calls for a legal conclusion. You can               11            to us that might be a legal matter, I
        12           answer if you know.                                 12            always refer to them to ask advice before
        13              THE WITNESS: I would say I will                  13            responding because I don't have a legal
        14           refrain from answering because that is a            14            background.
        15           very wide-open question.                            15               So I want to make sure that the
        16    BY MR. A WODIYA:                                           16            advice I give to a student or anybody
        17          Q Are you aware of any contract                      17            coming forward that I give the correct
        18    between Ross University in the United States that          18            advice to get them through the process
        19    states that they must comply with U.S. laws, some          19            for whatever reason.
        20    U.S. laws in Dominica?                                     20     BY MR. A WODIYA:
        21          A     I am not aware of any such contract.           21           Q Okay. I see. For the record, I
        22          Q If a violation to the Americans with               22     wasn't saying that you weren't answering. It was
        23    Disability Act occurred, could the student -- is           23     more about the advice part.
        24    there any authority outside of Ross that the               24               Let me clarify a little bit about
        25    student could go to?                                       25     the legal situation. When I asked if they are
        ~--------------------~--------··-------·



                                                                                                                  4 (Pages 10 - 13)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 115 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 150 of 212



             I   required to comply, I mean does~=,-~:::;;~~            I             Do you remember why you      sent~""    16
                                                                                                                                •
             2   employees to comply, not if they're legally            2   email to Mr. Cuffy?
             3   required to comply. I am asking if Ross, the           3         A No, unfortunately I do not remember.
             4   entity, requires their employees to comply with th     4         Q Do you remember if you and Mr. Cuffyj
             5   American with Disability Act.                          5   followed up after this email?                       i

             6         A I am not sure I understand the                 6         A I do not remember.                          I

             7   question.                                              7         Q Would you have only sent that email I
             8         Q It was a little long. Let me make              8   at the request of the student?                      I

             9   it shorter.                                            9         A No.                                             !


            10         A Yeah.                                         10         Q Is there any possible reason why you
            11         Q Does Ross University itself require           11   would send an email to Mr. Cuffy regarding a
            12   its employees and faculties to comply with Title      12   student?
            13   III of the American with Disability Act in            13         A Typically ifl reach out to
            14   Dominica?                                             14   counseling or Mr. Cuffy, in this case, it would be
            15         A Not to my knowledge.                          15   ifl referred a student to counseling, would be one
            16          Q Is that also correct for Section 504         16   reason, or if counseling had asked me to see
            17   of the Rehabilitation Act?                            17   somebody or had, I guess, opened the door to a
            18         A That is correct.                              18   meeting with a student beforehand.
            19          Q Okay. I am not going to keep you             19             So that would be two examples of why
            20   long, because there's not much -- it's just I want    20   I would have reached back out, either to say I hav
            21   to go to the counseling documents just to see if we   21   seen the student at your direction or to say I have
            22   can jog your memory a little bit about our            22   met with the student you have asked me to speak
            23   interaction.                                          23   with.
            24              Counsel, can you hand Dr. Hayse both       24         Q I don't know if Ross has one of the
            25   the counseling documents, the one labeled RUSM        25   documents, but I think they can fact check. In one,
                                                             Page 15                                                      Page 17
             1   000141and144?                                          1   of the counseling documents, Dr. Sharma states that
             2              MR. ROMAN: Yes. We can use the              2   plaintiff wanted to see you because of his grade
             3          same composite exhibit called Fulton 1          3   for our encounter in December of2015.
             4          which has those two pages as the first          4              Does that job your memory?
             5          two pages of the exhibit.                       5         A It does not.
             6   BY MR. A WODIYA:                                       6         Q Do you have any reasons specific to
             7          Q Okay. Dr. Hayse, do you see in this           7   grades and academic situations as to why you would
             8   document where it says, "Client returned to office     8   send an email to the counseling center?
             9   after talking to Dr. Hayse"?                           9         A I do not have any specific criteria
            10          A I do.                                        10   for that, no.
            11          Q "And student affairs regarding his           11         Q Would you be able to speak to
            12   academic situation"?                                  12   Mr. Cuffy about a student without a release of
            13          A I do.                                        13   information form?
            14          Q Do you remember what the academic            14         A I would. I could speak to him. He
            15   situation was?                                        15   might not be able to speak to me.
            16          A Unfortunately, I don't.                      16         Q So having a discussion about a
            17          Q Do you know why plaintiff would have         17   student, a release of information agreement would
        1
            18   been disappointed after he left your office?          18   need to be signed?
            19          A I do not.                                    19         A No. From my side, a student is
            20          Q Did plaintiff tell you that he was           20   protected under FERPA on my side going by that. So
            21   having some type of attention problem?                21   if I were to discuss a student that I had a meeting
            22          A I don't recall.                              22   with a counsel or anybody else with a need-to-know
            23          Q Same document. It says that                  23   basis, that I could do.
            24   Mr. Cuffy received an email from you requesting       24              However, within counseling there is
            25   that you talk at some point about the plaintiff.      25   much stricter guidelines that counselors go by. So

                                                                                                             5 (Pages 14 - 17)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 116 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 151 of 212


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               __w_o_u-ld_h_a-ve-to_h_av-e   ~h_a_tr-e-le~~~-o-f~·~-ag_e_IS~-1- be quicker to have the conversation over the pho=:~e 20   1




          2 information to discuss detailed information with              2   There are a number of reasons that I might have             1




                                                                                                                                          1
          3 me.                                                           3   said contact me to talk more about this.                    I
          4         Q    Okay. So the answer was a little                 4         Q Is there anything that you think                    1




          5   long. Can you let me ask you this: Is there any             5   would jog your memory even more?
          6   topic you can talk about with the counseling cente          6         A I don't believe so, outside of a
          7   about a plaintiff -- I mean, about a student?               7   recording of our conversation.
          8         A Yes.                                                8         Q From these two documents, it seems
          9         Q Without a release of information                    9   that plaintiff saw you more than once. Do you know
         10   agreement? Sorry, that was my fault.                       10   why he might have gone to the counseling center and
         11         A That's okay. I cut you off. Yes, I                 11   then saw you again and then gone back to the
         12   could talk to them about anything that I feel is           12   counseling center?
         13   appropriate that's relevant to their duties as a           13         A I do not.
        14    counselor or their duties within RUSM.                     14         Q Do you know who Mr. Didier is?
        15          Q Can you give me examples of this                   15         A Spell it.
        16    duty?                                                      16         Q It's on the first document right
        17          A Yeah. So if a student -- if I were                 17   next to Dr. Sharma engaged Mr. Didier?
        18    to meet with a student about, let's say, grades,           18         A Mr. Didier.
        19    you mentioned grades earlier, a concern about              19         Q Who is he?
        20    grades, I could reach out to, depending on what th         20         A He's the campus executive for the
        21    specific concern was or why a student was                  21   then Dominica campus.
        22    struggling, I might reach out to counseling, a             22         Q Does he still work with RUSM?                       1

        23    counselor, or the counseling office in general, and        23         A He does.                                            I
        24    say I met with this student and they are struggling        24         Q Is there any reason why his name is                 ,
        25    because of grades and mentioned these things, I            25   not listed on the faculty website of Ross?  ..              I



                                                                Pagel9                                                      ~
         1    think it would be good for you to reach out to them         1        A      I don't have an answer to that.                 I

         2    and have a conversation with them.                          2         Q Does he handle academic                             j

         3               I might also reach out to the Center             3   accommodations?                                             !
         4    for Teaching and Learning, to the director there or         4         A He does not.
         5    one of the faculty in the Center for Teaching and           5         Q Does he handle medical leaves?
         6    Leaming, and say the same thing.                            6         A He does not.
         7               If a student is struggling with                  7         Q So what does he do?
         8    grades, they mention biochemistry or a lack of              8         A He oversees the operational aspects
         9    being able to study, this might be a topic of               9   of the Dominica campus. So he has security reports
        10    conversation I have with that student. Because I           10   in to him, finance and accounting reports in to
        11    felt that it would be educationally relevant to            11   him, the gym ultimately reports in to him,
        12    reach out to them.                                         12   housekeeping reports in to him. Maintenance
        13                Where it is not appropriate is ifl             13   reports in to him.
        14    just reach out to somebody just to tell them               14             There is probably an area -- oh,
        15    something that wasn't relevant to their job                15   supply chain reports in to him. There is probably
        16    necessarily.                                               16   an area I am forgetting. But mostly the
        17           Q I understand. So that would make                  17   operational aspects of the institution.
        18    sense. I understand what you mean by duty. But             18         Q Okay. Can you -- you said earlier
        19    why would you ask him to contact you? If it was            19   that you supervised Mr. Stewart-Fulton?
        20    about his duty, is it safe to say you would have           20         A Correct.
        21    put it in the email going to him more as like a            21         Q Can you tell me a little bit about
        22    one-way communication?                                     22   the academic accommodations process?
        23           A It's hard to tell what I was                      23         A Certainly. So any student who comes
        24    thinking that long ago. It might be that I was             24   to our office seeking academic accommodations,
        25    busy and knew I needed to connect and knew it would        25   anybody in our office refers that student to speak

                                                                                                                  6 (Pages 18 -21)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 117 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 152 of 212


                                                               Page22                                                       Page24 I
                 with Mr. Stewart-Fulton to get more details and to       1   was laid out where the conduct -- the academic
             2   get the application to do so and talk through the        2   accommodations coordinator would make
             3   requirements.                                            3   recommendations to the associate dean, which would
             4              And then once those documents are             4   be me. And then that policy was changed at some
             5   turned in, anything that has been asked for,             5   point in the 2016 early academic year, I don't
             6   whether it is documentation from a physician or a        6   remember exactly when that change was made.
             7   narrative from the student, et cetera, that is then      7              So prior to that change, the
             8   reviewed by Mr. Stewart-Fulton as well as other          8   referral would come to me for the final decision.
             9   accommodations colleagues within the organization.       9   And then I would review that, that accommodation
            10              And then a decision is made and then         10   with Mr. Stewart-Fulton and sign off on. And then
            11   given to the student, or if other documentation is      11   since that time, it has been moved to where
            12   needed or questions were had, that he would             12   Mr. Stewart-Fulton along with Ms. Jeanie Robertson,
            13   facilitate that process. And he also reaches out        13   who also oversees the accommodations for the
            14   to any faculty members who oversee areas wherein a      14   clinical side, the two then work in collaboration
            15   student would receive those accommodations.             15   to make any type of decisions regarding academic
            16              So, for instance, if a student were          16   accommodations.
            17   to get extra time for an exam, Mr. Stewart-Fulton       17         Q That was a very thorough answer. I
            18   would reach out to Dr. Paul Abney and the exam          18   want to make sure I don't forget anything. So the
            19   center staff to let them know.                          19   policies, where were the policies located for
            20              COURT REPORTER: I lost you.                  20   academic accommodations?
            21              THE WITNESS: Those who oversee the           21         A In the student handbook as well as
            22          exam center and let them know that an            22   the academic catalog.
            23          accommodation has been approved. And so          23         Q Does RUSM deny oral requests for
            24          the student would start -- and the date          24   academic accommodations?
            25           in which that student would start               25         A All academic accommodations must be
                                                                Page23                                                      Page 25
            1           receiving that accommodation, as an               1   in written form.
            2           example.                                          2         Q Can a student's family member write
            3    BY MR. A WODIYA:                                         3   the request for academic accommodations on behalf
            4          Q When you said "come to our office,"              4   of the student?
            5    who do you mean "our"?                                   5         A I have never been asked that
            6          A Thank you. Yes. So the student                   6   question, and my initial answer would be no to
            7    affairs office. So still kind of referring to            7   that.
            8    Dominica -- because that's the last time we had an       8         Q Do you have a reason for that being
             9   actual office with everybody there -- walk into          9   your initial answer?
         10      student affairs.                                        10         A Yeah. I have not thought about that
         11                There is a receptionist there. Or             11   before. I would say that no, it would have to come
         12      any time that somebody is speaking to me as an          12   from the student. But like I say, I never have
         13      academic adviser, the chief of student affairs          13   been asked that before so I have not put much
         14      office are there, or just talking to anybody else       14   thought into it.
         15      in that division, if somebody happens to come up        15              But I would say at this point my
         16      about -- if a student asks about academic               16   answer would be no, it would have to come directly
        117      accommodations, that might be an orientation            17   from the student.
         18      session or a one-or-one conversation, we would          18         Q Policy-wise is there anything
        119      refer then to Mr. Stewart-Fulton given his              19   preventing somebody's family member from requesting
            20   expertise in that area that the rest of us don't        20   academic accommodations for a student?
            21   necessarily have.                                       21         A Again, I have not been asked. I
            22         Q Have you ever at any point in your              22   would have to review the policy to see if we have
            23   position at Ross been responsible for making the        23   anything specific pertaining to that. I will add
            24   final decision on academic accommodations?              24   to that, I can't think of any other example where a
            25         A When I first arrived, the process               25   student's family member or anybody other than the

                                                                                                                7 (Pages 22 - 25)
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    Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 118 of
      USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 153 of 212



                                                                             Page 41

         1                        REPORTER CERTIFICATE
         2       STATE OF TENNESSEE
         3       COUNTY OF KNOX
         4             I, Deborah West, Licensed Court Reporter, LCR
         5       #314, in and for the State of Tennessee, do hereby
         6       certify that the deposition of Bryan Hayse, was
         7       reported by me and that the foregoing transcript,
         8       pages 1 through 41, inclusive, is a true and
         9       accurate record to the best of my knowledge, skills
        10       and ability.
        11                  I further certify that I am not related
        12       to, nor an employee or counsel of any of the
        13       parties to the action as defined under T.C.A
        14       Section 24-9-136, nor am I financially interested
        15       in the outcome of this case.
        16             In witness thereof, I have hereunto set my
        17       hand on this the 17th day of November, 2018.              The
        18       witness HAS NOT waived signature.
        19
        20
        21


        22   I

                                           Deborah West, LCR 314 TN
        23                                 Expiration:         6/30/2020

        241
        25
j                ---                                        ------~-------_j

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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 119 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 154 of 212




                                  Exhibit SJ-23
               (Excerpts of Matthew Stewart-Fulton's deposition transcript)
Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 120 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 155 of 212



                                                                             Page 1

     1                     UNITED STATES DISTRICT COURT
     2                  FOR THE SOUTHERN DISTRICT OF FLORIDA
     3
     4      OLUWAMUYIWA AWODIYA,
     5                   Plaintiff
     6      vs.                                         CASE NO.
                                                         0:18-cv-60482-KMM
     7      ROSS UNIVERSITY SCHOOL OF
            MEDICINE, SCHOOL OF
     8      VETERINARY MEDICINE LIMITED,
     9                  Defendant.
    10


    11

    12
    13                   VIDEO-CONFERENCED DEPOSITION OF
    14                         MATTHEW STEWART-FULTON
    15
    16                               NOVEMBER 5, 2018
    17                                  1:06 P.M.
    18
    19                   ROSS UNIVERSITY SCOOL OF MEDICINE
    20                          KNOXVILLE, TENNESSEE
    21
    22
    23
    24                   Deborah West, LCR-314 (TN), CLR
    25

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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 121 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 156 of 212


                                                            Page2                                                          Page   41
                      APPEARANCES OF COUNSEL                                            STIPULATION                                I
         2   (Teleconference Appearance)                                                                                           !
         3   On behalfofthe Plaintiff:
                                                                      2       The deposition of MATTHEW STEWART-FULTON,
         4      PROSE                                                 3   called as a witness by the Plaintiff, pursuant to
                Oluwamuyiwa Awodiya                                   4   all applicable rules on the 5th day of November,
         5      15005 Dahlia Drive
                                                                      5   2018, at the offices of Ross University School of
                Bowie, Maryland 20721
         6                                                            6   Medicine, Knoxville, Tennessee, before Deborah
             On behalf of the Defendants:                             7   West, Licensed Court Reporter and Notary Public in
         7                                                            8   and for the State of Tennessee.
               Ryan Roman, Esquire
                                                                      9       It being agreed that Deborah West, a Tennessee
         8     Akerman LLP
               Three Brickell City Centre                            10   Licensed Court Reporter may report the deposition
         9     98 Southeast Seventh Street                           11   in machine shorthand, afterwards reducing the same
               Miami, Florida 33131                                  12   to typewritten form.
        10     ryan.roman@akennan.com
        11   On behalf of Adtalem Global Education:                  13       It being further agreed that all formalities
        12     Valarie Bomar                                         14   as to notice, caption, certificate, transmission,
               VP, Senior Associate General Counsel                  15   et cetera, are expressly waived, EXCLUDING the
        13
                                                                     16   reading of the completed deposition by the witness,
        14
        15                                                           17   and the signature of the witness.
        16                                                           18
        17                                                           19
        18
        19
                                                                     20
        20                                                           21
        21                                                           22
        22
                                                                     23
        23
        24                                                           24
        25                                                           25
                                                            Page 3                                                         Page
         1         INDEX OF EXAMINATION                                   (1:06 P.M.)
         2                     Page                                   2            MATTHEW STEWART-FULTON,
         3 WITNESS: MATTHEW STEWART-FULTON                            3   called as a witness and having been first duly
         4 Examination                                                4   sworn, was examined and testified as follows:
         5 ByMr.Awodiya              5,40
                                                                      5                EXAMINATION
         6 By Mr. Roman             36
                                                                      6   BY MR. A WODIYA:
         7
                                                                      7          Q Please state your full name for the
         8
         9                                                            8   record.
        IO                                                            9          A Matthew John Stewart-Fulton.
        11           INDEX TO EXHIBITS                               IO          Q May I call you Mr. Fulton or what
        12                         Page                              11   would you prefer to be called?
        13 Exhibit Number 1                                          12          A Please call me Matthew.
             Bates RUSM 141, 142, 183, 242-243,                      13          Q Matthew. Okay. Matthew, my name is
        14   326, 371-372                36                          14   Oluwamuyiwa Awodiya, and I am the plaintiff in this
        15 Exhibit Number 2                                          15   case against Ross University School of Medicine.
             Bates RUSM 179-182              37                      16             During this deposition I will, in
        16                                                           17   most part, refer to myself as plaintiff. For the
        17
                                                                     18   record, do you understand that ifl say plaintiff
        18
                                                                     19   that I am referring to myself?
        19
        20                                                           20          A I do.
        21                                                           21          Q Additionally, let me tell you some
        22                                                           22   ground rules for this deposition and if you have
        23                                                           23   any questions you can ask me.
        24                                                           24             First, you are under oath and have
        25                                                           25   sworn to tell the truth. The effect of that truth

                                                                                                                2 (Pages 2 - 5)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 122 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 157 of 212

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                                                                                                                                  1
                                                           Page 30   I                                                    Page 321
         1    documentation from that student's record with the           1             THE WITNESS: In reference to when
         2    counseling center.                                          2         you were enrolled and the campus was        I
         3          Q How do you personally know that?                    3         located on Dominica, we were not required I
         4          A Because that is what the counseling                 4         to comply with the ADA. Although in the :
         5    center advised me when I took on this role.                 5         interest of supporting our students, we     '
         6          Q Can that process occur before the                   6         abided by the spirit of the ADA and
         7    student actually comes to you and submits another           7         Section 504 of the Rehabilitation Act to
         8    request for academic accommodations?                        8         provide appropriate accommodations within
         9          A I don't understand what you mean by                 9         the process that was defined in the
        10    another request in relation to the information             10         student handbook.
        11    release.                                                   11   BY MR. AWODIYA:
        12          Q If the student first requests that                 12        Q So just to clarify, there is no
        13    the counseling center send the documentation -- le         13   policy that requires faculty to comply with those
        14    me rephrase.                                               14   laws you just stated?
        15              Can the student have the                         15        A That's my recollection based on
        16    documentation sent over to the accommodations              16   what's in the student handbook.
        17    coordinator before the student goes to the                 17         Q So you, yourself, are not required
        18    accommodations coordinator to ask for a request?           18   to comply with those laws in Dominica?
        19          A Yes, they can.                                     19        A That is my understanding.
        20          Q Okay. Were you contacted on behalf                 20         Q Where did you get your knowledge
        21    of plaintiffs by the counseling center at any              21   about what is required from Title ill of the
        22    point?                                                     22   Americans with Disabilities Act?
        23          A Not to my recollection.                            23         A From review of the Americans with
        24          Q Would you remember if you were?                    24   Disabilities Act and Section 504 of the
        25          A It's possible. But I don't remember                25   Rehabilitation Act. From consultation with the
        >------------~-------------+------                                          --------                                      I
                                 Page 31                                                                                  Page 331
         1    all the contacts that I have had from the                   1   hiring manager who brought me into this position.
         2    counseling center.                                          2   And consultation with, at the time, the DeVry lega
         3           Q So is it correct that you can                      3   office.
         4    neither confirm nor deny whether you received               4         Q But they did not tell you that you
         5    communication from the counseling center on behalf          5   were required to comply with those laws?
         6    of plaintiff?                                               6              MR. ROMAN: I will object, for the
         7           A I do not have in my records any                    7          record, to the extent it calls for any       1

         8    documentation from the counseling center regarding          8          communications you had with DeVry's lega~
         9    the plaintiff.                                              9          counsel that would be covered by            ·
         IO          Q What about phone calls?                           10          attorney-client privilege and I would
         11          A I don't recall ifl had any phone                  11          instruct you not to answer.
         12   calls with the counseling center about the                 12              To the extent you have spoken with
         13   plaintiff.                                                 13          any of the other folks you described or
         14          Q Is faculty at RUSM required to                    14          anyone else, you may answer the question.
         15   comply with Title III of the Americans with                15              THE WITNESS: The answer, I think,
         16   Disabilities Act?                                          16          ultimately goes back to the legal office,
         17          A Are you referring to the ADA?                     17          so I will not answer any further on that.
         18          Q Yes.                                              18   BYMR.AWODIYA:
        19           A No.                                               19         Q Has anyone that is not in the legal
        20           Q Are they required to comply with                  20   office of Ross University tell you that you -- let
        21    Section 504 of the Rehabilitation Act?                     21   me rephrase.
        22               MR. ROMAN: I will object to this                22              Is it correct to say that you were
        23           and the last question to the extent it              23   never told that you had to comply with those laws.
        24           calls for a legal conclusion. If the                24         A That conversation goes back to the
        25           witness can answer, he may do so.                   25   conversation with the legal office.
                                          ----------~-~-~-------~--~·-·----·---




                                                                                                              9 (Pages 30 - 33)
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Case 0:18-cv-60482-KMM Document 102 Entered on FLSD Docket 12/11/2018 Page 123 of
  USCA11 Case: 19-12832 Document: 22-1123 Date Filed: 10/16/2019 Page: 158 of 212

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     1                        REPORTER CERTIFICATE
     2       STATE OF TENNESSEE
     3       COUNTY OF KNOX
     4             I, Deborah West, Licensed Court Reporter, LCR
     5       #314, in and for the State of Tennessee, do hereby
     6       certify that the deposition of MATTHEW
     7       STEWART-FULTON was reported by me and that the
     8       foregoing transcript, pages 1 through 55,
     9       inclusive, is a true and accurate record to the
    10       best of my knowledge, skills and ability.
    11                  I further certify that I am not related
    12       to, nor an employee or counsel of any of the
    13       parties to the action as defined under T.C.A
    14       Section 24-9-136, nor am I financially interested
    15       in the outcome of this case.
    16             In witness thereof, I have hereunto set my
    17       hand on this the 17th day of November, 2018.                           The
    18       witness HAS NOT waived signature.
    19
    20
    21


    22   I



                                                          Deborah West, LCR 314 TN
    23                                                    Expiration:   6/30/2020                    I
    24
    25                                                                                               I
                                                                                                  ___J
                                              V eritext Legal Solutions
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USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 159 of 212




           TAB 119-2
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 1 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 160 of 212




            EXHIBIT 1
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 2 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 161 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 3 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 162 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 4 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 163 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 5 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 164 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 6 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 165 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 7 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 166 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 8 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 167 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 9 of 22
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 168 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 10 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 169 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 11 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 170 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 12 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 171 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 13 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 172 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 14 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 173 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 15 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 174 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 16 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 175 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 17 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 176 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 18 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 177 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 19 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 178 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 20 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 179 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 21 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 180 of 212
Case 0:18-cv-60482-RKA Document 119-2 Entered on FLSD Docket 01/04/2019 Page 22 of
  USCA11 Case: 19-12832 Document: 22-122 Date Filed: 10/16/2019 Page: 181 of 212
USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 182 of 212




         TAB 119-20
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 1 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 183 of 212




        EXHIBIT 19
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 2 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 184 of 212




                           STUDENT HANDBOOK

                                     2015                2016




                                        January 1, 2016




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                                                                      RUSM 000326
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 30 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 185 of 212
   29



   Students are required to complete all exams as scheduled. There are no make-up exams. A student may be
   excused from one mid-term examination per semester in an emergency. In the case of a single approved absence
   from a mid-                                                                                         -term exam.
   In cases where the
   substituted. Students who are unable to complete all mid-term exams, with the exception of a single approved
   absence, may be administratively withdrawn. The student will receive a grade at the time of withdrawal which is
   based on a percentage of the weighted exams which the student has completed before withdrawal. Students with
   a cumulative weighted score of 70%, or higher, will receive a WP. Below 70% will receive a WF. RUSM will not

   island. Do not book a flight on the same day as your exam.

   In order to be excused from a mid-term examination, the student must present valid documentation prior to the
   exam describing the nature of the emergency to the Associate Dean of Student Affairs, or his/her designee, and
   must include appropriate supporting documentation. Approval is at the discretion of the Associate Dean, or
   his/her designee. A mid-term examination missed without prior approval will be assigned a grade of zero. (See
   exceptions in Attendance section)

   Final examinations must be taken on schedule; failure to do so could result in a failing grade for the course. On the
   rare occasion a student is excused from taking a final examination, a grade of I will be assigned and the exam must
   be taken at the end of the following semester. The I grade will revert to an F if the incomplete exam is not made up
   by the end of the following semester. The student will not be eligible for promotion until after the incomplete has
   been rectified.



   NBME CBSE
   The NBME

   requires that students first pass the NBME CBSE. Students are required to take the CBSE at the end of their final
   Foundations of Medicine semester. Students must obtain a passing score, as determined by the Dean, prior to
   being certified to take USMLE Step 1. Students are given three opportunities to obtain a passing grade on the
   NBME CBSE and must pass: (1) within no more than three consecutive attempts, (attempt dates are pre-
   established by the Office of the Registrar and are determined based on the date of the first attempt, a scheduled
   exam that a student does not take is considered an attempt) and (2) within six months of becoming eligible. Any
   student failing to pass the CBSE within three attempts is subject to review by the Promotions Committee-
   Foundations of Medicine. The Promotions Committee-Foundations of Medicine will then conduct a careful review

   CBSE.



   Clinical Sciences Exams

   NBME SCE
   Students must pass the SCE at the conclusion of each core clerkship. (See the SCE policy in the Policies and
   Administrative Procedures section) Scores of 75 or above on SCE will be noted on the MSPE.

   A student must pass at least five (5) subject clerkship examinations to be eligible to sit for the NBME CCSE.
   Students will not be scheduled for the NBME CCSE until successful completion of five (5) core clerkships, including
   passing each SCE exam.

   Please refer to page 126 regarding the SCE policy for core clerkships.




                                                                                                    RUSM 000354
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 47 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 186 of 212
   46




   ACCOMMODATIONS FOR STUDENTS WITH DISABILITIES
   The RUSM curriculum represents a core curriculum essential to all physicians. Therefore, RUSM expects that each
   student admitted will be capable of completing the full curriculum of required courses, clerkships, and electives
   under the established RUSM policies within seven (7) years of matriculation. All students and applicants must be
   capable of meeting the RUSM Technical Standards (as outlined in the Professionalism and Conduct section) with
   or without reasonable accommodation, at each stage of their medical education. Our goal at RUSM is to provide
   equal opportunity without undermining the integrity of any course, clerkship, or program. Requests for
   accommodation should be made as soon as the need is known and within the guidelines described here. Requests
   are processed in Foundations of Medicine and Clinical Sciences by the appropriate Accommodation Coordinator in
   the Office for Student Affairs.


   Application
   Foundations of Medicine Requests for accommodation during the foundational science portion of the curriculum
   should be submitted in writing to the Accommodations Coordinator for Foundations of Medicine.

   Internal Medicine Foundations (IMF)
                                     ensure that all accommodation requests and materials are up to date prior to
   commencing IMF and/or Clinical Sciences. Requests for accommodation during the clinical portion of the
   curriculum should be submitted to the Director of Office of Consultation and Support Services for IMF/Clinical
   Sciences. Accommodations that were received during the Foundations of Medicine curriculum will be taken into
   consideration but cannot ensure similar accommodations in the Clinical Sciences curriculum (see Clinical Sciences
   section).


   Clinical Sciences

   curriculum, this in no way assures that the same accommodations requested will be deemed reasonable in the
   context of IMF/Clinical Sciences. The Director of Office of Consultation and Support Services is available to advise
   and assist RUSM students with the accommodation request processes of the clinical training institutions, but has
   no role in the outcome of such requests.

   Timeframe
   For recently-admitted students, requests for accommodation should be submitted within 30 days of acceptance.
   When the need for an accommodation arises after a student has begun medical studies, please allow at least four
   (4) weeks once all documentation has been received by the Accommodations Coordinator for Foundations of
   Medicine or the Director of Office of Consultation and Support Services for IMF/Clinical Sciences to allow time for
   an evaluation of the request and documentation. RUSM will make all reasonable efforts to review such requests in
   a timely manner, but cannot guarantee the disposition of requests prior to any specific examination or phase of
   the curriculum.

   Responsibility
   To qualify for accommodation, a student must identify him/herself to the Accommodation Coordinator for
   Foundations of Medicine or the Director of Office of Consultation and Support Services for IMF/Clinical Sciences,
   declare the disability or suspected disability in writing, and request accommodation. It is also the student's
   responsibility to obtain a thorough written evaluation from an appropriate professional, documenting the
   presence, extent, and ramifications of the disability. In addition, the documentation should explain what specific
   types of accommodation the evaluator believes might be most helpful in offsetting the effects of the disability to
   an acceptable extent (in a medical school environment, if possible). Responsibility for the timely submission of
   requests and supporting documentation rests upon the student seeking the accommodation. Our goal at RUSM is
   to provide equal opportunity without undermining the integrity of any course, clerkship or program. Requests not




                                                                                                     RUSM 000371
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 48 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 187 of 212
   47



   submitted with at least four (4) weeks or not accompanied by sufficient supporting documentation will impede


   Confidentiality
   RUSM keeps all accommodation requests confidential to the extent necessary to consider the request and
   implement the accommodations upon approval. RUSM reviews requests to determine whether they are supported
   by adequate and appropriate documentation. After careful review in consultation with appropriate professionals,
   the Accommodation Coordinator for Foundations of Medicine or the Director of Office of Consultation and Support
   Services for IMF/Clinical Sciences will make a recommendation to the Associate Dean, Student Affairs or the Senior
   Associate Dean, Student Affairs. The decision of the Associate Dean, Senior Associate Dean of Student Affairs or
   his/her designee will then be communicated in writing to the student.

   Propriety
   All accommodations will be reasonable and appropriate to the circumstances, allowing equal opportunity for
   students with disabilities. Accommodations must not infringe on, or fundamentally alter, the essential
   requirements of the medical education program, as outlined in the RUSM Technical Standards.

   Accommodations and USMLE/NBME Testing
   If a student with a disability requires an accommodation for any phase of the USMLE te
   responsibility to seek that accommodation directly from the NBME and/or the Federation of State Medical Boards
   (FSMB) in compliance with their policies. Although RUSM previously may have granted accommodation requests
   for the student, disability accommodations for these examinations are determined solely by the policies or
   processes of the NBME or FSMB. The Accommodations Coordinator for Foundations of Medicine or the Director of
   Office of Consultation and Support Services for IMF/Clinical Sciences is available to assist students with the process
   governing requests for an accommodation for the USMLE, but RUSM has no role in the outcome of these requests.
                                                                                         so please apply in time to allow
   adequate review. Students seeking accommodation through the NBME must adhere to the curricular and
   administrative deadlines for sitting for USMLE Step examinations.

   External Facilities
   RUSM makes no guarantee that any facility outside of its campuses, including housing and other establishments,
   will provide accommodations for individuals with disabilities.




                                                                                                     RUSM 000372
Case 0:18-cv-60482-RKA Document 119-20 Entered on FLSD Docket 01/04/2019 Page 52 of
  USCA11 Case: 19-12832 Document: 22-1122 Date Filed: 10/16/2019 Page: 188 of 212
   51




   APPEALS
   Initiation and Scope
   Parties may appeal the outcome of formal academic and non-academic disciplinary actions. These appeals must be
   submitted in their proper form within 15 calendar days of notification of the decision of the Senior Associate Dean
   of Student Affairs or his/her designee. Appeals are considered only when it is clearly established by the appealing
   party, in a concise written statement, that one of the following occurred:

                     The decision was unreasonable based on the information presented at the hearing and/or based
                     on the alleged violation;
                     The sanction was unreasonable based on the information presented at the hearing and/or based
                     on the violation;
                     There was a misinterpretation of the Code of Conduct or other policies, by the Grievance
                     Committee, Honor Council or administrator during the adjudication of the case;
                     A procedural error occurred that resulted in an unfair hearing; or
                     Relevant information was not brought out in the initial hearing that may have been sufficient to
                     alter a decision, because such information was not known to the person appealing at the time of
                     the original hearing.

   The specific basis or bases for the appeal must be identified by the appealing party in the written appeal.

   Administrative Response
   Neither the Complainant nor Respondent will attend Appeal hearings. With the exception of appeals involving new
   information not known at the time of the original hearing or informal resolution, the Dean, or design
   be limited to the written appeal, documents and evidence originally presented at the hearing or informal resolution,
   and the official record of the hearing. The Dean, or his/her designee, may:

                     Uphold the original finding and outcome;
                     Require a (new) hearing;
                     Send the appeal back to the Associate Dean for Student Affairs, Grievance Committee or Honor
                     Council for review of the decision or sanctions;
                     Reverse the original decision by finding that a violation or no violation of the Code of Conduct
                     occurred; or
                     Amend sanctions where the original sanctions imposed are found to be unreasonable.

   Notification
   The Dean, Senior Associate Dean of Student Affairs, or their designee, will notify the parties of the appeal decision
   within 15 calendar days




                                                                                                    RUSM 000376
USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 189 of 212




         TAB 119-24
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 1 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 190 of 212
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 2 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 191 of 212




                                                                   RUSM 000046
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 3 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 192 of 212




                                                                   RUSM 000047
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 4 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 193 of 212




                                                                   RUSM 000048
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 5 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 194 of 212




                                                                   RUSM 000049
Case 0:18-cv-60482-RKA Document 119-24 Entered on FLSD Docket 01/04/2019 Page 6 of 6
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 195 of 212




                                                                   RUSM 000050
USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 196 of 212




         TAB 119-25
Case 0:18-cv-60482-RKA Document 119-25 Entered on FLSD Docket 01/04/2019 Page 1 of 3
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 197 of 212
Case 0:18-cv-60482-RKA Document 119-25 Entered on FLSD Docket 01/04/2019 Page 2 of 3
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 198 of 212
Case 0:18-cv-60482-RKA Document 119-25 Entered on FLSD Docket 01/04/2019 Page 3 of 3
  USCA11 Case: 19-12832 Document: 22-1 Date Filed: 10/16/2019 Page: 199 of 212
USCA11 Case: 19-12832   Document: 22-1   Date Filed: 10/16/2019   Page: 200 of 212




         TAB 119-26
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 1 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 201 of 212
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 2 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 202 of 212




                  Plaintiff,

                    -v-




                 Defendant.


               PLAINTIFF’S AMENDED RESPONSES AND OBJECTIONS

                TO DEFENDANT’S FIRST SET OF INTERROGATORIES




                               PRELIMINARY STATEMENT
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 3 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 203 of 212




                                OBJECTIONS TO DEFINITIONS




                        SPECIFIC RESPONSES AND OBJECTIONS

         Interrogatory No. 1:
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 4 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 204 of 212


         RESPONSE




         Interrogatory No. 2:




         RESPONSE




         Interrogatory No. 3:
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 5 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 205 of 212




         RESPONSE See

         Interrogatory No. 4:




         RESPONSE
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 6 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 206 of 212




         Interrogatory No. 5:




         RESPONSE
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 7 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 207 of 212




         Interrogatory No. 6:
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 8 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 208 of 212




         RESPONSE



         Interrogatory No. 7:




         RESPONSE




         Interrogatory No. 8:
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 9 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 209 of 212




         RESPONSE




         Interrogatory No. 9:




         RESPONSE




               Lost Earning Capacity:

                   o
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 10 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 210 of 212


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                                                                  $6,069,968.00

               Emotional Distress as Compensatory Damages:

                                               $3,034,984

               Loans Purposed for RUSM’s Cost of Attendance:

                                                       $207,917

               Punitive Damages for Fraud/Misrepresentation Claims:

               1% of Adtalem's net worth



               Punitive Damages for Breach of Fiduciary Duty Claim:

               1% of Adtalem's net worth



         Interrogatory No. 10:
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 11 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 211 of 212




         RESPONSE See

         Interrogatory No. 11:




         RESPONSE
Case 0:18-cv-60482-RKA Document 119-26 Entered on FLSD Docket 01/04/2019 Page 12 of
  USCA11 Case: 19-12832 Document: 22-112 Date Filed: 10/16/2019 Page: 212 of 212


                                 CERTIFICATION




                                             /s/Oluwamuyiwa Awodiya
                                                                      pro se




                           CERTIFICATE OF SERVICE




                                             /s/Oluwamuyiwa Awodiya
                                                                      pro se
